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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE


STATE OF DELAWARE, ex rel.
KATHLEEN JENNINGS, Attorney General of
the State of Delaware,

               Plaintiff,
                                         Civil Action No.
                  v.

BP AMERICA INC., BP P.L.C., CHEVRON
CORPORATION,
CHEVRON U.S.A. INC., CONOCOPHILLIPS,
CONOCOPHILLIPS COMPANY, PHILLIPS
66, PHILLIPS 66 COMPANY, EXXON
MOBIL CORPORATION, EXXONMOBIL
OIL CORPORATION, XTO ENERGY INC.,
HESS CORPORATION, MARATHON OIL
CORPORATION, MARATHON OIL
COMPANY, MARATHON PETROLEUM
CORPORATION, MARATHON
PETROLEUM COMPANY LP, SPEEDWAY
LLC, MURPHY OIL CORPORATION,
MURPHY USA INC.,
ROYAL DUTCH SHELL PLC, SHELL OIL
COMPANY, CITGO PETROLEUM
CORPORATION, TOTAL S.A., TOTAL
SPECIALTIES USA INC., OCCIDENTAL
PETROLEUM CORPORATION, DEVON
ENERGY CORPORATION, APACHE
CORPORATION, CNX RESOURCES
CORPORATION, CONSOL ENERGY INC.,
OVINTIV, INC., and AMERICAN
PETROLEUM INSTITUTE,

              Defendants.
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                                    NOTICE OF REMOVAL

TO THE CLERK OF THE ABOVE-TITLED COURT AND TO PLAINTIFF THE STATE
OF DELAWARE AND ITS COUNSEL OF RECORD:

       PLEASE TAKE NOTICE THAT Defendants Chevron Corp. and Chevron U.S.A. Inc.

(collectively, “the Chevron Parties”) remove this action—with reservation of all defenses and

rights—from the Superior Court of Delaware, No. N20C-09-097 AML CCLD, to the United States

District Court for the District of Delaware, pursuant to 28 U.S.C. §§ 1331, 1332(d), 1367(a),

1441(a), 1442, and 1446, and 43 U.S.C. § 1349(b). All other defendants that have been joined and

served (collectively, “Defendants”) have consented to this Notice of Removal.

       This Court has original federal question jurisdiction under 28 U.S.C. § 1331 because the

Complaint necessarily arises under federal laws and treaties and out of federal enclaves and presents

substantial federal questions as well as claims that are completely preempted by federal law.

Removal is also proper pursuant to the federal officer removal statute, 28 U.S.C. § 1442, as well as

28 U.S.C. §§ 1332(d), 1441(a) and 1446, and 43 U.S.C. § 1349(b). This Court has supplemental

jurisdiction under 28 U.S.C. § 1367(a) over any claims for which it does not have original federal

question jurisdiction because they form part of the same case or controversy as those claims over

which the Court has original jurisdiction.




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I.      INTRODUCTION

        For many decades, United States policy has expressly recognized the fundamental strategic

importance of oil and gas to the Nation’s economic well-being and national security. It is not an

accident that the United States Department of Defense is the single largest consumer of energy in

the United States and one of the world’s largest users of petroleum fuels. And when certain OPEC

countries embargoed oil sales to the United States in 1973–74, the U.S. Congress responded by,

among other things, creating the Strategic Petroleum Reserve to protect national energy and security

interests. See Energy Policy and Conservation Act of 1975, Pub. L. No. 94-163, 89 Stat. 871 (1975).

For similar reasons, Congress enacted the Naval Petroleum Reserves Production Act of 1976, Pub.

L. No. 94-258, 90 Stat. 303, 307–308 (1976), which “authorized and directed” that petroleum from

the federal petroleum reserve at Elk Hills, California—which Defendant Chevron Corp. had

operated for thirty-one years—“be produced at the maximum efficient rate for up to 6 years.” 1

        In fact, for vital security and economic reasons, every Administration since that of Franklin

D. Roosevelt has taken active steps to increase U.S. oil production, thereby securing our national

defense and spurring economic development that has led to the prosperity and standard of living

the United States has enjoyed over the past several decades. Despite the increased focus on

alternative sources of energy, petroleum remains the ineluctable backbone of United States energy

policy and it is undisputed that complete reliance on renewable energy sources at this time is neither

possible nor advantageous. For this reason, in 2010, President Obama “announc[ed] the expansion

of offshore oil and gas exploration—but in ways that balance the need to harness domestic energy




 1
     See also Declaration of Joshua D. Dick (“Dick Decl.”), Ex. 2 (Steven Rattner, Long-Inactive
     Oilfield is Open—for Now, N.Y. Times (Oct. 31, 1977)); id. Ex. 3 (Robert Lindsey, Elk Hills
     Reserve Oil Will Flow Again, N.Y. Times (July 3, 1976)).



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resources and the need to protect America’s natural resources.” 2 President Obama explained that

it was “not a decision that I’ve made lightly. . . . But the bottom line is this: given our energy needs,

in order to sustain economic growth, produce jobs, and keep our businesses competitive, we’re

going to need to harness traditional sources of fuel even as we ramp up production of new sources

of renewable, homegrown energy.” 3

        Now, however, Plaintiff asks the court to find that this same petroleum production

contributes to, among other things, an unlawful “public nuisance” and “trespass” under Delaware

state law. Under various theories, the Complaint seeks to hold Defendants liable for the “extraction,

production, and consumption” of “oil, coal and natural gas,” which the Complaint refers to

collectively as “fossil fuel products.” Compl. ¶¶ 2, 5; see also id. ¶¶ 4, 6, 167, 170. Plaintiff asserts

that this subjects Defendants to “compensatory” and “punitive damages,” as well as “an order that

provides for abatement of the public nuisance [certain] Defendants have created” and that “enjoins”

those Defendants “from creating future common-law nuisances.” Compl. ¶ 263 (emphasis added);

id. at p. 217 (Prayer for Relief). In other words, the Complaint seeks to stop, or at least significantly

limit, the production and use of fossil fuels.

        Plaintiff’s claims depend on Defendants’ production, distribution and/or sale of oil and gas

that create greenhouse gas emissions if and only if combusted by end users. Plaintiff does not—

and cannot—limit its claims to harms allegedly caused by fossil fuels extracted, produced,

distributed, sold, marketed, or used in Delaware. Instead, Plaintiff’s claims expressly target

Defendants’ nationwide and global activities, undertaken individually and together, as part of a



 2
     Remarks on Energy at Andrews Air Force Base, Maryland, (Mar. 31, 2010),
     https://obamawhitehouse.archives.gov/the-press-office/remarks-president-energy-security-
     andrews-air-force-base-3312010.
 3
     Id.


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“conspiracy.” Compl. ¶ 45(b). In fact, Plaintiff’s claims sweep even more broadly, depending

necessarily on the activities of billions of oil and gas consumers, including not only entities like the

U.S. government and military, but also countless hospitals, schools, manufacturing facilities, and

individual households around the world—indeed, virtually every inhabitant of the planet that uses

fossil fuels. Plaintiff itself is a prodigious consumer and user of fossil fuels, emitting thousands of

tons of CO2 through its own consumption alone. 4 Yet, Plaintiff asks this Court to halt Defendants’

production of oil and gas by assessing massive monetary damages and entering an injunction.

        The scope of this theory is breathtaking—it would reach the sale of oil and gas anywhere in

the world, including all past and otherwise lawful sales, such as sales to the federal government and

sales directed by the federal government. See, e.g., Compl. ¶ 60 (“Defendants’ conduct caused a

substantial proportion of global atmospheric greenhouse gas concentrations, and the attendant

historical, projected, and committed disruptions to the environment . . . associated therewith.”

(emphasis added)). 5 And because Plaintiff challenges “production and combustion” over the past

several decades, the Complaint necessarily calls into question longstanding decisions by the federal

government regarding, among other things, national security, national energy policy, environmental

protection, the maintenance of a national strategic petroleum reserve program, development of

energy resources on the United States’ outer continental shelf lands, mineral extraction on federal

lands (which have produced billions of dollars in revenue for the federal government), and the

negotiation of international agreements bearing on the development and use of fossil fuels.




 4
     See       Executive       Order     No.      84,      Gov.    Jack     Markell,    2010,
     https://archivesfiles.delaware.gov/Executive-Orders/Markell/Markell_EO18.pdf.
 5
     See also, e.g., id. ¶ 52 (“The recent acceleration of fossil fuel emissions has led to a
     correspondingly sharp spike in atmospheric concentration of CO2.”); ¶ 4 (“This dramatic
     increase in atmospheric CO2 and other greenhouse gases is the main driver of the gravely
     dangerous changes occurring to the global climate.”).


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       The federal issues and implications of Plaintiff’s Complaint and requests for relief demand

resolution by a federal court under federal law. The determination of how best to address global

climate change, and the balancing of the costs and benefits of the use of fossil fuels that goes into

that equation, has been and should continue to be made by the federal government through federal

policies and international cooperation. As the Ninth Circuit recently explained, “any effective plan

[to reduce greenhouse gas emissions] would necessarily require a host of complex policy decisions

entrusted . . . to the wisdom and discretion of the executive and legislative branches.” Juliana v.

United States, 947 F.3d 1159, 1171 (9th Cir. 2020). A patchwork of fifty different state-law

answers to this necessarily global issue would be unworkable and precluded under our federal

constitutional system. See North Carolina ex rel. Cooper v. TVA, 615 F.3d 291, 298 (4th Cir. 2010)

(“If courts across the nation were to use the vagaries” of state “public nuisance doctrine to overturn

the carefully enacted rules governing air-borne emissions, it would be increasingly difficult for

anyone to determine what standards govern.”).

       As a consequence, the Complaint is removable to federal court on multiple grounds

including, without limitation: (1) federal question jurisdiction (28 U.S.C. §§ 1331, 1441(a)) because

Plaintiff’s claims “arise under” federal law; (2) jurisdiction under the Outer Continental Shelf Lands

Act (43 U.S.C. § 1349(b)); (3) jurisdiction under the Federal Officer Removal Statute (28 U.S.C.

§ 1442); (4) federal question jurisdiction because this action necessarily raises disputed and

substantial federal issues; (5) federal question jurisdiction because Plaintiff’s claims are completely

preempted by federal law; (6) federal enclaves jurisdiction because Plaintiff’s claims arise from

alleged acts on multiple federal enclaves; and (7) jurisdiction under the Class Action Fairness Act

(28 U.S.C. § 1332(d)).

       Plaintiff’s claims arise under federal law. Plaintiff’s Complaint seeks to use state tort law




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to impose liability on Defendants for all of the future harms that Plaintiff alleges will be caused by

global warming. In the process, Plaintiff would effectively levy an unprecedented worldwide tax

on lawful productive conduct that has long been encouraged and regulated by Congress, states, and

foreign governments alike, and that remains essential to the health of the economy and the security,

stability, and economic interests of the United States. Though Plaintiff purports to assert its claims

under state law, the face of the Complaint reveals that the substance of those claims turns on long-

established federal policy, statutory, regulatory, and constitutional standards, issues, and

frameworks.

        Supreme Court precedent dictates that claims based on alleged interstate or international

pollution fall into the narrow category of claims for which the structure of the U.S. Constitution

demands that “a federal rule of decision is ‘necessary to protect uniquely federal interests.’” Texas

Indus., Inc. v. Radcliff Materials, Inc., 451 U.S. 630, 640 (1981) (citation omitted). State law, by

its very nature, cannot apply, and the Supreme Court has held on at least three separate occasions

that an action for interstate air or water pollution necessarily arises under federal law and warrants

a federal court’s exercise of federal question jurisdiction under 28 U.S.C. § 1331. See Am. Elec.

Power Co. v. Connecticut, 564 U.S. 410 (2011) (“AEP”) (interstate and international effects of

greenhouse gas emissions); City of Milwaukee v. Illinois, 451 U.S. 304 (1981) (“Milwaukee II”)

(interstate water pollution); Illinois v. City of Milwaukee, 406 U.S. 91 (1972) (“Milwaukee I”)

(same). In the context of interstate pollution disputes, the Court has explained that “only a federal

common law basis can provide an adequate means for dealing with such claims.” Milwaukee I, 406

U.S. at 107 n.9 (citation omitted); see also International Paper Co. v. Ouellette, 479 U.S. 481, 488

(1987) (“[T]he regulation of interstate water pollution is a matter of federal, not state, law.”). Thus,

Plaintiff’s claims seeking relief for interstate greenhouse gas emissions necessarily “arise under”




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federal law. Cf. 28 U.S.C. § 1441(c)(1)(A). The Complaint’s dependence on the navigable waters

of the United States reinforces that conclusion. Following these precedents, the Southern District

of New York held a lawsuit legally indistinguishable from this to be one “arising under” federal

law. See City of New York v. B.P. p.l.c., 325 F. Supp. 3d 466, 472 (S.D.N.Y. 2018) (“City of New

York”).

          Plaintiff’s claims also necessarily arise under federal law because they seek to regulate the

production and sale of oil and gas abroad (where much of the alleged conduct underlying Plaintiff’s

claims necessarily occurred), and, therefore, implicate the federal government’s foreign affairs

power and the Constitution’s Foreign Commerce Clause. The federal government has exclusive

authority over the nation’s international policy on climate change and relations with foreign nations.

“Power over external affairs is not shared by the States; it is vested in the national government

exclusively.” United States v. Pink, 315 U.S. 203, 233 (1942). In the context of Plaintiff’s interstate

and international claims, therefore, “our federal system does not permit the controversy to be

resolved under state law,” “because the authority and duties of the United States as sovereign are

intimately involved” and “because the interstate [and] international nature of the controversy makes

it inappropriate for state law to control.” Texas Indus., 451 U.S. at 641. Because climate change

is an inherently global phenomenon—and is alleged to be so in the Complaint—any liability

imposed by state courts under state law would have global effects, undermining the federal

government’s foreign-policy prerogatives in an area where comprehensive international solutions

are paramount. Moreover, conflicts would inevitably arise were the courts of different states, each

applying its own state’s law, to impose conflicting standards on the same global conduct.

          At bottom, this lawsuit implicates bedrock divisions of federal-state responsibility. Plaintiff

seeks to usurp, through what is styled as a set of state-law claims, the direction of federal policy in




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core spheres of national security, nationwide economic development, and international relations.

Given the substantial and uniquely federal interests posed by climate change claims like these,

causes of action of the type asserted here necessarily arise exclusively under federal law.

        Outer Continental Shelf Lands Act. In recent decades and continuing through the present,

a substantial portion of domestic exploration and production of oil and gas has occurred on the

Outer Continental Shelf (“OCS”), where the U.S. federal government is the exclusive holder of the

mineral rights and Congress granted federal courts exclusive jurisdiction. Certain Defendants and

their affiliates operate a large share of the more than 5,000 active oil and gas leases on nearly 27

million OCS acres administered by the U.S. Department of the Interior under the Outer Continental

Shelf Lands Act (“OCSLA”). 6 Oil produced from the OCS has accounted for approximately 30%

of all domestic production, and the U.S. Treasury takes in more than $10 billion in average annual

revenues from OCS lease bonuses, rental payments, and royalties. 7 Many of the Defendants in this

lawsuit and their alleged predecessors, successors, or subsidiaries worked to develop the oil and

gas resources on the OCS under federal government supervision. 8 As such, Plaintiff’s claims

“aris[e] out of, or in connection with . . . any operation conducted on the” OCS, and therefore




 6
     Statement of Abigail Ross Hopper, Director, Bureau of Ocean Energy Management, Before the
     House Committee on Natural Resources (Mar. 2, 2016), https://www.boem.gov/FY2017-
     Budget-Testimony-03-01-2016.
 7
     U.S. Dep’t of Interior, Bureau of Ocean Energy Management, OCS Oil and Gas Leasing
     Program: 2012-2017 Final Programmatic Environmental Impact Statement (“2012-2017
     EIS”), OCS EIS/EA BOEM 2012-030, 1-4 (2012).
 8
     The Complaint improperly conflates the activities of Defendants with the activities of their
     separately organized predecessors, subsidiaries, and affiliates. Although Defendants reject
     Plaintiff’s erroneous attempt to attribute the actions of predecessors, subsidiaries, and affiliates
     to the named Defendants, for purposes of this notice of removal only, Defendants describe the
     conduct of certain predecessors, subsidiaries, and affiliates of certain Defendants to show that
     the Plaintiff’s Complaint, as pleaded, can and should be removed to federal court.




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provide this Court with jurisdiction. 43 U.S.C. § 1349(b).

        In 1953, Congress passed OCSLA to make these vital national oil and gas resources owned

by the federal government available for “expeditious and orderly development.” 43 U.S.C.

§ 1332(3). Responding to President Nixon’s direction to “increase the acreage leased on the Outer

Continental Shelf” to meet the federal government’s goal for energy independence from foreign oil

by 1980, 9 Congress amended OCSLA to further encourage the leasing of the OCS to meet national

energy and security needs, while increasing federal control over lessees, to promote the national

energy agenda and protect the environment. The amendments were “intended to result in expedited

exploration and development of the Outer Continental Shelf in order to achieve national economic

and energy policy goals, assure national security, reduce dependence on foreign sources, and

maintain a favorable balance of payments in world trade.” California ex rel. Brown v. Watt, 668

F.2d 1290, 1296 (D.C. Cir. 1981) (quoting 43 U.S.C. § 1802).

        Recognizing the substantial federal interests in the OCS leasing program, Congress granted

federal courts original jurisdiction “to the entire range of legal disputes that it knew would arise

relating to resource development on the Outer Continental Shelf.” Laredo Offshore Constructors,

Inc. v. Hunt Oil Co., 754 F.2d 1223, 1228 (5th Cir. 1985) (emphasis added). There can be no doubt

that Plaintiff’s alleged injuries, which the Complaint asserts are a result of Defendants’ “extraction,”

“production,” and “sale” of oil and gas, are directly connected to Defendants’ substantial operations

on the OCS. Compl. ¶¶ 2, 6, 93, 110, 127, 199, 258, 261, 267. Jurisdiction is also proper because

the relief sought by Plaintiff—including, but not limited to, enjoining Defendants’ production of

oil and gas—“threatens to impair the total recovery of the federally-owned minerals from the




 9
     See Special Message to the Congress on the Energy Crisis, 1 Pub. Papers 29 (Jan. 23, 1974),
     https://quod.lib.umich.edu/p/ppotpus/4731948.1974.001?rgn=main;view=fulltext.


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reservoir or reservoirs underlying the OCS.” Amoco Prod. Co. v. Sea Robin Pipeline Co., 844 F.2d

1202, 1210 (5th Cir. 1988). In any event, the Court must “‘credit [Defendants’] theory of the case

for purposes’ . . . of the removal inquiry,” K&D LLC v. Trump Old Post Office LLC, 951 F.3d 503,

506 (D.C. Cir. 2020) (quoting Jefferson Cnty. v. Acker, 527 U.S. 423 (1999)), and interpret OCSLA

broadly in favor of removal. See, e.g., Ten Taxpayer Citizens Grp. v. Cape Wind Assocs., LLC, 373

F.3d 183, 188 (1st Cir. 2004) (OCSLA is “a sweeping assertion of federal supremacy over the

submerged lands outside of the three-mile SLA boundary”).

         Federal Officer Removal. Defendants’ exploration and production of fossil fuels, including

production on the OCS and on federal lands, have been conducted substantially under the direction,

supervision, and control of officers of the federal government, and therefore this action is also

removable under the Federal Officer Removal Statute. 28 U.S.C. § 1442. Indeed, the leases the

government required Defendants to sign in order to produce oil and gas on the OCS include terms

and conditions that provide for continued federal oversight and mandate that Defendants develop

the leaseholds to achieve national energy objectives. These terms require Defendants to produce

oil and gas, control the methods of production, and direct how oil and gas are sold to benefit the

national economy. For example, the leases require Defendants to “maximize the ultimate recovery

of the hydrocarbons from the leased area”; require that drilling take place “in accordance with a

government approved exploration plan (EP), development and production plan (DPP) or

development operations coordination document (DOCD) [as well as] approval conditions”; and

specify that the federal government retains the right to oversee the lessee’s rate of production from

its leases. 10


10
     See generally Dick Decl. Exs. 5–8; Adam Vann, Congressional Research Service, RL33404,
     Offshore       Oil      and    Gas     Development:      Legal      Framework       (2018),
     https://fas.org/sgp/crs/misc/RL33404.pdf (describing the multi-step process for approval of
     development plans and BOEM oversight procedures).


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        By producing oil and gas from the OCS, Defendants help the government meet national

interests, and—as President Obama emphasized in 2010—do so in the way that the federal

government has concluded best addresses national climate change objectives by balancing national

security, economic and environmental concerns. See supra note 2. Indeed, one of the first

undertakings of the newly created Federal Energy Administration in 1974 was to propose expanding

the OCS leasing program significantly: “Recent world events have spotlighted the growing

dependence of the United States on imported crude oil and petroleum products. Interruptions in oil

imports impose severe costs on the United States due to the pervasive economic role of petroleum

in almost every sector of the economy. . . . [T]he Outer Continental Shelf represents one of the

most important potential sources of increased domestic energy production, [and so] the President

has called for an accelerated leasing program as a mechanism to [e]nsure that the most favorable

OCS exploration prospects become available for near-term development.” 11

        It is significant that, to implement this direction, Congress considered creating a national oil

corporation to facilitate the development of oil and gas on the OCS, but ultimately decided that it

would be more efficient to contract with private energy companies, including many of the

Defendants here, to extract and produce oil and gas from these federal lands through a closely

monitored leasing program that would be supervised by the Department of the Interior and provide

the federal government with sufficient control over the production to protect national interests. See

Cong. Rec. S903-11 (Jan. 27, 1975). As the Supreme Court has explained, removal is appropriate

where, as here, private companies have “performed a job that, in the absence of a contract with a

private firm, the Government itself would have had to perform.” Watson v. Philip Morris Cos., 551

U.S. 142, 154 (2007).


11
     Dick Decl., Ex. 10 (H.R. Doc. No. 93-406, at App’x 2 (1974)).


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        As noted above, the United States military needs oil and gas to be produced by Defendants

and other industry members to carry out its military purpose. For more than a century, “these

products [have been] used for the war effort . . . [as] many ‘ordinary’ products [are] crucial to the

national defense, such as . . . fuel and diesel oil used in the Navy’s ships; and lubricating oils used

for various military machines.” Exxon Mobil Corp. v. United States, 2020 WL 5573048, at *31

(S.D. Tex. Sept. 16, 2020) (emphasis added); see also id. at *47 (noting the “value of [the]

petroleum industry’s contribution to the nation’s military success”). The United States Department

of Defense is the country’s—and one of the world’s—single largest user(s) of petroleum fuels. In

fiscal year 2019 alone, the Department of Defense purchased 94.2 million barrels of petroleum in

compliance with military specifications, totaling $12.1 billion in procurement actions. 12

        Starting at least as early as World War II, officers of the federal government directed and

controlled Defendants’ production, extraction, and development of fossil fuel products as required

to meet the unprecedented demands generated by the nation’s military. Federal agencies that were

formed for the war effort, including the War Production Board (“WPB”) and the Petroleum

Administration for War (“PAW”), had the power to order the oil and gas industry to identify scarce

goods, prioritize their use, and facilitate gas production for the military. See United States v. Shell

Oil Co., 294 F.3d 1045, 1049 (9th Cir. 2002) (“Shell I”). “The government exerted substantial

control and direction over the refineries’ actions, including decisions on how to use raw materials

and labor.” Exxon Mobil, 2020 WL 5573048, at *1. In fact, the federal government “insiste[d] on

having the plants operate 24 hours a day, 7 days a week, year-round.” Id. at *8. Put simply, the



12
     Def. Logistics Agency Energy Fiscal Year 2019 Fact Book (2019),
     https://www.dla.mil/Portals/104/Documents/Energy/Publications/FactBookFiscalYear2019_hi
     ghres.pdf?ver=2020-01-21-103755-473. This Fact Book also provides details of the types of
     fuels purchased by the military, the military standards governing the fuels purchased from
     Defendants, and the military’s research efforts related to petroleum fuels.


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federal government “exerted significant control over the operations of refinery owners or operators

that contracted to manufacture avgas, synthetic rubber, and other war materials.” Id. at *14. Certain

Defendants or their predecessors or subsidiaries also produced toluene, a component of the

explosive TNT, “under direct contract with the Army Ordnance Department.” 13

        In the decades after World War II, and continuing up to the present, the federal government

has repeatedly relied on energy companies, including Defendants, to increase domestic oil

production to bolster the nation’s military and economic security. For instance, in the 1970s, in the

midst of a series of national energy crises, Congress passed the Trans-Alaska Pipeline Authorization

Act of 1973, explaining that it was in the “national interest” to deliver oil and gas from Alaska’s

North Slope “to domestic markets . . . because of growing domestic shortages and increasing

dependence upon insecure foreign sources.” Trans-Alaska Pipeline Authorization Act, Pub. L. No.

93-153, § 202(a), 87 Stat. 576, 584 (1973). Defendants in this lawsuit, as well as their alleged

predecessors and subsidiaries, have been contributors to the approximately 18.4 billion barrels of

oil produced in Alaska since November 1973—the month in which the Trans-Alaska Pipeline

Authorization Act was signed into law—to the present. As another example, in the 2000s, the Bush

administration opened up approximately 8 million additional acres of OCS lands for leasing in the

Gulf of Mexico, stating: “By developing these domestic resources in a way that protects the

environment, we will help address high energy prices, protect American jobs, and reduce our

dependence on foreign oil.” 14 Through these actions and others too numerous to list here, the




13
     Dick Decl., Ex. 31 at 222; see Exxon Mobil, 2020 WL 5573048, at *13; Harold Nockolds, The
     Engineers, 28 (1949).
14
     Statement By President George W. Bush Upon Signing [H.R. 6111], 2 Pub. Papers 2218 (Dec.
     20,                                                                                2006),
     https://books.google.com/books?id=o2ei8yOphboC&printsec=frontcover#v=onepage&q&f=f
     alse.


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United States government has repeatedly pushed for energy companies, including Defendants, to

develop the nation’s domestic oil resources, both for its own use and the use of billions of

consumers, including Plaintiff here.

       Plaintiff’s Complaint asserts claims “for or relating to” acts taken by Defendants under color

of federal office. Plaintiff seeks to hold Defendants liable—in the form of compensatory, punitive,

and profit disgorgement damages—for actions taken under the direction of federal officers to fulfill

the needs of the federal government and in pursuit of federal government policies to develop fossil

fuel resources and secure the national defense. This is more than sufficient for removal under the

Federal Officer Removal Statute, which requires only “a ‘connection’ or ‘association’ between the

act in question and the federal office.” In re Commonwealth’s Motion to Appoint Counsel Against

or Directed to Defender Ass’n of Philadelphia, 790 F.3d 457, 474 (3d Cir. 2015) (“Def. Ass’n of

Philadelphia”); Sawyer v. Foster Wheeler LLC, 860 F.3d 249, 258 (4th Cir. 2017) (holding same);

Latiolais v. Huntington Ingals, Inc., 951 F.3d 286, 292 (5th Cir. 2020) (en banc) (same).

       Defendants’ allegations in support of federal officer removal are more than “facially

plausible,” which is all that is required for “removal under the federal pleading standards.” Baker

v. Atl. Richfield Co., 962 F.3d 937, 941 (7th Cir. 2020); id. at 945 (a defendant receives “the benefit

of all reasonable inferences from the facts alleged” in the notice of removal). Defendants have

asserted a reasonable basis for removal, and where both sides “have reasonable theories of th[e]

case,” the court “credit[s] only the [defendant’s] theory.” Id. at 947; see also In re Asbestos Litig.,

2016 WL 452309, at *9 (D. Del. Feb. 5, 2016), report and recommendation adopted sub nom. Esser

v. CBS Corp., 2016 WL 754079 (D. Del. Feb. 24, 2016) (“We . . . do not require [defendant]

virtually to ‘win his case before he can have it removed.’” (quoting Acker, 527 U.S. at 432)).

       The Complaint’s allegations of “concealment” do not defeat removal.                    Perhaps




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recognizing that its claims related to fossil fuel production and combustion are removable on

multiple federal law grounds, Plaintiff’s Complaint tries, at times, to recast the claims as being

about “concealment” or “misinformation” rather than production. For example, the Complaint

alleges that Defendants have “engaged in a coordinated, multi-front effort to conceal and deny their

own knowledge of [climate change].” Compl. ¶ 1; see also id. ¶ 226 (alleging “concealment of

known hazards associated with use of [fossil fuel] products”). But these allegations are unfounded:

The scientific research relating to a potential link between fossil fuel consumption and global

climate change has been voluminous and prominently in the public domain for decades, and no

actions by Defendants could have possibly “concealed” this information. And there is no dispute

that, to this day, the federal government, and many state governments, continue to encourage oil

and gas production despite being well aware of the potential effects it may have on global climate

change—for reasons that President Obama, among others, has explained. See Juliana, 947 F.3d at

1164 (“A substantial evidentiary record documents that the federal government has long promoted

fossil fuel use despite knowing that it can cause catastrophic climate change . . . .”).

       For these reasons, the Complaint is careful not to rely exclusively on allegations of

“deception,” but rather consistently lumps these claims together with production and sales. See,

e.g., Compl. ¶ 4 (“Defendants are extractors, producers, refiners, manufacturers, distributors,

promoters, marketers, and/or sellers of fossil fuel products[.]”); id. ¶ 159 (alleging that Defendants

should have “reduced use of fossil fuel products, reduced greenhouse gas pollution, and/or

mitigated the harms associated with the use and consumption of such products”); id. ¶ 207

(“[P]roduction and use of [Defendants’] products is the leading cause of climate change.”); id. ¶ 228

(“The state already has incurred, and will foreseeably continue to incur, injuries and damages due

to Defendants’ conduct, their contribution to the climate crisis, and the environmental, physical,




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social, and economic consequences of the climate crisis’s impact on the environment.”). Plaintiff’s

allegations about deception do not, and cannot, defeat removal because its claims are also based on

the production, sale and use of fossil fuels. See Exxon Mobil Corp. v. Allapattah Servs., Inc., 545

U.S. 546, 559, 563 (2005) (holding that removal is proper so long as jurisdiction exists over a single

claim); Savoie v. Huntington Ingalls, Inc., 817 F.3d 457, 463 (5th Cir. 2016) (same), overruled on

other grounds by Latiolais, 951 F.3d at 296.

       The remedies Plaintiff seeks confirm that this case is not—and cannot be—about alleged

“concealment” or misrepresentations divorced from Defendants’ production and sales activities.

The Complaint seeks compensatory damages for all injuries suffered as a result of global climate

change, an order compelling Defendants to abate the alleged nuisance (i.e., global climate change),

and an order enjoining Defendants from all activities that may potentially contribute to global

climate change (i.e., the production and sale of oil and gas). These claimed remedies do not, and

cannot, flow from any misrepresentations or omissions. A misrepresentation cannot cause climate

change, hurricanes, or a rise in sea level. Rather, according to the Complaint, those events and

Plaintiff’s alleged injuries are caused by the combustion of fossil fuels—and the numerous other

recognized sources of global greenhouse gases, like agriculture, waste management, deforestation

and other land use decisions by countless third parties, including by Plaintiff itself. If Plaintiff’s

claims were, in fact, based exclusively on alleged concealment and misrepresentations, its asserted

damages would necessarily be limited to, at most, any harms attributable to the marginal increase

in oil and gas consumption (if any) caused by the alleged concealment and misrepresentations. But

that is not the relief demanded in the Complaint.

       Contrary to Plaintiff’s baseless assertions, Defendants’ production, marketing and sale of

oil and gas is nothing like that of the tobacco industry. See, e.g., Comp. ¶¶ 207–09. For starters,




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oil and gas have enabled the Industrial Revolution and serve a critical public need. Indeed, “tobacco

is a habit, while oil and gas are enablers of modern life.” 15 As David Swensen, the head of the Yale

endowment, explained: “If we stopped producing fossil fuels today, we would all die. . . . We

wouldn’t have food. We wouldn’t have transportation. We wouldn’t have air conditioning. We

wouldn’t have clothes.” 16

        The reality is that the world has known for decades that the combustion of fossil fuels release

greenhouse gases into the atmosphere, which may contribute to global warming and climate change.

In fact, scientists have reported these effects since the nineteenth century. In 1896, Svante

Arrenhius reported that “if the quantity of carbonic acid increases in geometric progression, the

augmentation of the temperature will increase nearly in arithmetic progression.” 17 By the early

1950s, the potential link between fossil fuel use and climate change had been reported. For

example, in 1953, popular media, including the New York Times, Washington Post, Time Magazine,

and Popular Mechanics, as well as Delaware newspapers, reported research concluding that

“Earth’s ground temperature is rising 1½ degrees a century as a result of carbon dioxide discharged

from the burning of about 2,000,000,000 tons of coal and oil yearly.” 18 National and Delaware

newspapers similarly reported the potential risks of sea level rise from global warming as early as

the 1950s and 60s. For example, in 1957, a front-page article in the Washington Post titled, “Teller


15
     Dick Decl., Ex. 75 (Daniel Yergin, The New Map) at 387.
16
     Dick Decl., Ex. 75 at 386.
17
     Svante Arrhenius, On the Influence of Carbonic Acid in the Air upon the Temperature of the
     Ground, 41 Philosophical Magazine and Journal of Science 237, 267 (1896).
18
     Dick Decl., Ex. 64 (Popular Mechanics, Growing Blanket of Carbon Dioxide Raises Earth’s
     Temperature (August 1953)); see also id. Ex. 12 (W.K., How Industry May Change Climate,
     N.Y. Times (May 24, 1953)); id. Ex. 13 (Time Magazine, Invisible Blanket (May 25, 1953));
     id. Ex. 14 (Washington Post, Industrial Gases Warming Up Earth, Physicist Notes Here (May
     5, 1953)); id. Ex. 61 (The Morning News, Greater Industrial Activity Creating ‘Greenhouse’
     in Air (May 5, 1953)).



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Sees World-Flooding Peril Due to Industrial Overheating,” reported that prominent nuclear

physicist Edward Teller had noted that “increase[s] in carbon dioxide [are] the result of the ever

mounting uses of fuel energy such as coal, oil and derivatives during the industrial age” and, as a

result, “the ice caps on the poles will begin to melt and the amount of water on the earth will increase

. . . [and] ‘[s]uch places as New York and Holland would be inundated.’” 19

        Plaintiff’s allegations are further undermined by the undisputed fact that the U.S.

government was well aware of the potential link between fossil fuel use and global climate since at

least the 1950s and, in fact, actively encouraged and promoted production of domestic oil and gas

despite such knowledge. Indeed, the Complaint acknowledges that in 1965—more than 20 years

before Plaintiff alleges Defendants began their purported campaign of deception—President

Lyndon B. Johnson’s Science Advisory Committee reported that “a 25% increase in carbon dioxide

concentrations could occur by the year 2000, that such an increase could cause significant global

warming, that melting of the Antarctic ice cap and rapid sea level rise could result, and that fossil

fuels were the clearest source of the pollution.” Compl. ¶ 66.

        In short, Plaintiff’s claim that Defendants had exclusive, unique, early, or superior

knowledge about the potential link between fossil fuel use, greenhouse gas emissions, and climate

change is demonstrably false. The vast public record of media articles, scientific journals, and

government reports over the course of the past fifty-plus years makes clear that any claim of

“concealment”—actionable or otherwise—is absurd.

        Given that the United States, and the world, have continued to rely on and use oil and gas

at ever-increasing rates, with full knowledge and understanding that such usage may have adverse




19
     Dick Decl., Ex. 15 (Wash. Post., at A1 (Dec. 8, 1957) (emphasis added) (internal quotation
     marks omitted)).


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climate impacts, there can be no real doubt that increased production and consumption of oil and

gas were not caused by Defendants’ alleged “concealment,” but by the country’s fundamental and

vital need for energy. In fact, the federal government has reported that world energy consumption

is expected to grow by 50% by 2050 and will be focused in regions where strong economic growth

is driving demand. 20

                                             * * * * *

        In sum, this case is about the global production, sale, and consumption of vital products that

are used daily by virtually every person on the planet. Plaintiff attacks, and seeks to enjoin,

Defendants’ production and sale of these essential products—products that are critical to national

security and form the backbone of the American (and global) economy and modern life as we know

it. 21 Oil and gas power our national defense and military; keep our homes, offices, factories,

hospitals and other essential facilities illuminated, powered, heated, and ventilated; and transport

people and products, including virtually every consumer good—from food to medicine to

clothing—across the nation and the world. Plaintiff seeks to overturn decades of federal energy

policy and threaten the dependable, affordable supply of fossil fuels on which this country, and the

world, depends.

        Policy decisions surrounding the use of fossil fuels and the threat of climate change “require

consideration of competing social, political, and economic forces,” as well as “economic [and]

defense considerations.” Juliana, 947 F.3d at 1172 (internal quotation marks and citations omitted).



20
     See U.S. Energy Info. Admin., International Energy Outlook 2019 24–26 (2019),
     https://www.eia.gov/outlooks/ieo/pdf/ieo2019.pdf.
21
     Indeed, the State of Delaware expressly recognized the provision of oil and gas as an “essential”
     service during the coronavirus pandemic. See Delaware Coronavirus Industry List,
     https://coronavirus.delaware.gov/wp-content/uploads/sites/177/2020/04/DE-Industry-List-
     4.21.pdf (designating oil and gas extraction, natural gas distribution, pipeline transportation,
     and gasoline stations as essential businesses to remain open).


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“[A]ny effective plan [to reduce fossil fuel emissions] would necessarily require a host of complex

policy decisions entrusted . . . to the wisdom and discretion of the executive and legislative

branches” of the federal government. Id. at 1171. And federal law, rather than state law, must serve

as the exclusive source of governing law for such inherently interstate and international policy

matters, because “the basic scheme of the Constitution so demands.” AEP, 564 U.S. at 421.

Further, Plaintiff’s Complaint relates to and seeks substantial relief from Defendants’ production

of oil and gas on federal lands and under the direction of the federal government, and it directly

conflicts with attempts by both the legislative and executive branches of the federal government to

address important issues of national and international policy. Accordingly, Plaintiff’s Complaint

should be heard in this federal forum.

II.    TIMELINESS OF REMOVAL

       1.      Plaintiff, the State of Delaware, filed a Complaint against the Chevron Parties and

other named Defendants in the Superior Court of Delaware, No. N20C-09-097, on September 10,

2020. A copy of all process, pleadings, or orders in the possession of the Chevron Parties is attached

as Exhibit 1 to the Declaration of Joshua D. Dick. (“Dick Decl.”), filed concurrently herewith.

       2.      This Notice of Removal is timely under 28 U.S.C. § 1446(b) because it is filed less

than 30 days after service. 28 U.S.C. § 1446(b). The Chevron Parties were served on October 6,

2020. Dick Decl. ¶ 2. The consent of the other Defendants is not required because removal does

not proceed “solely under section 1441(a).” 28 U.S.C. § 1446(b)(2)(A). The Chevron Parties

remove this action to federal court on several bases, including, for example, 28 U.S.C. § 1442(a)(1).

Nevertheless, all properly joined and served Defendants have consented to removal. Dick Decl.




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¶ 2. Consent is not required from any Defendant that has not been served. See 28 U.S.C.

§ 1446(b)(2)(A). 22

III.      SUMMARY OF ALLEGATIONS AND GROUNDS FOR REMOVAL

          3.      Plaintiff is the State of Delaware. Plaintiff brings claims against Defendants for

alleged injuries relating to global climate change, undertaken individually and together, as part of

a “conspiracy,” including damages and equitable relief from injuries it claims to have suffered or

claims it will suffer from “climate crisis-related impacts,” such as sea level rise, extreme weather,

and other natural phenomena. See, e.g., Compl. ¶¶ 9, 45(b). Plaintiff asserts the following claims:

negligent failure to warn, trespass, nuisance, and Delaware Consumer Fraud Act. In addition to

compensatory and punitive damages, Plaintiff seeks “an order that provides for abatement of the

public nuisance [certain] Defendants have created, enjoins [certain] Defendants from creating

future common-law nuisances, and awards the State damages in an amount to be determined at

trial.” Id. ¶ 263 (emphasis added). It is thus clear that Plaintiff brought this action to limit and

ultimately end Defendants’ production of fossil fuels because of their alleged connection to climate

change.

          4.      The Chevron Parties deny that any Delaware court has personal jurisdiction over

them and further deny any liability as to Plaintiff’s claims. The Chevron Parties expressly reserve

all rights in this regard. For purposes of meeting the jurisdictional requirements for removal only,




22
       In filing this Notice of Removal, the Chevron Parties, and all other Defendants, do not waive,
       and expressly preserve, any right, defense, affirmative defense, or objection, including, without
       limitation, personal jurisdiction, insufficient process, and/or insufficient service of process. A
       number of Defendants contend that personal jurisdiction in Delaware is lacking over them, and
       these Defendants intend to preserve that defense and to move to dismiss for lack of personal
       jurisdiction at the appropriate time. See, e.g., Morris & Co. v. Skandinavia Ins. Co., 279 U.S.
       405, 409 (1929) (removal to federal court does not waive right to object to personal jurisdiction).


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however, the Chevron Parties submit that removal is proper on at least seven independent and

alternative grounds.

        5.      First, the action is removable under 28 U.S.C. §§ 1441(a) and 1331. Plaintiff’s

claims, however labeled, directly impact important federal interests and are interstate in nature such

that under Supreme Court precedent they are governed exclusively by federal law. See Nat’l

Farmers Union Ins. Cos. v. Crow Tribe of Indians, 471 U.S. 847, 850 (1985) (“National Farmers”).

Federal law applies in those few areas of the law that so implicate uniquely federal interests—

including, without limitation, interstate and ambient pollution, foreign affairs, navigable waters,

and national security—that application of state law would be inappropriate. AEP, 564 U.S. at 422

(“[B]orrowing the law of a particular State would be inappropriate.”); Milwaukee I, 406 U.S. at 99

(“[P]ollution of interstate or navigable waters creates actions arising under the ‘laws’ of the United

States within the meaning of [28 U.S.C. § 1331].”). Under the two-step approach that the Supreme

Court established in United States v. Standard Oil, whether a federal court has jurisdiction over a

claim does not depend on whether that claim is viable. 332 U.S. 301, 307 (1947); see also United

States v. Swiss Am. Bank, Ltd., 191 F.3d 30, 42–45 (1st Cir. 1999) (“Swiss American”). Rather,

only the first question—whether the source of law is federal or state based on the nature of the

issues at stake—is relevant for jurisdictional purposes. Id. Because Plaintiff’s claims necessarily

arise exclusively under federal law—no matter how Plaintiff characterizes them—they are properly

removed to this Court under its federal question jurisdiction. See, e.g., Sam L. Majors Jewelers v.

ABX, Inc., 117 F.3d 922, 928–29 (5th Cir. 1997). 23

        6.      Second, this Court has original jurisdiction over this lawsuit and removal is proper

pursuant to OCSLA. The allegations in the Complaint make clear that this action “aris[es] out of,


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     See infra note 25.


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or in connection with . . . any operation conducted on the outer Continental Shelf which involves

exploration, development, or production of the minerals, or the subsoil and seabed of the outer

Continental Shelf, or which involves rights to such minerals.” 43 U.S.C. § 1349(b); see also Tenn.

Gas Pipeline v. Houston Cas. Ins. Co., 87 F.3d 150, 155 (5th Cir. 1996).

       7.      Third, Defendants are authorized to remove this action under the Federal Officer

Removal Statute, 28 U.S.C. § 1442(a)(1). Despite Plaintiff’s purported disclaimer, see Compl.

¶ 14, multiple Defendants: (1) were “acting under” a federal officer; (2) assert colorable federal

defenses; and (3) have claims against them that relate to acts under color of federal office. See

Papp v. Fore-Kast Sales Co., 842 F.3d 805, 813–14 (3d Cir. 2016); Evans v. Foster Wheeler

Energy, Corp., 2016 WL 452310, at *5 (D. Del. Feb. 5, 2016), report and recommendation adopted,

2016 WL 754122 (D. Del. Feb. 24, 2016). The Complaint expressly alleges that the cumulative

impact of Defendants’ global extraction and production activities over the past several decades—

which necessarily include Defendants’ substantial operations on the OCS—contributed to the

global greenhouse gas emissions that Plaintiff claims caused its alleged injuries. See, e.g., Compl.

¶ 4.

       8.      Fourth, removal is authorized under 28 U.S.C. § 1441(a) and § 1331 because this

action necessarily raises disputed and substantial federal questions that a federal forum may

entertain without disturbing a congressionally approved balance of responsibilities between the

federal and state judiciaries. See Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545

U.S. 308 (2005) (“Grable”).

       9.      Fifth, removal is authorized under 28 U.S.C. § 1441(a) and § 1331 on the further

ground that Plaintiff’s claims are completely preempted by the Clean Air Act and other federal

statutes, treaties and international agreements, and the United States Constitution, which provide




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the exclusive federal remedy for addressing interstate greenhouse gas emissions that necessarily are

the but-for cause of Plaintiff’s alleged injuries.

        10.     Sixth, removal is authorized under 28 U.S.C. § 1441(a) and § 1331 because—despite

Plaintiff’s purported disclaimer, see Compl. ¶ 14—the Complaint makes clear that Plaintiff’s claims

are based on alleged injuries and conduct occurring on federal enclaves. As such, Plaintiff’s claims

are removable to this Court under federal-question jurisdiction. See U.S. Const. art. I, § 8, cl. 17;

Jones v. John Crane-Houdaille, Inc., 2012 WL 1197391, at *1 (D. Md. Apr. 6, 2012) (“A suit based

on events occurring in a federal enclave . . . must necessarily arise under federal law and implicates

federal question jurisdiction under § 1331.”).

        11.     Seventh, this suit is effectively a class action, brought under Delaware law, on behalf

of Delaware consumers, thereby creating removal jurisdiction under the Class Action Fairness Act,

28 U.S.C. § 1332(d).

        12.     The Chevron Parties will address each of these grounds in additional detail below.

Should Plaintiff challenge this Court’s jurisdiction, Defendants reserve the right to further elaborate

on these grounds and will not be limited to the specific articulations in this Notice. Cf., e.g., Betzner

v. Boeing Co., 910 F.3d 1010, 1014–16 (7th Cir. 2018) (holding that district court erred by requiring

evidentiary submissions by defendant to support removal in advance of ruling on jurisdiction).

IV.     THIS COURT HAS FEDERAL-QUESTION JURISDICTION BECAUSE
        PLAINTIFF’S CLAIMS NECESSARILY ARISE UNDER FEDERAL LAW

        13.     This action is removable because, as a matter of federal constitutional structure,

Plaintiff’s common law claims necessarily arise under federal, not state, law: The issues presented

are exclusively federal in nature; state law simply has no role to play. Under 28 U.S.C. § 1331,

federal courts have original jurisdiction over “claims founded upon federal common law as well as

those of a statutory origin.” National Farmers, 471 U.S. at 850 (quoting Milwaukee I, 406 U.S. at



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100). As the Supreme Court has repeatedly confirmed, “When we deal with air and water in their

ambient or interstate aspects, there is a federal common law.” AEP, 564 U.S. at 421 (quoting

Milwaukee I, 406 U.S. at 103). Because Plaintiff’s claims necessarily arise under federal law, this

Court has federal-question jurisdiction and removal is proper.

        14.     The Court must determine at the outset whether Plaintiff’s claims arise under federal

or state law. This analysis does not implicate preemption principles or standards because a claim

that “arise[s] under federal common law . . . is a permissible basis for jurisdiction based on a federal

question.” Treiber & Straub, Inc. v. U.P.S., Inc., 474 F.3d 379, 383 (7th Cir. 2007); see also

Woodward Governor Co. v. Curtiss Wright Flight Sys., Inc., 164 F.3d 123, 126 (2d Cir. 1999) (“[I]f

federal common law governs a case, that case [is] within the subject matter jurisdiction of the

federal courts.”). 24

        15.     Section 1331 extends the original jurisdiction of federal district courts to “all civil

actions arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

This jurisdictional grant encompasses actions that arise under federal common law, because “a

cause of action . . . ‘arises under’ federal law if the dispositive issues stated in the complaint require

the application of federal common law.” Milwaukee I, 406 U.S. at 100.




24
     This ground for removal is separate and independent from the complete preemption ground for
     removal discussed below at section VIII. See, e.g., Sam L. Majors Jewelers, 117 F.3d at 924
     (“There are three theories that might support federal question jurisdiction in a case such as this
     one. . . . Second, jurisdiction will lie if an area of law is completely preempted by the federal
     regulatory regime. Finally, if the cause of action arises under federal common law principles,
     jurisdiction may be asserted.”); id. at 926 (“[B]ecause jurisdiction is not supported by complete
     preemption, we must determine whether Jewelers’ claim arises under federal common law.”).
     “[S]ome areas involving ‘uniquely federal interests’ may be so important to the federal
     government that a ‘federal common law’ related to those areas will supplant state law . . .
     regardless of whether Congress has shown any intent to preempt the area.” Caudill v. Blue
     Cross & Blue Shield of N.C., 999 F.2d 74, 78 (4th Cir. 1993) (emphasis added).


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       16.     Federal common law governs when “a federal rule of decision is ‘necessary to

protect uniquely federal interests.’”     Tex. Indus, 451 U.S. at 640.       Claims for interstate or

international pollution implicate “uniquely federal interests” and must out of necessity be subject

to uniform federal law as a matter of fundamental constitutional structure. In our federal system,

each State may make law within its own borders, but no State may “impos[e] its regulatory policies

on the entire Nation,” see BMW of N. Am. v. Gore, 517 U.S. 559, 585 (1996), or dictate our

“relationships with other members of the international community,” Banco Nacional de Cuba v.

Sabbatino, 376 U.S. 398, 425 (1964). Federal law therefore must govern inherently interstate or

international matters to the exclusion of state law, because “the basic scheme of the Constitution so

demands,” AEP, 564 U.S. at 421.

       17.     As the Court explained in Milwaukee I, “[w]hen we deal with air and water in their

ambient or interstate aspects, there is a federal common law.” 406 U.S. at 103; accord, e.g., AEP,

564 U.S. at 421 (“Environmental protection is undoubtedly an area ‘within national legislative

power,’ one in which federal courts may fill in ‘statutory interstices,’ and, if necessary, even

‘fashion federal law.’”). And because federal law governs in order to protect uniquely federal

interests, state law cannot apply to such claims: “if federal common law exists, it is because state

law cannot be used.” Milwaukee II, 451 U.S. at 313 n.7. The Supreme Court put the point

succinctly in International Paper Co. v. Ouellette, observing that “interstate water pollution is a

matter of federal, not state, law.” 479 U.S. 481, 488 (1987) (emphasis added).

       18.     As the Third Circuit explained, “the power of federal courts to craft federal rules of

decision is established in cases in which a federal common law rule is ‘necessary to protect uniquely

federal interests,’ such as federal proprietary interests, federal interests in international law and to

resolve conflicts among the states.” McGurl v. Trucking Emps. of N.J. Welfare Fund, Inc., 124




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F.3d 471, 480 (3d Cir. 1997) (internal citations omitted). That principle is controlling here. The

Southern District of New York, addressing nearly identical claims, rejected the state-law labels the

plaintiff had attached and held that these claims arise under federal common law. City of New York,

325 F. Supp. 3d at 472 (“[T]he City’s claims are ultimately based on the ‘transboundary’ emission

of greenhouse gases, indicating that these claims arise under federal common law.”), appeal argued,

No. 18-2188 (2d Cir. Nov. 22, 2019).

         19.     Although Plaintiff purports to style its nuisance and other claims as arising under

state law, it is the inherently federal nature of the claims stated on the face of the complaint, not the

plaintiff’s characterization of them as state-law claims, that is controlling. 25 It is well-settled that

the question of whether a case arises under state or federal law, and is, therefore, properly

removable, is a question of subject matter jurisdiction that the federal removal court must resolve

for itself, subject to the court’s “unflagging obligation” to exercise such jurisdiction where it does

exist. 26 A federal court would contravene this fundamental obligation were it to treat as controlling


 25
      14C Wright et al., Fed. Prac. & Proc. Juris. § 3722.1 (rev. 4th ed.) (“[A] plaintiff cannot frustrate
      a defendant’s right to remove by pleading a case without reference to any federal law when the
      plaintiff’s claim is necessarily federal.”); accord, e.g., Federated Dep’t Stores, Inc. v. Moitie,
      452 U.S. 394, 397 n.2 (1981) (noting courts will “determine whether the real nature of the claim
      is federal, regardless of plaintiff’s characterization”); Club Comanche, Inc. v. Gov’t of Virgin
      Islands, 278 F.3d 250, 259 (3d Cir. 2002) (in determining whether “a federal question is
      presented on the face of the plaintiff’s properly pleaded complaint . . . [a] plaintiff’s lack of
      reference . . . to federal law is not controlling”) (citing Am. Phillips Corp. v. Emery Air Freight
      Corp., 579 F.2d 229, 233 (2d Cir. 1978) (“[T]he lack of any reference to federal law in the
      complaint is not controlling” where “the substance of the[] allegations . . . sets forth a claim
      arising under federal law.”)); Sam L. Majors Jewelers, 117 F.3d at 928 (citing Emery, 579 F.2d
      at 234) (same); City of Camden v. Beretta U.S.A. Corp., 81 F.Supp.2d 541, 546 (D.N.J. 2000)
      (same).
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      See Colorado River Water Conservation Dist. v. United States, 424 U.S. 800, 821, 96 S. Ct. 1236,
      1248, 47 L. Ed. 2d 483 (1976) (Stewart, J. dissenting) (“[F]ederal courts have a ‘virtually
      unflagging obligation’ . . . to exercise the jurisdiction given them”); England v. Louisiana Bd. of
      Medical Examiners, 375 U.S. 411, 415 (1964) (“When a federal court is properly appealed to in
      a case over which it has by law jurisdiction, it is its duty to take such jurisdiction.”) (quoting
      Wilcox v. Consolidated Gas Co., 212 U.S. 19, 40 (1909)); Cohens v. Virginia, 6 Wheat. 264, 404,
      5 L.Ed. 257 (1821) (federal courts ‘have no more right to decline the exercise of jurisdiction which
      is given, than to usurp that which is not’”).


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a complaint’s characterization of its claims as state-law claims where, as here, the substance of the

complaint’s allegations and demands for relief reveal that those claims are exclusively federal by

virtue of the structure of our Constitution and, therefore, necessarily arise under federal law. See

supra notes 25–26.

       20.     The two-step analysis the Supreme Court established in Standard Oil for

determining whether a claim arises under state or federal law for jurisdictional purposes makes

clear that this threshold question does not depend on the answer to the distinct substantive question

of whether the plaintiff has stated a viable claim under federal law. Under the applicable two-step

approach, courts must (1) determine for jurisdictional purposes whether the source of law is federal

or state based on the nature of the issues at stake; and (2) if federal law is the source, determine the

substance of the federal law, including whether the plaintiff has stated a viable federal claim. Swiss

American, 191 F.3d at 42–45 (citing Standard Oil, 332 U.S. 301).

       21.     Adhering to the “two-part approach” articulated in Standard Oil, the First Circuit in

Swiss American recognized the key distinction between the “source question and the substance

question.” 191 F.3d at 43, 45. The Court explained that the “source question” asks whether “the

source of the controlling law [should] be federal or state.” Id. at 43. The substance question, on

the other hand, “which comes into play only if the source question is answered in favor of a federal

solution,” asks whether the governing rule should be borrowed from state law or instead be a

“uniform federal rule.” Id. Whether a claim “arises under” federal law “turns on the resolution of

the source question.” Id. at 44. Only that first question—what law applies—is relevant in

addressing whether removal is proper and, as such, it must be resolved by a federal court. As the

Supreme Court explained, this “choice-of-law task is a federal task for federal courts.” Milwaukee

II, 451 U.S. at 349 (quoting United States v. Little Lake Misere Land Co., 412 U.S. 580, 592 (1973)).




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       22.     The Third Circuit has followed this same jurisdictional analysis. In United States v.

Sommerville, 324 F.2d 712, 714–15 (3d Cir. 1963), the court held that a tort claim for conversion

brought by the United States was governed by federal law.             As the court explained, “[a]n

independent federal rule of decision must be applied when a genuine federal interest would be

subjected to uncertainty by application of disparate state rules.” Id. (emphasis added). This analysis

does not turn on whether the United States is a party to the action, and the same rule applies when

the genuine federal interest is raised in a dispute between private parties. See, e.g., New SD, Inc. v.

Rockwell Intern. Corp., 79 F.3d 953, 954–55 (9th Cir. 1996) (upholding removal in dispute between

private contractors involving government contract). “When federal law applies . . . it follows that

the question arises under federal law, and federal question jurisdiction exists.” Id. at 955; see also

Sam L. Majors Jewelers, 117 F.3d at 928–29 (removal of state-law claims was proper because

federal common law governed liability of air carriers).

       23.     Because Plaintiff alleges that climate change occurs as the result of the

undifferentiated accumulated emissions of all emitters in the world over an extended period of time,

see, e.g., Compl. ¶¶ 55, 148, any judgment as to the reasonableness of particular emissions, or as to

their alleged causal contribution to the overall phenomenon of climate change, inherently requires

an evaluation at an interstate and, indeed, international level. See AEP, 564 U.S. at 422 (noting that

“[g]reenhouse gases once emitted become well mixed in the atmosphere”) (internal quotation marks

omitted); Native Vill. of Kivalina v. ExxonMobil Corp., 663 F. Supp. 2d 863, 880 (N.D. Cal. 2009)

(“Kivalina I”) (“Significantly, the source of the greenhouse gases are undifferentiated and cannot

be traced to any particular source, let alone defendant, given that they ‘rapidly mix in the

atmosphere’ and ‘inevitably merge[ ] with the accumulation of emissions in California and the rest

of the world.’”). Thus, even assuming that state tort law may properly address local source




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emissions within a specific state, that is unquestionably not the nature or theory of Plaintiff’s claim,

nor could it be. Plaintiff seeks to impose tort liability for Defendants’ alleged contributions to

global climate change, based on global production and sales, and would require an overarching

consideration of all of the emissions traceable to the extraction and sale of Defendants’ products in

each of the states, and, in fact, in the approximately 195 countries of the world. Plaintiff does not

seek damages from Defendants as a result of their intrastate activity. Indeed, Plaintiff did not even

attempt to disclaim oil and gas sales and their attendant emissions to the extent they occurred

outside Delaware or internationally. Nor could it. Just as with its failed attempt to exclude

emissions resulting from sale to the federal government and the military, there is no method by

which to distinguish the effect of emissions originating inside or outside the forum. Therefore,

given the federal government’s exclusive authority over foreign affairs and foreign commerce, and

its preeminent authority over interstate commerce, tort claims concerning climate change directly

implicate uniquely federal interests as “the immense and complicated problem of global warming

requires a comprehensive solution[.]” City of New York, 325 F. Supp. 3d at 475. As the Ninth

Circuit has noted, “any effective plan [to reduce fossil fuel emissions] would necessarily require a

host of complex policy decisions entrusted . . . to the wisdom and discretion of the executive and

legislative branches” of the federal government. Juliana, 947 F.3d at 1171. In cases like this,

“borrowing the law of a particular State would be inappropriate.” AEP, 564 U.S. at 422.

       24.     Plaintiff’s claims also arise under federal law because they seek to regulate the

production and sale of oil and gas abroad and, therefore, implicate the federal government’s foreign

affairs power and the Constitution’s Foreign Commerce Clause. The federal government has

exclusive authority over the nation’s international policy on climate change and relations with

foreign nations. Pink, 315 U.S. at 233 (“Power over external affairs is not shared by the States; it




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is vested in the national government exclusively.”). Accordingly, “our federal system does not

permit the controversy to be resolved under state law,” “because the authority and duties of the

United States as sovereign are intimately involved” and “because the interstate [and] international

nature of the controversy makes it inappropriate for state law to control.” Texas Indus., 451 U.S.

at 641.

          25.   The international nature of the claims underscores why they are exclusively federal

in nature, and, therefore, may properly be removed to federal court. See Sabbatino, 376 U.S. at 425

(issues involving “our relationships with other members of the international community must be

treated exclusively as aspects of federal law”); accord Republic of Philippines v. Marcos, 806 F.2d

344, 352 (2d Cir. 1986) (explaining that “there is federal question jurisdiction over actions having

important foreign policy implications” under federal common law).

          26.   As is evident from Plaintiff’s repeated use of the term “global warming,” the causes

of Plaintiff’s alleged injuries are not confined to particular sources, cities, counties, or even states,

but rather implicate inherently national and international interests, including treaty obligations and

federal and international regulatory schemes. See id. ¶ 51, Figure 1 (depicting CO2 emissions from

various sources); ¶ 57 n.29 (CO2 emissions cause “global mean sea level rise” (emphasis added));

see also, e.g., Massachusetts v. EPA, 549 U.S. 497, 509, 523–24 (2007) (describing Senate rejection

of the Kyoto Protocol because emissions reduction targets did not apply to “heavily polluting

nations such as China and India,” and EPA’s determination that predicted magnitude of future

Chinese and Indian emissions “offset any marginal domestic decrease”); AEP, 564 U.S. at 427–29

(describing regulatory scheme of the Clean Air Act and role of the EPA); accord Remarks

Announcing United States Withdrawal From the United Nations Framework Convention on

Climate     Change   Paris    Accord    (June   1,    2017),   https://www.whitehouse.gov/briefings-




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statements/statement-president-trump-paris-climate-accord/ (statement by President Trump

announcing United States’ withdrawal from Paris Climate Accord based on financial burdens,

energy restrictions, and failure to impose proportionate restrictions on China’s emissions).

       27.     In short, and as the United States explained as amicus in a similar case, “federal law

and policy has long declared that fossil ‘fuels are strategically important domestic resources that

should be developed to reduce the growing dependence of the United States on politically and

economically unstable sources of foreign oil imports.’” Brief of the United States as Amicus Curiae

at 10, City of Oakland v. BP p.l.c, No. 18-16663, (9th Cir. Aug. 3, 2020) (ECF No. 198) (quoting

42 U.S.C. § 15927(b)(1)).

       28.     The Complaint itself demonstrates that the unbounded nature of greenhouse gas

emissions, diversity of sources, and the magnitude of the alleged attendant consequences have

catalyzed myriad federal and international efforts to understand and address such emissions. See,

e.g., Compl. ¶ 107. But these are complex policy-balancing problems, on a necessarily national

scale, and without fixed “right answers.” As the Supreme Court put it in AEP, “[t]he appropriate

amount of regulation in any particular greenhouse gas-producing sector cannot be prescribed in a

vacuum: As with other questions of national or international policy, informed assessment of

competing interests is required. Along with the environmental benefit potentially achievable, our

Nation’s energy needs and the possibility of economic disruption must weigh in the balance.” AEP,

564 U.S. at 427. As a “question[] of national or international policy,” the question of how to address

greenhouse gas emissions (which underlies Plaintiff’s claims and its requested relief) involves

inherently federal concerns and can be resolved only by application of federal law; state law simply

has no role to play. See id. The Complaint’s dependence on the navigable waters of the United

States as the instrument of the asserted nuisance, see Compl. ¶ 228(d), reinforces that conclusion.




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See Michigan v. U.S. Army Corps of Engineers, 667 F.3d 765, 778, 780 (7th Cir. 2011) (finding

that nuisance action involving navigable waters arose under federal common law). Put simply,

“[w]hen we deal with air and water in their ambient or interstate aspects, there is a federal common

law.” Milwaukee I, 406 U.S. at 103.

        29.     Plaintiff’s attempts to avoid federal jurisdiction by framing the cause of the alleged

harm as an alleged “campaign of deception” are fundamentally flawed and of no effect, for at least

three reasons. See, e.g., Compl. ¶ 170.27 First, as discussed in detail below, see infra ¶¶ 213–20,

the public record demonstrates widespread awareness about climate change and the many other

factors that have influenced and caused a consistent worldwide growth in oil and gas consumption

over the last many decades, even as public awareness of climate change issues has continued to

deepen.

        30.     Second, notwithstanding Plaintiff’s baseless “deception” allegations, the gravamen

of Plaintiff’s claims is that “pollution from Defendants’ fossil fuel products plays a direct and

substantial role in the unprecedented rise in emissions of greenhouse gas pollution,” which “is the

main driver of the gravely dangerous changes occurring to the global climate.” Compl. ¶ 4. In fact,

Plaintiff alleges that “greenhouse gas pollution, primarily in the form of CO2, is far and away the

dominant cause of global warming.” Id. ¶ 5 (emphases added). And Plaintiff’s Complaint alleges

that “Defendants’ conduct caused a substantial portion of global atmospheric greenhouse gas

concentrations.” Id. ¶ 60. Thus, Plaintiff’s causes of action, which all require some showing of

harm or injury, are squarely based on the production, sale, and use of oil and gas. For example, the

Complaint’s nuisance and trespass claims are not—and cannot be—based on Defendants’ alleged


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     As an initial matter, Defendants deny that they misrepresented their knowledge of the science
     or effects of climate change, and will show at the appropriate time that their public statements
     with respect to climate change were both in good faith and had no material effect on consumer
     demand for petroleum products.


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deception or concealment. Rather, the nuisance (i.e., global climate changes) and trespass (i.e.,

water flowing into Delaware from rising sea levels) are allegedly caused by global climate change

that allegedly has resulted from the cumulative production and use of oil and gas across the globe

for decades. Nothing in these claims turns on Defendants’ alleged deception.

       31.     Third, the remedies Plaintiff seeks confirm that this case arises under federal law.

Among other things, Plaintiff requests “an order that provides for abatement of the public nuisance”

and an order that “enjoins” the creation of “future common-law nuisances.” Compl. ¶ 263

(emphasis added). Any order to abate the current effects of global climate change or to enjoin

activities that may contribute to future climate change would necessarily require a court to order

that Defendants halt, or limit, their production and sale of oil and gas. In other words, Plaintiff

requests that a court craft a rule of decision to regulate Defendants’ prospective, worldwide

operations to the extent that those operations could relate to climate change. Such relief has nothing

to do with Defendants’ alleged deception or concealment. While Defendants dispute that any court

has the authority to take such action, it is nevertheless plain that any such injunctive relief would

necessarily regulate interstate and international conduct occurring far outside the boundaries of

Delaware, implicating a vast array of national and foreign affairs considerations that cannot be

governed by state law. The Constitution dictates that any such claims must arise exclusively under

federal law, and this Court therefore has original jurisdiction over this action.

V.     THE ACTION IS REMOVABLE UNDER THE OUTER CONTINENTAL SHELF
       LANDS ACT

       32.     This Court also has original jurisdiction pursuant to OCSLA. 43 U.S.C. § 1349(b);

see Tenn. Gas Pipeline, 87 F.3d at 155. In OCSLA, Congress granted federal courts original

jurisdiction over all actions “arising out of, or in connection with . . . any operation conducted on

the outer Continental Shelf which involves exploration, development, or production of the minerals,



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of the subsoil or seabed of the outer Continental Shelf, or which involves rights to such minerals.”

43 U.S.C. § 1349(b); In re Deepwater Horizon, 745 F.3d 157, 163 (5th Cir. 2014) (“[T]h[e]

language [of § 1349(b)(1)] [i]s straightforward and broad.”). The OCS includes all submerged

lands that belong to the United States but are not part of any State. 43 U.S.C. §§ 1301, 1331.

Plaintiff’s claims encompass all of Defendants’ worldwide “exploration, development, extraction

manufacturing and . . . production” of fossil fuels. See, e.g., Compl. ¶ 28(a). Therefore, Plaintiff’s

claims necessarily encompass all such activities by Defendants on the OCS and fall within the

“broad . . . jurisdictional grant of section 1349.” EP Operating Ltd. P’ship v. Placid Oil Co., 26

F.3d 563, 569 (5th Cir. 1994).

       33.     OCSLA makes clear that oil and gas activities on the OCS can only be governed by

federal law. As the Supreme Court recently confirmed, “[T]he OCSLA defines the body of law

that governs the OCS.” Parker Drilling Management Services, Ltd. v. Newton, 139 S. Ct. 1881,

1887 (2019). In particular, OCSLA extends “[t]he Constitution and laws and civil and political

jurisdiction of the United States” to the OCS. 43 U.S.C. § 1333(a)(1). Federal law applies “to the

same extent as if the [OCS] were an area of exclusive Federal jurisdiction located within a State.”

Id. Disputes under OCSLA may borrow from the law of adjacent states, but such claims remain

creatures of federal law. “[T]he civil and criminal laws of each adjacent State . . . are declared to

be the law of the United States for that portion of the subsoil and seabed of the [OCS].” Id.

§ 1333(a)(2)(A).

       34.     As Parker Drilling explains, “The OCSLA makes apparent that federal law is

exclusive in its regulation of [the OCS], and that state law is adopted only as surrogate federal law.”

Id. (quotation marks omitted, alteration in original). Thus, the courts have affirmed removal

jurisdiction where plaintiff’s claims, “though ostensibly premised on [state] law, arise under the




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‘law of the United States’ under [43 U.S.C.] § 1333(a)(2)” such that “[a] federal question . . .

appears on the face of [plaintiff’s] well-pleaded complaint.” Ten Taxpayer Citizens Grp. v. Cape

Wind Assoc., LLC, 373 F.3d 183, 193 (1st Cir. 2004). Accordingly, Plaintiff’s claims are removable

under OCSLA. 28

        35.     The breadth of OCSLA federal jurisdiction reflects the Act’s “expansive substantive

reach.” See id. Congress passed OCSLA “to establish federal ownership and control over the

mineral wealth of the OCS and to provide for the development of those natural resources.” Id. at

566. “[T]he efficient exploitation of the minerals of the OCS . . . was . . . a primary reason for

OCSLA.” Amoco Prod. Co., 844 F.2d at 1210. Indeed, OCSLA declares it “to be the policy of the

United States that . . . the [OCS] . . . should be made available for expeditious and orderly

development.”     43 U.S.C. § 1332(3).     The statute further provides that “since exploration,

development, and production of the minerals of the outer Continental Shelf will have significant

impacts on coastal and non-coastal areas of the coastal States . . . such States, and through such

States, affected local governments, are entitled to an opportunity to participate, to the extent

consistent with the national interest, in the policy and planning decisions made by the Federal

Government relating to exploration for, and development and production of, minerals of the outer

Continental Shelf.” Id. § 1332(4) (emphasis added).

        36.     Consistent with Congress’s intent, courts repeatedly have found OCSLA jurisdiction

where the claims involved conduct that occurred on the OCS or where resolution of the dispute

foreseeably could affect the efficient exploitation of minerals from the OCS. See, e.g., EP




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     Under Parker Drilling, Plaintiff’s claims related to operations on the OCS are also removable
     under 28 U.S.C. § 1331 because they arise under federal law.


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Operating, 26 F.3d at 569–70; United Offshore v. S. Deepwater Pipeline, 899 F.2d 405, 407 (5th

Cir. 1990).

       37.     OCSLA jurisdiction exists even if the Complaint pleads no substantive OCSLA

claims. See, e.g., Deepwater Horizon, 745 F.3d at 163 (denying motion to remand complaint

pleading no substantive OCSLA claims on the basis of OCSLA jurisdiction). Although the

Complaint attempts to “disclaim[] injuries arising on federal property,” see Compl. ¶ 14, Plaintiff’s

claims and injuries necessarily arise out of and are connected with production and exploration on

the OCS. Greenhouse gas emissions cannot be traced to their source, see AEP, 564 U.S. at 422;

Kivalina I, 663 F. Supp. 2d at 880, and Plaintiff’s purported injuries are allegedly caused by

commingled “greenhouse gas pollution” generally. Compl. ¶ 4. Indeed, the Complaint explains

that “it is not possible to determine the source of any particular individual molecule of CO2 in the

atmosphere attributable to anthropogenic sources because such greenhouse gas molecules do not

bear markers that permit tracing them to their source, and because greenhouse gasses . . . quickly

diffuse and comingle in the atmosphere.” Id. ¶ 245.

       38.     Under OCSLA, the U.S. Department of the Interior administers an extensive federal

leasing program that aims to develop and exploit the oil and gas resources of the federal OCS.

43 U.S.C. § 1334 et seq. Under this authority, the Interior Department “administers more than

5,000 active oil and gas leases on nearly 27 million OCS acres. In FY 2015, production from these

leases generated $4.4 billion . . . in leasing revenue . . . [and] provided more than 550 million barrels

of oil and 1.35 trillion cubic feet of natural gas, accounting for about sixteen percent of the Nation’s

oil production and about five percent of domestic natural gas production.” Statement of Abigail

Ross Hopper, Director, Bureau of Ocean Energy Management, Before the House Committee on

Natural Resources (Mar. 2, 2016), https://www.boem.gov/FY2017-Budget-Testimony-03-01-




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2016. 29 In 2019, OCS leases supplied more than 690 million barrels of oil, a figure that has risen

substantially in each of the last six years, together with 1.034 trillion cubic feet of natural gas.

Bureau of Safety and Environmental Enforcement, Outer Continental Shelf Oil and Gas Production

(Oct. 6, 2020), https://www.data.bsee.gov/Production/OCSProduction/Default.aspx.

        39.     Certain Defendants (or their predecessors, subsidiaries, or affiliates) participate in

the federal OCS leasing program. For example, from 1947 to 1995, Chevron U.S.A. Inc. produced

1.9 billion barrels of crude oil and 1.1 trillion cubic feet of natural gas from the federal OCS in the

Gulf of Mexico alone. Dick Decl., Ex. 22 (Production by Operator Ranked by Volume for the Gulf

of Mexico Region, 1947-1995, MMS). In 2016, Chevron U.S.A. produced over 49 million barrels

of crude oil and over 49 billion cubic feet of natural gas from the OCS in the Gulf of Mexico. U.S.

Dep’t of Interior, Bureau of Safety & Env’tl. Enf’t, Gulf of Mex. Region, Prod. by Operator Ranked

by Vol. (2016), https://www.data.boem.gov/Production/Files/Rank%20File%20Gas%202016.pdf.

According to data published by the U.S. Bureau of Ocean Energy Management, numerous other

Defendants conduct, and have conducted for decades, similar oil and gas operations on the federal

OCS. According to data published by the Department of Interior for the period 1947 to 1995,

sixteen of the twenty largest—including the five largest—OCS operators in the Gulf of Mexico,

measured by oil volume, were a Defendant (or predecessor of a Defendant) or one of their

subsidiaries. 30 Also according to the Department of the Interior, in every subsequent year, from

1996 to the present, at least three of the top five OCS operators in this area have been a Defendant

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     The Court may look beyond the facts alleged in the Complaint to determine that OCSLA
     jurisdiction exists. See, e.g., Plains Gas Solutions, LLC v. Tenn. Gas Pipeline Co., LLC, 46 F.
     Supp. 3d 701, 703 (S.D. Tex. 2014); St. Joe Co. v. Transocean Offshore Deepwater Drilling
     Inc., 774 F. Supp. 2d 596, 2011 A.M.C. 2624, 2640 (D. Del. 2011) (citing Amoco Prod. Co.,
     844 F.2d at 1205).
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     U.S. Dep’t of Interior, Bureau of Ocean Energy Mgmt., Ranking Operator by Oil,
     https://www.data.boem.gov/Main/HtmlPage.aspx?page=rankOil.



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(or a predecessor) or one of their subsidiaries. 31 Indeed, Defendants (and their subsidiaries or

affiliates) presently hold, in whole or in part, approximately 26.3% of all OCS leases. See Bureau

of Ocean Energy Management, Lease Owner Information, https://www.data.boem.gov/Leasing/

LeaseOwner/Default.aspx. 32

        40.     The Complaint itself makes clear that a substantial part of Plaintiff’s claims “arise[]

out of, or in connection with,” Defendants’ “operation[s] conducted on the outer Continental Shelf”

that involve “the exploration and production of minerals.” Deepwater Horizon, 745 F.3d at 163.

Plaintiff, in fact, challenges all of Defendants’ “extraction” of “oil, coal, and natural gas[.]” Compl.

¶ 2. And a substantial quantum of those activities arise from OCS operations. See Cong. Rsch.

Serv., R42432, U.S. Crude Oil and Natural Gas Production in Federal and Nonfederal Areas 3, 5

(updated Oct. 23, 2018), https://crsreports.congress.gov/product/pdf/R/R42432 (recounting that,

historically, annual oil and gas production from federal leases has accounted for as much as 36%

of domestic oil production and 25% of domestic natural gas production). Plaintiff also alleges that

emissions have risen due to increased OCS extraction technologies. See, e.g., Compl. ¶¶ 143–46

(discussing Arctic offshore drilling equipment and patents potentially relevant to conduct near

Alaskan OCS). And while Plaintiff identifies certain additional energy projects that occurred in

Canadian waters, id. ¶ 96, Defendants conduct similar activity in American waters.

        41.     Even if Plaintiff’s claims were based solely on allegedly deceptive promotion of oil

and gas by Defendants (which they clearly are not, as explained above and below), that would not

prevent removal based on OCSLA. For example, Plaintiff alleges that Defendants “funded dozens

of think tanks, front groups and dark money foundations pushing climate change denial,” Compl. ¶


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     Id.
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     As explained in note 8 above, the Complaint improperly conflates the activities of Defendants
     with the activities of their separately organized predecessors, subsidiaries, and affiliates.


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135, and misled “regulators [and] public officials,” id. ¶ 258. Even if this were true, Plaintiff’s

claims would be removable under OCSLA because, as explained above and below, its theory of

causation includes the increased production of oil and gas leading to increases in greenhouse gas

emissions, which has caused changes to the climate and Plaintiff’s alleged injuries.         Thus,

production of oil and gas—a substantial portion of which occurred on the OCS—is a direct and

necessary link in the alleged causal chain upon which Plaintiff’s claims depend. Moreover,

Defendants’ alleged concealment and misrepresentations would have had the alleged effect of

“evad[ing] regulation” and convincing policy makers to continue production on the OCS and

elsewhere. Id. ¶ 134.

       42.     Jurisdiction is also proper under OCSLA for the separate and independent reason

that the relief sought by Plaintiff is unquestionably “in connection with” an OCS operation because

it would affect Defendants’ OCS extraction and development operations. See, e.g., Compl. ¶ 263

(seeking an order for abatement and injunction); id. at p. 217 (Prayer for Relief seeking damages

that would inevitably affect exploration and production on the OCS). Plaintiff’s desired remedies

would clearly “alter[] the progress of production activities on the OCS” and “threaten[] to impair

the total recovery of the federally-owned minerals from the reservoir or reservoirs underlying the

OCS. Such a dispute was intended by Congress to be within the grant of federal jurisdiction

contained in § 1349.” Amoco Prod. Co., 844 F.2d at 1210.

VI.    THE ACTION IS REMOVABLE UNDER THE FEDERAL OFFICER REMOVAL
       STATUTE

       A.      The Federal Officer Removal Statute Is Broad And Facts Must Be Construed
               In Favor of Removal

       43.     “[D]efendants enjoy much broader removal rights under the federal officer removal

statute than they do under the general removal statute.” Leite v. Crane Co., 749 F.3d 1117, 1122

(9th Cir. 2014). At this stage, a defendant’s allegations “in support of removal” only need to be


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“facially plausible,” and the defendant receives the “benefit of all reasonable inferences from the

facts alleged.” Baker, 962 F.3d at 941, 945.

       44.     In Def. Ass’n of Philadelphia, the Third Circuit made clear that in assessing a motion

to remand a case removed to federal court, the court must “construe the facts in the removal notice

in the light most favorable to the” existence of federal jurisdiction, and the defendant’s theory of

the case is the basis for determining the propriety of removal. 790 F.3d at 471, 474 (“[W]e must

accept the [defendant’s] theory of the case at this juncture.”); see also Baker, 962 F.3d at 947 (“Our

role at this stage of the litigation is to credit only the [defendant’s] theory.”). This conclusion is

based on the Supreme Court’s decision in Acker, in which the Court “credit[ed] the [Defendants’]

theory of the case for purposes of both elements of [the] jurisdictional inquiry and conclude[d] that

the [Defendants] made an adequate threshold showing that the suit is ‘for a[n] act under color of

office.’” Acker, 527 U.S. at 432. Accordingly, this Court must defer to Defendants’ reasonable

theory for federal officer removal—that Defendants acted under the direction and control of federal

officers to carry out essential functions for the federal government and this conduct is related to and

connected with Plaintiff’s asserted claims and alleged injuries.

       B.      Defendants Satisfy All Three Elements of the Federal Officer Removal Statute

       45.     The Federal Officer Removal statute allows removal of an action against “any

officer (or any person acting under that officer) of the United States or of any agency thereof . . .

for or relating to any act under color of such office.” 28 U.S.C. § 1442(a)(1). A party seeking

removal under section 1442 must show that: (1) it is a “person” within the meaning of the statute;

(2) plaintiff’s claims are based upon the defendants’ conduct “acting under” the United States, its

agencies, or its officer; (3) plaintiff’s claims are “for or relating to” an act under color of federal

office; and (4) the party raises a colorable federal defense. Def. Ass’n of Philadelphia, 790 F.3d at




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467. So long as federal officer jurisdiction can be exercised as to one Defendant, jurisdiction over

the entire action is permissible. See 28 U.S.C. § 1367.

       46.     All elements are satisfied here with respect to the Chevron Parties and many other

Defendants, which have engaged in activities pursuant to the directions of federal officers that

“relate to” Plaintiff’s claims.   Among other things, Defendants have performed critical and

necessary functions for the U.S. military in furtherance of national defense policy and have acted

pursuant to government mandates, leases, and contracts under which they assisted the federal

government in achieving federal policy goals, all under federal direction, oversight, and control.

And “in the absence of [these] contract[s] with [] private firm[s], the Government itself would have

had to perform” these essential tasks. Watson, 551 U.S. at 154.

       47.     First, Defendants are “persons” within the meaning of the statute. The Complaint

alleges that Defendants are corporations, Compl. ¶¶ 21–37, which the Third Circuit has held qualify

as “persons” under the statute. See Def. Ass’n of Philadelphia, 790 F.3d at 468, as amended (June

16, 2015).

       48.     Second, Defendants “acted under” a federal officer because the government exerted

extensive “subjection, guidance, or control” over Defendants’ fossil fuel production and because

Defendants engaged in “an effort to assist, or to help carry out, the duties or tasks of the federal

superior.” Watson, 551 U.S. at 143, 152. Both the Supreme Court and the Third Circuit have made

clear that “the statute must be liberally construed” and, in particular, “[t]he words ‘acting under’

are broad.” Id. at 147; Def. Ass’n of Philadelphia, 790 F.3d at 468; see also Papp, 842 F.3d at 812

(“The acting under requirement, like the federal removal statute overall, is to be liberally

construed[.]” (alterations and quotation marks omitted)). Where, as here, a private party has

specifically contracted with “the Government to produce an item that [the Government] needs,”




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such assistance “goes beyond simple compliance with the law” and satisfies the “acting under”

prong. Baker, 962 F.3d at 942. “The words ‘acting under’ describe ‘the triggering relationship

between a private entity and a federal officer.’ The ‘triggering relationship’ encompasses a broad

range of relationships, including, but not limited to, agent-principal, contract or payment, and

employer-employee relationships.” Doe v. UPMC, 2020 WL 5742685 at *3 (W.D. Pa. Sept. 25,

2020) (emphasis added and internal citations omitted).

        49.     Third, Plaintiff’s claims are “for or relating to” acts Defendants performed under

color of office. To meet this prong, there need only be “a ‘connection’ or ‘association’ between the

act in question and the federal office.” Def. Ass’n of Philadelphia, 790 F.3d at 471. Even before

the 2011 Removal Clarification Act, a removing party only was required to “‘demonstrate that the

acts for which they [we]re being sued’ occurred at least in part ‘because of what they were asked

to do by the Government.’” Id. (quoting Isaacson, 517 F.3d at 137) (emphasis added). When

Congress in the Removal Clarification Act of 2011 inserted the words “or relating to” into the

statute, it “broaden[ed] the universe of acts that enable Federal officers to remove to Federal court”

even further. Id., 790 F.3d at 467 (quoting H.R. Rep. 112-17, at 6, 2011 U.S.C.C.A.N. 420, 425).

Congress thus “broadened federal officer removal to actions, not just causally connected, but

alternatively connected or associated, with acts under color of federal office.” Latiolais, 951 F.3d

at 292; see also Baker, 962 F.3d at 943. It is not necessary “that the complained-of conduct itself

was at the behest of a federal agency”; rather, it is “sufficient” if Plaintiff’s “allegations are directed

at the relationship between the [Defendants] and the federal government” for at least some of the

time frame relevant to Plaintiff’s claims. 33 Baker, 962 F.3d at 944–45; accord Def. Ass’n of


33
     See also Williams v. Todd Shipyards Corp., 154 F.3d 416, 1998 WL 526612, at *1, *6 (5th Cir.
     1998) (per curiam) (federal officer removal was proper where the plaintiff was exposed to
     asbestos while working for the defendant, even though the defendant “did both commercial



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Philadelphia, 790 F.3d at 470–71; Papp, 842 F.3d 805. For instance, in Baker, a case similar to

this case, the federal officer removal statute was found to apply when certain products that allegedly

contributed to plaintiff’s purported pollution-based harms had, at times, been “critical wartime

commodities” subject to “price controls,” detailed federal oversight, and mandatory orders “setting

aside” a portion of the defendants’ products for the government’s own use. 962 F.3d at 940–41,

945. Similarly, in Defenders Association of Philadelphia, the “for or relating to” element was

satisfied even though the Federal Community Defender was not directed by the government to

represent defendants in state post-conviction proceedings, the conduct at issue in the suit, because

doing so was “related to” representing defendants in federal habeas proceedings, which was done

under federal direction. 790 F.3d at 471–72.

       C.      Defendants Acted Under Federal Officers

       50.     Defendants “acted under” federal officers because the government exerted extensive

“subjection, guidance, or control” over Defendants’ fossil fuel production and because Defendants

engaged in “an effort to assist, or to help carry out, the duties or tasks of the federal superior.”

Watson, 551 U.S. at 143, 152. Defendants’ efforts to assist and help carry out essential tasks for

the federal government are numerous, to say the least.

       51.     As explained below, Defendants acted under federal officers in three key respects.

First, Defendants supplied the U.S. military and the nation at large with necessary oil and gas

products at the direction and supervision of the federal government. Second, Defendants produced

oil and gas on federal lands under ongoing supervision of federal officers. Third, Defendants

produced and supplied highly specialized oil and gas products for the U.S. military that were critical




   work for private parties” and worked under government contract on ships owned or operated
   by the federal government).


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to wartime efforts. Defendants’ grounds for federal officer removal span decades and cover

multiple federal programs and contracts. At their core, though, each relates back to the United

States government’s vital interest in assuring adequate energy sources for the national defense and

economic well-being. 34

                1.      Defendants Acted Under Federal Officers to Supply the Federal
                        Government and the Nation With Oil and Gas to Ensure National Security
                        and Economic Prosperity

        52.     The association between oil and national security began in the early 1900s, when the

world’s leading navies switched from coal to oil as the preferred energy source for ships. President

Taft recognized the national interest in developing domestic oil sources in his address to Congress

on December 6, 1910: “As not only the largest owner of oil lands, but as a prospective large

consumer of oil by reason of the increasing use of fuel oil by the Navy, the federal government is

directly concerned both in encouraging rational development and at the same time inuring the

longest possible life to the oil supply.” 35 This national security concern led to the September 2,

1912 executive order creating the Naval Petroleum Reserve at Elk Hills, California, which was

intended to preserve oil in the ground for national emergencies.

        53.     The increasing use of tanks, aircraft, and submarines in the later stages of World

War I brought about a further drastic increase in the importance of adequate oil supplies. Oil




34
     The examples provided in this section, and other sections, of this Notice of Removal are meant
     only to provide illustrative examples. These examples are by no means an exhaustive collection
     of the factual bases that support the grounds for removal asserted herein. Defendants expressly
     reserve all rights to include additional support for any and all grounds for removal in any further
     briefing should Plaintiff challenge removal.
35
     Dick Decl., Ex. 23 (Hearings Before Committee on Naval Affairs of the House of
     Representatives on Estimates Submitted by the Secretary of the Navy, 64th Cong. 761 (1915)).



                                                   44
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became the life-blood pumping through the veins of all war machines. 36 As Cabinet Minister

Walter Long expressed in an address to the House of Commons in 1917:

        Oil is probably more important at this moment than anything else. You may have
        men, munitions, and money, but if you do not have oil, which is today the greatest
        motive of power that you use, all your other advantages would be of comparatively
        little value. 37

In 1917, with Germany focusing efforts on blocking Allied tankers, American oil became vital for

war efforts. The Admiralty Director of Stores stated, “without the aid of oil from America our

modern oil-burning fleet cannot keep the sea.” 38 In response to a cry for help, the United States

provided over 80 percent of the Allied requirements for petroleum products and greatly influenced

the outcome of the war. 39

        54.     Following World War I, the United States continued to explore for and develop its

own domestic resources, while other nations pursued policies to maintain access and to develop oil

resources in the Middle East, Venezuela, and Mexico. Although the United States produced a

significant amount of the world’s oil in the interwar years, it also began to push European powers

to open Middle East oil reserves for American companies. 40




36
     Dick Decl., Ex. 24 (Daniel Yergin, The Prize: The Epic Quest for Oil, Money & Power 399
     (1991)), at 170–77; Dick Decl., Ex. 70 (Ian O. Lessor, Resources and Strategy: Vital Materials
     in International Conflict 1600 – The Present (1989)) at 42 (“With the mechanization of armies,
     ‘oil and its products began to rank as among the principal agents by which the Allies would
     conduct war and by which they could win it.’”).
37
     Dick Decl., Ex. 24 (Yergin, The Prize) at 177.
38
     Dick Decl., Ex. 70 (Lessor, Resources and Strategy) at 43.
39
     Dick Decl., Ex. 70 (Lessor, Resources and Strategy) at 43 (“A failure in the supply of petrol
     would compel the immediate paralysis of our armies, and might compel us to a peace
     unfavorable to the Allies…. The safety of the Allied nations is in the balance. If the Allies do
     not wish to lose the war, then, at the moment of the great German offensive, they must not let
     France lack the petrol which is as necessary as blood in the battles of tomorrow” (quoting
     Clemenceau’s letter to President Wilson)).
40
     See generally Dick Decl., Ex. 24 (Yergin, The Prize) at 399.


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       55.     World War II confirmed petroleum’s role as a key American resource and

underscored the government’s interest in maintaining and managing it. See Dick Decl., Ex. 74

(Statement of Ralph K. Davies, Deputy Petroleum Administrator of War, Special Committee

Investigating Petroleum Resources, S. Res. 36 at 4 (Nov. 28, 1945)) (“Our overseas forces required

nearly twice as many tons of oil as arms and armament, ammunition, transportation and

construction equipment, food, clothing, shelter, medical supplies, and all other materials together.

In both essentiality and quantity, oil has become the greatest of all munitions”); Dick Decl., Ex. 71

(National Petroleum Council, A National Oil Policy for the United States at 1 (1949)) (“A prime

weapon of victory in two world wars, [oil] is a bulwark of our national security.”). As the United

States prepared for war in 1941, its need for large quantities of oil and gas to produce high-octane

fuel for planes (“avgas”), oil for ships, lubricants, and synthetic rubber far outstripped the nation’s

current capacity. The government created agencies to control the petroleum industry; it built

refineries; it directed the production of certain petroleum products; and it managed scarce resources

for the war effort. “No one who knows even the slightest bit about what the petroleum industry

contributed to the war can fail to understand that it was, without the slightest doubt, one of the most

effective arms of this Government . . . in bringing about a victory.” Dick Decl., Ex. 74 (Statement

of Senator O’Mahony, Chairman, Special Committee Investigating Petroleum Resources, S. Res.

36, at 1 (Nov. 28, 1945)).

       56.     The court in Exxon Mobil v. United States acknowledged the long history of federal

government control over Defendants’ lawful activities in finding that the government was

responsible for certain environmental response costs under CERCLA: “By controlling the nation’s

crude oil supply, the federal government controlled the nation’s petroleum industry.” 2020 WL

5573048, at *11. The Exxon Mobil court rejected the argument that private refiners “voluntarily




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cooperated” and instead found that they had “no choice” but to comply with the federal officer’s

direction. Id. at *11.

        57.    The controls placed on the production of petroleum during World War II extended

through the Korean War. See Exxon Mobil, 2020 WL 5573048, at *27 (detailing the government’s

use of the Defense Production Act of 1950 “to force” the petroleum industry to “increase [its]

production of wartime . . . petroleum products”). The United States government also authorized

the full development of its own energy resources by directing large-scale oil production at the Naval

Petroleum Reserve at Elk Hills, which was operated by Chevron Corp.’s predecessor Standard Oil

of California under contract with the U.S. Navy.

        58.    During the Cold War, the U.S. military continued to purchase and consume large

amounts of avgas and jet fuel, and participated in the development of innovative military fuels. For

example, Shell Oil Company developed and produced specialized high-altitude fuels for the federal

government’s U-2 and SR-71 Blackbird overhead reconnaissance programs.

        59.    During the 1960s, U.S. oil consumption increased 51%, compared to only 36%

during the previous decade. 41 Demand continued to climb into the early 1970s, and domestic supply

failed to keep pace, so the United States soon found itself facing a precarious shortage of oil, which

in turn, threatened domestic stability. The United States increasingly turned to foreign countries,

particularly in the Middle East, for oil—indeed, the amount of oil that the United States imported

doubled from 3.2 million barrels per day in 1970 to 6.2 million barrels per day in 1973. 42 By April

1973, President Nixon was sounding the alarm to Congress:

               As America has become more prosperous and more heavily
               industrialized, our demands for energy have soared. Today, with 6
               per cent of the world’s population, we consume almost a third of all

41
     Dick Decl., Ex. 25 (Jay Hakes, A Declaration of Energy Independence 17 (2008)).
42
     Dick Decl., Ex. 24 (Yergin, The Prize at 591).


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               the energy used in the world. Our energy demands have grown so
               rapidly that they now outstrip our available supplies, and at our
               present rate of growth, our energy needs a dozen years from now
               will be nearly double what they were in 1970. . . . If recent trends
               continue unchecked, we could face a genuine energy crisis. But that
               crisis can and should be averted, for we have the capacity and the
               resources to meet our energy needs if only we take the proper steps
               —and take them now. 43

        60.    One of Nixon’s immediate suggestions to avert a national energy crisis was to

dramatically increase production on the OCS:

               Approximately half of the oil and gas resources in this country are
               located on public lands, primarily on the Outer Continental Shelf
               [OCS]. The speed at which we can increase our domestic energy
               production will depend in large measure on how rapidly these
               resources can be developed. I am therefore directing the Secretary
               of the Interior to take steps which would triple the annual acreage
               leased on the Outer Continental Shelf by 1979, beginning with
               expanded sales in 1974 in the Gulf of Mexico and including areas
               beyond 200 meters in depth under conditions consistent with my
               oceans policy statement of May, 1970. 44

        61.    Before the nation’s precarious energy balance could stabilize, events abroad would

exacerbate the crisis. The 1973 Arab Oil Embargo “led to nationwide shortages of petroleum, a

$60 billion drop in GNP, [and] more rapid inflation,” among other harms. 45 The nation’s energy

woes continued to mount in the mid-late 1970s, with a natural gas shortage caused by an abnormally

cold winter in 1976–77, a national coal strike in 1978, and a substantial reduction in crude oil

supplies following the Iranian Revolution of 1979. 46 Yet the nation’s dependency on imported oil


43
     Excerpts      From     Nixon     Message,     N.Y.      Times,    Apr.    19,     1973,
     https://www.nytimes.com/1973/04/19/archives/excerpts-from-nixon-message-developing-our-
     domestic-energy.html.
44
     Id.
45
     U.S.     Dep’t    of    Energy,   National    Energy     Plan   II,    at  1    (1979),
     https://books.google.com/books?id=VR7PpPbRKFgC&printsec=frontcover#v=onepage&q&f
     =false.
46
     Id.



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continued to increase. By January and February of 1977, the U.S. was importing up to 9.6 billion

barrels per day—fully half of the nation’s total domestic oil consumption.47 The growing influence

of the Organization of Petroleum Exporting Countries (“OPEC”), the quadrupling of oil prices

during the energy crises of the 1970s, the staggering loss in GNP, and the now-infamous gas lines,

price controls, and rationing that accompanied these energy crises spurred the U.S. government to

take action over the ensuing decades to quickly and dramatically increase domestic oil production.

        62.     In 1973, President Nixon established the goal of energy independence for the U.S.

by 1980. President Nixon dubbed this plan “Project Independence 1980” and, among other things,

ordered the Secretary of the Interior “to increase the acreage leased on the [OCS] to 10 million

acres beginning in 1975, more than tripling what had originally been planned.” 48 Nixon explained:

“Let me conclude by restating our overall objective. It can be summed up in one word that best

characterizes this Nation and its essential nature. That word is ‘independence.’ From its beginning

200 years ago, throughout its history, America has made great sacrifices of blood and also of

treasure to achieve and maintain its independence. In the last third of this century, our independence

will depend on maintaining and achieving self-sufficiency in energy. . . . What I have called Project

Independence 1980 is a series of plans and goals set to [e]nsure that by the end of this decade,

Americans will not have to rely on any source of energy beyond our own.” 49


47
     Id. at VII.
48
     Annual Message to the Congress on the State of the Union, 1 Pub. Papers 56, 94 (Jan. 23, 1974),
     https://quod.lib.umich.edu/p/ppotpus/4731948.1974.001/134?rgn=full+text;view=image.
49
     Address to the Nation about National Energy Policy, 1 Pub. Papers 973, 976 (Nov. 25, 1973),
     https://quod.lib.umich.edu/p/ppotpus/4731942.1973.001/1030?rgn=full+text;view=image.
     After the Arab Oil Embargo, there was immense public pressure for Washington to “do
     something”— to return prices to what they had been before the embargo and, at the same time,
     ensure adequate domestic supplies. See also Meg Jacobs, America’s Never-Ending Oil
     Consumption,                  Atlantic            (May               15,                 2016),
     https://www.theatlantic.com/politics/archive/2016/05/american-oil-consumption/482532/
     (hereafter, “Atlantic article”).



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        63.     Importantly, the federal government has promoted the production of oil and gas for

decades to meet this goal, even as the public and the world increasingly recognized and understood

the potential link between greenhouse gas emissions and global climate change. 50 Although the

nation did not meet President Nixon’s goal of energy independence by 1980, it did so in 2019:

Total U.S. energy exports were greater than total energy imports in that year, and the United States

became a net total energy exporter for the first time since 1952. 51

        64.     The United States Department of Defense is the United States’ single largest

consumer of energy, and one of the world’s largest users of petroleum fuel. In fiscal year 2019

alone, the Department of Defense purchased 94.2 million barrels of fuel products in compliance

with military specifications, totaling $12.1 billion in procurement actions. 52

        65.     The federal government continues the active promotion of domestic production of

fossil fuels through a variety of lease programs, grants, loan guarantees, tax provisions, and

contracts. For example, the Office of Fossil Energy states that the government seeks American




50
     The federal government took a number of other actions to promote the domestic production of
     oil and gas to protect important state actions. These include the Energy Petroleum Allocation
     Act of 1973, Pub L. No. 93-159, 87 Stat. 627 (1973) and the Federal Energy Administration
     (“FEA”) Act of 1974, Pub. L. No. 93-275, 88 Stat. 96 (1974). The report published pursuant to
     the FEA stated, “Prospects for large, new discoveries of onshore oil and gas deposits in the
     lower 48 States are small. For this reason, it is proposed that leasing of the Federal OCS be
     accelerated, to include frontier areas of Alaska, the Atlantic and Pacific coasts, and the Gulf of
     Mexico.” Dick Decl., Ex. 10 (H.R. Doc. No. 93-406, at 1012). The report further noted that
     “there would be strategic foreign policy and national security advantages in having energy
     sources which are not susceptible to interruption by a foreign power.” Id. More recent
     administrations have continued to promote the development of oil and gas on the OCS through,
     e.g., the Energy Policy Act of 2005 which, among other things, sought “to promote oil and
     natural gas production from the [OCS] and onshore Federal lands under lease by providing
     royalty incentives to use enhanced recovery techniques.” Pub. L. No. 109-58, § 357(a)(2)(B),
     119 Stat. 594 (2005).
51
     U.S. Energy Info. Admin., U.S. energy facts explained (Apr. 27, 2020),
     https://www.eia.gov/energyexplained/us-energy-facts/imports-and-exports.php.
52
     Def. Logistics Agency Fact Book, supra note 12.



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energy dominance, which “promotes U.S. domestic homegrown energy development to achieve

energy security and jobs in energy and technology around the world.” 53

        66.    For decades, Defendants have acted under the direction of federal officers and have

assisted them in securing domestic energy independence and meeting the requirements of the U.S.

military and the national economy. Under these circumstances, 28 U.S.C. § 1442(a)(1) affords

Defendants a right to insist that any claims based on this “special relationship” may be heard in

federal court. Baker, 962 F.3d at 941–42 (holding that “[t]he crux of the [‘acting under’] inquiry

. . . is whether there was a special relationship between the defendant and the federal government,”

which exists where an entity “provide[s] the federal government with materials that it need[s]”—

particularly during wartime).

               2.     Defendants Acted Under Federal Officers by Exploring For and Producing
                      Oil and Gas on Federal Lands at the Government’s Direction to Implement
                      Federal Policy Mandates and Objectives

        67.    Defendants have assisted the government to develop the Nation’s fossil fuel

resources in furtherance of the government’s national policy goals by exploring for and producing

oil, gas, and other minerals on federal lands, under the direction and control of the federal

government in several ways. See, e.g., Dick Decl., Exs. 4–8. For example: (1) Defendants

produced oil and gas on federally owned lands pursuant to leases governed by OCSLA and the

Mineral Leasing Act of 1920, 30 U.S.C. § 181 et seq. (“MLA”); (2) Defendant Chevron Corp.

operated the Elk Hills Naval National Petroleum Reserve for the U.S. Navy for 31 years; and (3)

Defendants supplied oil directly to and managed the Strategic Petroleum Reserve.




53
     U.S. Dep’t of Energy, Office of Fossil Energy, 2018-2022 Strategic Vision,
     https://www.energy.gov/sites/prod/files/2019/12/f69/FE%20Strategic%20Vision.pdf.



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        68.     OCSLA and MLA Leases. As noted above, Congress first passed OCSLA in 1953,

providing federal control over the OCS to assure the “expeditious and orderly development” of

what it recognized to be a “vital national resource” in “a manner which is consistent with . . .

national needs.” 54 In 1978, Congress amended OCSLA to further encourage the leasing of the OCS

to meet national energy and security needs created by the oil embargos beginning in 1973.

Congress’s express purpose was to foster “expedited exploration and development of the Outer

Continental Shelf in order to achieve national economic and energy policy goals, assure national

security, reduce dependence on foreign sources, and maintain a favorable balance of payments,”

including by “develop[ing] oil and natural gas resources in the Outer Continental Shelf in a manner

which is consistent with the need . . . to make such resources available to meet the Nation’s energy

needs as rapidly as possible.” 55

        69.     During the debate over the 1978 amendments, Senator Fritz Hollings submitted a

proposal suggesting that the federal government create a national oil company to facilitate the

development of oil and gas on the OCS: “My bill authorizes and directs the Secretary of the Interior

to initiate a major program of offshore oil exploration—including deep drilling—in frontier areas

of the Outer Continental Shelf . . . . The Federal Government can conduct this program by using

the same drilling and exploration firms that are usually hired by oil companies. The taxpayers of

the United States—rather than the oil companies—would be the clients for these drilling companies,




54
     43 U.S.C. § 1332(3).
55
     43 U.S.C. § 1802 (1) & (2); see Watt, 668 F.2d 1290, 1296 (D.C. Cir. 1981); see also S. Rep.
     No. 93-1140, at 4937 (1974) (“During the next decade, development of conventional oil and
     gas from the United States Outer Continental Shelf can be expected (a) to provide the largest
     single source of increased domestic energy, (b) to supply this energy at a lower average cost to
     the U.S. economy than any alternative and (c) to supply it with substantially less harm to the
     environment than almost any other source.”).



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and the information received would pass directly into the public domain.” 56 The proposal to create

a government agency to develop the OCS was ultimately rejected—instead, the government

decided to contract with private energy companies to perform these essential tasks on its behalf

with expanded oversight and control by the government.

        70.      Around this time, it was necessary to spur production of oil and gas on the OCS

because alternatives were infeasible. In the lead-up to the 1978 amendments, the Ad Hoc Select

Committee on the OCS published a report stating that “alternative sources of energy will not be

commercially practical for years to come,” and thus, “a healthy economy remains dependent on

supplies of oil and gas.” 57 The Committee concluded that “[d]evelopment of our OCS resources

will afford us needed time—as much as a generation—within which to develop alternative sources

of energy.” 58

        71.      The 1978 OCSLA amendments greatly increased the Secretary of the Interior’s

control over the OCS leasing program to align production with national goals. 59 The amendments

instructed the Secretary of the Interior to create an oil and gas leasing program on a five-year review

cycle that provides as precisely as possible the size, timing, and location of leasing activities “which

[the Secretary] determines will best meet national energy needs for the five-year period following

its approval or reapproval.” 60 Since 1977, several federal statutes have further expanded the OCS

leasing program to promote the development of national energy supplies, including reductions in


56
     See Dick Decl., Ex. 9 (121 Cong. Rec. S903-11 (1975)).
57
     Dick Decl., Ex. 54 (H.R. Rep. No. 94-1084, at 3438 (1976)).
58
     Dick Decl., Ex. 26 (H.R. Rep. No. 95-590, at 1460 (1977)).
59
     See id. at 173 (recognizing that the amendments provided the federal government with the
     power and oversight capability to “expedite the systematic development of the OCS, while
     protecting our marine and coastal environment”).
60
     43 U.S.C. § 1344(a)-(e).



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royalty payments to increase participation by Defendants to explore and develop deep water

resources. 61

        72.       In the 1990s, the Clinton administration amended OCSLA to permit the Secretary

of the Interior to grant certain royalty relief payments aimed at “reduc[ing] America’s dependence

on unreliable sources of imported oil by helping unlock an estimated 15 billion barrels of oil in the

central and western Gulf of Mexico” for energy companies’ exploration and production.

        73.       As a major federal action, authorization of each five-year OCS leasing program is

subject to environmental review under the National Environmental Policy Act, requiring the

preparation of an Environmental Impact Statement (“EIS”) to support the Record of Decision

approving the scope of the program. The EIS approving each five-year leasing program is massive,

and includes details regarding the national need for oil and gas and how the leasing program meets

those needs. 62

        74.       These environmental analyses confirm that the OCS leasing program exists to fulfill

Congress’s mandate to manage and encourage production of oil and natural gas from the OCS in

order to further the national interest, not merely the commercial interests of the lessees. In 2009,

for example, oil produced from the OCS accounted for 30% of all domestic production. The U.S.

treasury averages more than $10 billion per year from OCS bonuses, rental payments, and royalties.

In evaluating alternatives that could replace OCS leases or the required “no action” alternative (i.e.,

no OCS leases), the EIS concludes that such alternatives would not meet the federal government’s




61
     See, e.g., Outer Continental Shelf Deep Water Royalty Relief Act, Pub. L. No. 104-58, 109 Stat.
     557 (1995); Energy Policy Act of 2005, Pub. L. No. 109-58, 119 Stat. 594 (2005); Gulf of
     Mexico Energy Security Act of 2006, Pub. L. No. 109-432, 120 Stat. 2922 (2006).
62
     See, e.g., 2012-2017 EIS.



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purpose and need because any reduction in production would be replaced mostly by foreign imports

of oil and gas, frustrating congressional intent. 63

        75.     The Record of Decision approving the 2017-2022 OCS Leasing Programs

recognizes that the Secretary of Interior must develop schedules of OCS oil and gas leasing that

“best meet national energy needs for the 5-year period following its approval or re-approval.”

Although the no-lease alternative was identified as the most environmentally preferred alternative,

it was rejected because it did “not meet the purpose and need for the action . . . as it leaves a void

in planning for national energy needs.” 64

        76.     Companies that agree to the OCS leases, including Defendants, must develop the

OCS areas identified for exploration and development. The leases provide that recipients must

“develop[] . . . the leased area” diligently, including carrying out exploration, development, and

production activities approved by Interior Department officials for the express purpose of

“maximiz[ing] the ultimate recovery of hydrocarbons from the leased area.” 65 The Bureau of Ocean

Energy Management (“BOEM”) maintains oversight over the lessees as they operate on federal

land. Prior to exploration, development, or production, lessees must prepare and comply with

detailed plans that are subject to comment and amendment by BOEM, state reviewer, or other

agencies. 66


63
     See id. at 1-4, 4-606, 4-643 (projecting changes in oil markets if OCS production was halted).
64
     U.S. Dep’t of Interior, Bureau of Ocean Energy Mgmt., Record of Decision and Approval of
     the 2017-2022 Outer Continental Shelf Oil and Gas Leasing Program (Jan. 17, 2017),
     https://www.boem.gov/sites/default/files/oil-and-gas-energy-program/Leasing/Five-Year-
     Program/2017-2022/2017-2022-Record-of-Decision.pdf.
65
     See Dick Decl., Ex. 5 § 10.
66
     See generally Adam Vann, Cong. Rsch. Serv., RL33404, Offshore Oil and Gas Development:
     Legal Framework (2018), RL33404, Offshore Oil and Gas Development: Legal Framework
     (2018), https://fas.org/sgp/crs/misc/RL33404.pdf (describing the multi-step process for
     approval of development plans and oversight procedures).



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        77.     Under these requirements, OCS lessees are subject to exacting oversight by BOEM

and Bureau of Safety and Environmental Enforcement (“BSEE”) over each stage in developing the

leasehold property. 67 At all stages—from exploration, to preparation for developing and producing

oil and gas reserves that have been discovered, to actual drilling and production—OCS lessees must

submit exhaustive operational plans demonstrating how they will comply with the complex and

detailed technical requirements imposed by these agencies. The relevant agency must then find,

complete, and approve these plans before any such work can begin. BSEE then carefully monitors

compliance with the approved plan and must approve any significant modification thereof.

        78.     The federal government supervises and controls the oil and gas development and

production activities of its lessees, like Defendants, in myriad and extensive ways. Many of these

requirements and reserved authorities are for the purpose of assisting the federal government in

furthering public purposes.

        79.     OCS leases obligate lessees like Defendants to “develop[] . . . the leased area”

diligently, including carrying out exploration, development, and production activities approved by

Interior Department officials for the express purpose of “maximiz[ing] the ultimate recovery of

hydrocarbons from the leased area.” 68 Indeed, for decades, Defendants’ OCSLA leases have

instructed that “[t]he Lessee shall comply with all applicable regulations, orders, written

instructions, and the terms and conditions set forth in this lease” and that “[a]fter due notice in

writing, the Lessee shall conduct such OCS mining activities at such rates as the Lessor may require



67
     E.g., 30 C.F.R. §§ 250.101-115, §§ 250.130-146, §§ 250.168-295, §§ 250.400-463 (BSEE) &
     §§ 550.101-147 (BOEM).
68
     Dick Decl., Ex. 5 § 10; see 30 C.F.R. § 250.1150 (“[Lessees] must produce wells and reservoirs
     at rates that provide for economic development while maximizing ultimate recovery without
     adversely affecting correlative rights.”).



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in order that the Leased Area or any part thereof may be properly and timely developed and

produced in accordance with sound operating principles.” 69 All drilling must take place “in

accordance with an approved exploration plan (EP), development and production plan (DPP) or

development operations coordination document (DOCD) [as well as] approval conditions”—all of

which must undergo extensive review and approval by federal authorities, and all of which further

must conform to “diligence” and “sound conservation practices.” 70

        80.     The federal government retains the right to control a lessee’s rate of production on

the OCS from its lease. 71 In particular, BSEE, within the Interior Department, may set the

Maximum Efficient Rate (“MER”) for production from a reservoir—that is, a cap on the production

rate from all of the wells producing from a reservoir. 72 This requirement has existed since 1974,73

and the government adopted this “significant burden” to control production from its leases for the

purpose of responding to “a period of oil shortages and energy crises.” 74 Capping production levels

to serve the public policy of ensuring sufficient petroleum reserves for the country is not a feature

of a typical commercial lease, and thus is another example of how the OCS leases are not merely

commercial transactions, but rather are used to further federal objectives. For onshore operations,

the Interior Department’s Bureau of Land Management (“BLM”) leases similarly provide that the




69
     Dick Decl., Ex. 5 § 10 (emphases added).
70
     Dick Decl., Ex. 5 §§ 9, 10; see Dick Decl., Ex. 7 (MLA leases grant rights subject to terms and
     conditions of the lease, federal laws, and the Interior Secretary’s orders).
71
     See Dick Decl., Ex. 5 § 10; 43 U.S.C. § 1334(g) (The lessee “shall produce any oil or gas, or
     both, . . . at rates consistent with any rule or order issued by the President in accordance with
     any provision of law.”).
72
     30 C.F.R. § 250.1159.
73
     See 39 Fed. Reg. 15885 (May 6, 1974) (approving OCS Order No. 11).
74
     75 Fed. Reg. 20271, 20272 (Apr. 19, 2010).



                                                  57
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United States “reserves the right to specify rates of development and production in the public

interest.” 75

        81.     The federal government also maintains certain controls over the disposition of oil,

gas, and other minerals extracted from federally owned property. For example, the government

conditions OCS leases with a right of first refusal to purchase all minerals “[i]n time of war or when

the President of the United States shall so prescribe.” 76 The government also reserves the right to

purchase up to 16⅔% of lease production, less any royalty share taken in-kind. 77 The Secretary of

the Interior may direct a lessee to deliver any reserved production to the General Services

Administration (government civilian operations), the Department of Defense (military operations),

or the Department of Energy (e.g., Strategic Petroleum Reserve). 78

        82.     For onshore leases, the Secretary may take any royalty owed on oil and gas

production in-kind and “retain the same for the use of the United States.” 79 BLM leases also provide

that “Lessor reserves the right to ensure that production is sold at reasonable prices and to prevent

monopoly.” 80 In addition, the Secretary may compel a lessee to offer a percentage of lease

production “to small or independent refiners” (e.g., in shortage situations where independent

refiners may not have access to production to the same extent as integrated producers/refiners). 81




75
     Dick Decl., Ex. 7 § 4 (emphasis added).
76
     Dick Decl., Ex. 4 § 14; Dick Decl., Ex. 5 § 15(d); see 43 U.S.C. § 1341(b).
77
     43 U.S.C. § 1353(a)(2).
78
     43 U.S.C. § 1353(a)(3).
79
     30 U.S.C. § 192.
80
     Dick Decl., Ex. 5 § 10.
81
     Dick Decl., Ex. 5 § 15(c); see 43 U.S.C. § 1337(b)(7) (OCS leases); 30 U.S.C. § 192 (onshore
     leases).



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        83.     The federal government also uniquely reserves the authority to determine the value

of production for purposes of determining how much royalty a lessee owes. 82 The standard BLM

lease for onshore minerals in effect for decades has a similar provision. 83 A typical commercial

private (i.e., fee) lease would never reserve similar unilateral authority to one contracting party to

control a material economic term of the lease contract; this would be akin to an apartment rental

lease providing that the landlord has sole discretion to specify the rent owed.

        84.     Through federal leases, the government balances economic development with

environmental considerations. The Secretary may reduce or eliminate the United States’ royalty

share, and thus provide the lessee an additional economic incentive to produce oil and gas. 84 The

Secretary may also suspend production from an OCS lease “if there is a threat of serious,

irreparable, or immediate harm or damage to life (including fish and other aquatic life), to property,

to any mineral deposits (in areas leased or not leased), or to the marine, coastal, or human

environment.” 85 For onshore federal leases, the Secretary may similarly direct or grant suspensions

of operations. 86 The standard BLM onshore lease also requires the lessee to cease any operations




82
     See Dick Decl., Ex. 5 § 6(b) (“The value of production for purposes of computing royalty shall
     be the reasonable value of the production as determined by the Lessor.”) (emphasis added).
83
     See Dick Decl., Ex. 7 § 2 (“Lessor reserves the right . . . to establish reasonable minimum values
     on products . . . .”).
84
     43 U.S.C. § 1337(a)(3) (“The Secretary may, in order to promote increased production on the
     lease area, through direct, secondary, or tertiary recovery means, reduce or eliminate any royalty
     or net profit share set forth in the lease for such area.”) (OCS leases); 43 C.F.R. § 3103.4-1(a)
     (“[T]he Secretary . . . may waive, suspend or reduce . . . the royalty on an entire leasehold, or
     any portion thereof.”) (MLA leases).
85
     43 U.S.C. § 1334(a)(1); see 43 U.S.C. § 1334(a)(2) (authority to cancel any lease for similar
     reasons); Dick Decl., Ex. 5 § 13 (offshore lease provision governing suspension or
     cancellation).
86
     See 30 U.S.C. § 226(i); 43 C.F.R. § 3103.4-4.



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that would result in the destruction of threatened or endangered species or objects of historic or

scientific interest. 87

        85.      Through federal leases, the government retains supervision and control over the use

of federal property. The mineral leasing laws, including OCSLA and the MLA, are an exercise of

Congress’s power under the Property Clause of the Constitution. U.S. Const. art. IV, § 3, cl. 2

(“The Congress shall have Power to dispose of and make all needful Rules and Regulations

respecting the Territory or other Property belonging to the United States.”). The government issues

onshore and offshore leases for a primary term of five to 10 years, with a habendum clause under

which the lessee retains the lease for so long after the primary term as the lease produces oil and

gas in paying quantities. 30 U.S.C. § 226(e) (onshore); 43 U.S.C. § 1337(b)(2) (OCS); Dick Decl.,

Ex. 5 § 3. But when the lease terminates, the property interest reverts to the United States; the

lessee cannot acquire fee title interest. Nor may a federal lessee assign its lease to another person

without express government approval. 30 U.S.C. § 187; 43 C.F.R. § 3106 (onshore leases); 30

C.F.R. §§ 556.701(a), 556.800 (OCS leases).

        86.      The United States controls federal mineral lessees like Defendants in other ways.

An OCS lessee does not have an absolute right to develop and produce; rather, it has only an

exclusive right to seek approval from the United States to develop and produce under the lease. See

Sec’y of the Interior v. California, 464 U.S. 312, 337–39 (1984); Vill. of False Pass v. Clark, 733

F.2d 605, 614–16 (9th Cir. 1984). The MLA limits the onshore federal oil and gas lease acreage

that may be held by any one person, enforceable by an action in federal court. 30 U.S.C. § 184(d),

(h). The government has the right to obtain “prompt access” to facilities and records. See Dick

Decl., Ex. 4 § 11, Dick Decl., Ex. 5 § 12; 30 U.S.C. § 1713. And the United States also reserves


87
     Dick Decl., Ex. 7 § 6.


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the right to all helium produced from federal leases, which the lessee produces solely for the

government’s benefit. See 43 U.S.C. § 1341(f); Dick Decl., Ex. 5 § 6(a) (OCS leases); 30 U.S.C.

§ 181 (onshore leases).

        87.     As the above statutory and lease provisions demonstrate, a federal oil and gas lease

is a contract to develop federal minerals on the government’s behalf, and the government retains

extensive supervision and control over the lessees for many purposes, including in some cases

solely to further public policy or achieve purely governmental objectives. These are activities that

the federal government would itself have to undertake unless the Defendants did it for the

government through the obligations of federal leases on federal lands. Under Watson, this is not

run of the mill regulation; rather it is the kind of “special relationship” that supports federal officer

removal. Watson, 551 U.S. at 157.

        88.     In 2019, oil production by private companies, including some Defendants, from

federal offshore and onshore leases managed by the Interior Department was nearly one billion

barrels. Historically, annual oil and gas production from federal leases has accounted for as much

as 36% of domestic oil production and 25% of domestic natural gas production. 88 The federal

government has reaped enormous financial benefits from the ongoing policy decision to contract

for the production of oil and gas from federal lands in the form of royalty regimes that have resulted

in billions of dollars of revenue to the federal government. Moreover, the activities of lessees

(including Defendants) pursuant to these leases further Congress’s directives to the Executive

Branch to facilitate and manage the production of oil and natural gas from the OCS in order to

achieve the federal government’s policy objectives. If not for these activities of lessees under the



88
     See Cong. Rsch. Serv., R42432, U.S. Crude Oil and Natural Gas Production in Federal and
     Nonfederal          Areas        3,      5       (updated   Oct.       23,       2018),
     https://crsreports.congress.gov/product/pdf/R/R42432.


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direction and control of federal resource-management agencies, the federal government would have

needed to perform those activities itself in order to implement Congress’s directives regarding

production of oil and gas from the OCS.

       89.     The federal government’s control over oil and gas production is thus completely

different than the government’s regulation of tobacco products, which the Supreme Court addressed

in Watson. There, the Court recognized that a private party does not come within the scope of the

federal officer removal statute “simply [by] complying with the law.” Watson, 551 U.S. at 152.

Accordingly, “a highly regulated firm cannot find a statutory basis for removal in the fact of federal

regulation alone,” even “if the regulation is highly detailed and even if the private firm’s activities

are highly supervised and monitored.” Id. at 153. This is because mere regulation does not indicate

that the federal government would undertake the regulated activity if private actors did not—the

government regulates tobacco products because of their health risks, not because tobacco

production is a federal imperative. Plaintiff’s claims, by contrast, seek to punish Defendants for

their efforts to effectuate national energy policy and support the national defense, activities

conducted under the close supervision of the federal government. Plaintiff’s claims thus implicate

precisely the type “special relationship” that supports federal officer removal. Id. at 157.

       90.     Naval Petroleum Reserve at Elk Hills. At the turn of the 20th century, government

lands in the West were being rapidly turned over to private owners. At the same time, there was a

growing realization of the importance of oil for the Navy, which was then changing its ships from

coal- to oil-burning. In response to arguments that the government should preserve oil for Naval

purposes, President Taft withdrew large portions of land in California and Wyoming from eligibility

for private ownership, and in 1912 set aside Naval Petroleum Reserve No. 1 at Elk Hills by an

Executive Order. The establishment of the Reserve, however, was expressly made subject to pre-




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existing private ownership.       There are approximately 46,000 acres within the Reserve:

approximately one-fifth was owned by Standard Oil of California (“Standard Oil”) (Chevron’s

predecessor) and the remainder by the Navy. The Standard Oil lands are not in one block, but are

checker-boarded throughout the Reserve. 89

        91.     “The Elk Hills Naval Petroleum Reserve (NPR-1) . . . was originally established in

1912 to provide a source of liquid fuels for the armed forces during national emergencies.” 90

“Congressional intent was to retain the oil [at the Reserve] in the ground except when it was needed

for national defense or to avoid damage to the field and the irretrievable loss of oil.”91 In other

words, Congress’s policy objective was to take those steps necessary to maintain and preserve the

fields exclusively for federal defense purposes. Standard Oil and the Navy eventually developed

an understanding that neither would drill additional wells or produce oil inside the Reserve without

providing six months’ notice to the other. 92 In doing so, Standard Oil agreed to maintain the

Reserve for national security purposes. The maintenance of the Reserve itself under the direction

of the federal government in furtherance of federal policy gives rise to federal officer removal.93

Standard Oil’s efforts paid off, as the Reserve was ready to produce oil for the U.S. war efforts in

World War II.




89
     The history of Elk Hills is recounted in United States v. Standard Oil Co. of Cal., 545 F.2d 624
     (9th Cir. 1976).
90
     U.S. Gov’t Accountability Off., GAO/RCED-87-75FS, Naval Petroleum Reserves: Oil Sales
     Procedures and Prices at Elk Hills, April Through December 1986, at 3 (1987) (“GAO Fact
     Sheet”), http://www.gao.gov/assets/90/87497.pdf.
91
     U.S. Gov’t Accountability Off., Naval Petroleum Reserve No. 1: Efforts to Sell the Reserve,
     GAO/RCED-88-198 at 15 (July 1988) (“GAO Report”).
92
     See Standard Oil Co. of Cal., 545 F.2d 624, 627 (9th Cir. 1976).
93
     See generally GAO Report.



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        92.     World War II marked a new phase. “Shortly after the entrance of the United States

into World War II, it became apparent that additional crude oil production would be required on

the West Coast.”94 Standard Oil and the Navy began negotiations for production on the Reserve.

On March 1, 1942, President Roosevelt “stated that if satisfactory arrangements could not be

promptly concluded with [Standard Oil], the Secretary of the Navy was authorized to start

condemnation proceedings through the Department of Justice to acquire the property” for the

federal government. 95

        93.     The Navy and Standard Oil entered into a Unit Plan Contract (“UPC”) that President

Roosevelt approved on June 28, 1944. The UPC “governed the joint operation and production of

the oil and gas deposits . . . of the Elk Hills Reserve.” Chevron U.S.A., Inc. v. United States, 116

Fed. Cl. 202, 205 (Fed. Cl. 2014). It provided that the Elk Hills Reserve “was to be operated as a

single property (a unit) and granted the Navy, subject to the provisions of the contract, absolute

control over (1) the time and rate of exploration and development and (2) the quantity and rate of

production.” 96 The UPC shows the federal government’s “full and absolute” power and “complete

control” over fossil fuel exploration, production, and sales at the reserve. See Dick Decl., Ex. 68

(Statement of Gerald D. Morgan, Special Counsel to the Committee on Naval Affairs, Hearing on

Amendment Proposed to Unit Plan Contract Governing Development and Operation of Naval

Reserve Petroleum No. 1 (Elk Hills), U.S. House of Representatives, Committee on Naval Affairs,


94
     Id. at 14.
95
     Id.
96
     Id. at 15; Dick Decl., Ex. 67 (Statement of Robert G. Rothwell, Deputy Director, Logistics and
     Communication Division, General Accounting Office, Hearing Before the Armed Services
     Investigating Subcommittee on Naval Petroleum Reserves, H. Res. 185, at 6 (Oct. 17, 1973))
     (“The [unit plan] contract provides for: (1) The orderly and efficient development of the reserve
     to furnish oil for wartime needs; and (2) the conservation of the oil field until needed. The oil
     company…has agreed that the Navy is to have control over the exploration, prospecting,
     development, production, and operation of the reserve.”).


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at 3737–38 (Sept. 9, 1946)) (“It must be recognized that although Navy and Standard entered into

a unit-plan contract . . . the interests of each are conflicting. It is to Navy’s interest to conserve as

much oil as possible in the ground . . . [and] it is Standard’s interests to produce its oil as rapidly as

is consistent with maintaining a balance between economical production and greatest ultimate

recovery. The conflict of interest between the Navy and Standard was decided in Navy’s favor

upon the execution of the unit-plan contract, for absolute control over the time, manner, and rate of

production is vested in the Secretary of the Navy subject to the control of Congress.”).

        94.     The plan was designed to “[a]fford [the] Navy a means of acquiring complete control

over the development of the entire Reserve and the production of oil therefrom.” 97 See Dick Decl.,

Ex. 68 (Statements of Commodore W.G. Greenman, U.S. Navy, Director, Naval Petroleum

Reserves, Hearing Records at 3693–94) (“[T]he agreement between the Navy and Standard . . .

placed the control of production from both Standard and Navy lands under the absolute control of

the Secretary of the Navy.”)

        95.     “[The] Navy shall, subject to the provisions hereof, have the exclusive control over

the exploration, prospecting development and operation of the Reserve.” 98

        96.     “[The] Navy shall have full and absolute power to determine from time to time the

rate of prospecting and development on, and the quantity and rate of production from, the Reserve,

and may from time to time shut in wells on the Reserve if it so desires.” 99

        97.     “[A]ll exploration, prospecting, development, and producing operations on the

Reserve” occurred “under the supervision and direction of an Operating Committee” tasked with



97
     Dick Decl., Ex. 6, Recitals § 6(d)(i) (emphases added).
98
     Id. § 3(a) (emphasis added).
99
     Id. § 4(a) (emphasis added).



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“supervis[ing]” operations and “requir[ing] the use of sound oil field engineering practices designed

to achieve the maximum economic recovery of oil from the reserve.” 100             In the event of

disagreement, “such matter shall be referred to the Secretary of the Navy for determination; and his

decision in each such instance shall be final and binding upon Navy and Standard.” 101

          98.     The Navy retained ultimate and even “absolute” discretion to suspend production,

decrease the minimum amount of production per day that Standard was entitled to receive, or

increase the rate of production. 102

          99.     Standard (and later Chevron) could participate in an Operating Committee, which

was responsible for production decisions such as the number, design, and location of wells and

facilities. Both the Navy and Standard had an equal vote on the Committee, but in the event of a

tie the Secretary of Navy held the tiebreaker. 103

          100.    The “Navy chose to operate the reserve through a contractor rather than with its

own personnel” and opened the contract to competitive bidding. 104 Standard Oil “bid for the

operator’s contract in 1944, was awarded the contract, and continued to operate NPR-1 [for the

Navy] for the next 31 years.” 105 Although the Navy could have developed the resources on the

Reserve itself, it decided to use a third-party contractor to maximize production as quickly as

possible. This is reflected in government documents explaining the decision to hire Standard to

operate the Reserve, which also noted that Standard offered to perform the work without making a

profit:


100
      Id. § 3(b).
101
      Id. § 9(a).
102
      Id. §§ 4(b), 5(d)(1).
103
      See id.
104
      Id.
105
      Id.


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                 A substantial increase in production at the earliest possible date was
                 urgently requested by the Joint Chiefs of Staff to meet the critical
                 need for petroleum on the West Coast to supply the armed forces in
                 the Pacific theatre . . . . The Standard Oil Company of California
                 was chosen as operator because it was the only large company
                 capable of furnishing the facilities for such a development program
                 and partially because it was the largest private owner of lands in the
                 Reserve. The Navy has expressed its appreciation of the patriotism
                 of the Standard Oil Company in undertaking such a project at cost
                 with no profit to be received by the Company. 106

         101.    “Shortly after the unit plan contract was signed, the Congress, according to DOE,

authorized the production at [the Elk Hills Reserve] at a level of 65,000 B/D [barrels per day] to

address fuel shortages and World War II military needs.” 107 Production reached this “peak of

65,000 barrels per day in 1945.” 108

         102.    Standard Oil’s production and operations of the Reserve for the Navy in furtherance

of the government’s war effort were subject to substantial and continued oversight and inspections

by Navy officers. The Operating Agreement between the U.S. Navy and Standard Oil directs that

“OPERATOR [Standard Oil] is in the employ of the Navy Department and is responsible to the

Secretary thereof through the Officer in Charge and Director, Naval Petroleum and Oil Shale

Reserves.” 109 In November 1974, for example, when a dispute arose concerning whether it was

possible to produce 400,000 barrels per day to meet the unfolding energy crisis, the Navy directed

the Unit Operator (Standard Oil) to prepare a plan, rejecting objections and advising Standard that

“since you are in the employ of the Navy and have been tasked with performing a function which

is within the exclusive control of the Secretary of Navy to order accomplished, the approval of the


106
      See Dick Decl., Ex. 8 (Elk Hills Historical Documents at 1).
107
      GAO Report at 15.
108
      GAO Fact Sheet at 3.
109
      See Dick Decl., Ex. 27 (Contract No. Nod-9930).



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Operating Committee is not to be considered a prerequisite to the initiation of the above action on

your part.” 110

         103.     Accordingly, for at least 31 years, Standard operated Elk Hills under the “subjection,

guidance or control” of federal Navy officers. Watson, 551 U.S. at 151; see id. at 153–54 (noting

that removal was proper where company “fulfilled the terms of a contractual agreement by

providing the Government with a product that it used to help conduct a war”). At a minimum,

Defendants’ theory, which must be credited for purposes of removal, see Def. Ass’n of Philadelphia,

790 F.3d at 474, is that Standard Oil’s relationship with the federal government was “an unusually

close one involving detailed regulation, monitoring, or supervision,” id. at 468.

         104.     After the OPEC oil embargo in 1973-74, Congress authorized preliminary activity

to develop Elk Hills and other National Reserves to their full economic potential. See Supplemental

Appropriation Act of 1974, Pub. L. No. 93-245 (1974). In 1975, Standard Oil chose to withdraw

from operating Elk Hills to concentrate on other federal objectives:

         [T]he current domestic energy situation is so serious that all oil companies are
         devoting their available resources to the discovery and production of new oil
         reserves. The President has requested that every effort be made to increase
         production of petroleum, and Standard is focusing its attention on this objective.111

         105.     A year later, Congress enacted the Naval Petroleum Reserves Production Act of

1976, Pub. L. No. 94-258 (1976), which reopened the Elk Hills Reserve and “authorized and

directed that [the Reserve] be produced at the maximum efficient rate for 6 years.” 112 Congress

directed production at Elk Hills to be significant. Indeed, Commander Roger Martin, the naval


110
      See Dick Decl., Ex. 6.
111
      See Dick Decl., Ex. 28 (letter from J.R. Grey, Standard, to Jack L. Bowers, Acting Secretary of
      the Navy, requesting to terminate its position as Operator of the Elk Hills Reserve).
112
      Naval Petroleum Reserves Production Act of 1976, Pub. L. No. 94-258 (1976); see also Dick
      Decl., Ex. 2; Dick Decl., Ex. 3.



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officer in charge of the facility explained: “We expect to reach a level of about 100,000 barrels

daily in a few months, and 300,000 by the end of the [1970s].”113 Production of 100,000 barrels

would amount to about 5% of then-current imports and result in a cost saving to the federal

government of approximately $1 billion annually.

         106.    In 1977, Congress transferred the Navy’s interests and management obligations to

the Department of Energy (“DOE”), and Chevron continued its interest in the joint operation until

1997, when the reserve was sold. From 1976 to 1998, Elk Hills generated over $17 billion for the

United States Treasury. 114

         107.    Although other prime contractors operated Elk Hills for the Navy following 1975,

Standard and later Chevron were still actively involved in the operations, both through their role on

the Operating Committee and as subcontractors. 115 Under the Navy’s direction and control,

Chevron conducted exploration and drilling activities on the Reserve to fulfill the government’s

demand for significant production from the Reserve. Accordingly, Chevron’s activities under

federal officers went far beyond its role as co-owner under the auspices of the UPC or simple

compliance with the law as a participant in a regulated industry.

         108.    Strategic Petroleum Reserve. In response to the 1970s Oil Embargoes, Congress

created the Strategic Petroleum Reserve (“SPR”) in the 1975 Energy Policy Conservation Act, Pub.

L. No. 94-163, 89 Stat. 871, to protect the country’s energy security. The SPR was a “stockpile of


113
      Dick Decl., Ex. 3.
114
      See       U.S.       Dep’t       of        Energy,       Naval      Petroleum       Reserves,
      https://www.energy.gov/fe/services/petroleum-reserves/naval-petroleum-reserves (last visited
      Oct. 7, 2020).
115
      See Dick Decl., Ex. 63 (History of Naval Petroleum Reserve No. 1 at 192) (describing the June
      13, 1978 contract between Chevron and Williams brothers for 60 million cubic feet of gas to be
      processed by Chevron’s 17Z McKittrick plant, and an agreement with Chevron and Atlantic
      Richfield to acquire pipeline capacity of 220,000 barrels per day).



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government-owned petroleum managed by the Department of Energy [created] as a response to

gasoline supply shortages and price spikes . . . to reduce the impact of disruptions in supplies of

petroleum products and to carry out U.S. obligations under the 1974 Agreement on an International

Energy Program.” 116 Several Defendants “acted under” federal officers in producing oil for the

SPR and managing it for the federal government.

         109.   The Act “declared it national policy to store up to 1 billion barrels of petroleum

production, provides for an early reserve, to contain at least 150 million barrels by December 1878

[sic], and for an eventual storage system of at least 500 million barrels by December 1982. It [was]

estimated that a 500 million barrel reserve, combined with conservation measures, [could]

essentially replace lost imports, for a period of 6 months for the most likely interruptions.” Dick

Decl., Ex. 69 (Statement of Hon. John F. O’Leary, Administrator, Federal Energy Administration,

Hearing before the Committee on Interior and Insular Affairs, U.S. Senate, on FEA’s Strategic

Petroleum Reserve Plan, at 30 (Feb. 4, 1977)).

         110.   Under 43 U.S.C. § 1353(a)(1), “all royalties . . . accruing to the United States under

any oil and gas lease [under OCSLA] . . . shall, on demand of the Secretary [of the Interior], be paid

in oil and gas.” For example, after the September 11 attacks, President George W. Bush ordered

that the SPR, “an important element of our Nation’s energy security,” “will be filled . . . principally

through royalty-in-kind transfers to be implemented by the Department of Energy and the

Department of the Interior.” 117 From 1999 to December 2009, the U.S. government’s “primary

means of acquiring oil for the [SPR]” was by taking its royalties from oil produced from federal



116
      See H.R. Rep. No. 115-965, at 3 (2017).
117
      Statement on the Strategic Petroleum Reserve, 2 Pub. Papers 1406 (Nov. 13, 2001),
      https://www.govinfo.gov/content/pkg/PPP-2001-book2/pdf/PPP-2001-book2.pdf.



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offshore leases as royalties “in kind” as part of the so-called Royalty In Kind (“RIK”) program. 118

During that time, “the Strategic Petroleum Reserve received 162 million barrels of crude oil through

the RIK program” valued at over $6 billion. 119

         111.    The federal government also required certain Defendants (and/or their predecessors,

subsidiaries, or affiliates), as lessees of federal offshore leases on the OCS, to pay royalties “in

kind,” which the government used for its strategic stockpile, a crucial element of U.S. energy

security and treaty obligations. 120 The federal government also contracted with some of the

Defendants (including predecessors, subsidiaries, or affiliates) to deliver to the SPR millions of

barrels of oil under the RIK program. 121

         112.    Finally, some of the Defendants acted under federal officers by operating the SPR

infrastructure for the government. For example, from 1997 to 2019, DOE leased to Defendant Shell

Oil Company affiliates the Sugarland/St. James Terminal and Redstick/Bayou Choctaw Pipeline in

St. James, Louisiana. “Under the lease agreement, Shell provide[d] for all normal operations and

maintenance of the terminal and [wa]s required to support the Strategic Petroleum Reserve as a


118
      U.S.       Dep’t      of     Energy,     Filling     the     Strategic      Petroleum    Reserve,
      https://www.energy.gov/fe/services/petroleum-reserves/strategic-petroleum-reserve/filling-
      strategic-petroleum-reserve (last visited Oct. 7, 2020).
119
      U.S. Dep’t of Energy, Strategic Petroleum Reserve Annual Report for Calendar Year 2010, at
      18 (2011) (“SPR 2010 Report”); see id. at 39 (Table 13).
120
      See, e.g., Dick Decl., Ex. 29 (Dear Operator Letter) (invoking OCSLA and royalty provisions
      in federal leases operated by certain Defendants, and/or their predecessors, subsidiaries, or
      affiliates, “to use royalties in kind (RIK) to replenish the Strategic Petroleum Reserve (SPR)”).
121
      See, e.g., Dick Decl., Ex. 30 (U.S. Dep’t of Interior, Minerals Management Service, MMS RIK
      Program to Help Fill Strategic Petroleum Reserve (May 31, 2007)) (describing such contracts
      “to transport Royalty in Kind (RIK) crude oil that will be used to resume filling the nation’s
      Strategic Petroleum Reserve (SPR)”); Minority Staff of the Permanent Subcomm. On
      Investigations of the Comm. on Governmental Affairs, S. Prt. 108-18, U.S. Strategic Petroleum
      Reserve: Recent Policy Has Increased Cost to Consumers But Not Overall U.S. Energy
      Security, (1st Sess. 2003) (describing government contract with a predecessor affiliate of
      Defendant Shell Oil Company to deliver nearly 19 million barrels of oil to the Strategic
      Petroleum Reserve as part of the RIK program).



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sales and distribution point in the event of a drawdown.” 122 Starting January 2020, the DOE leased

the St. James facilities to an affiliate of Defendants Exxon Mobil Corporation and ExxonMobil Oil

Corporation (ExxonMobil Pipeline Company). 123 Similarly, “[u]nder the lease agreement, Exxon

Mobil [Pipeline Company] . . . must support the SPR as a sales and distribution point in the event

of an SPR drawdown.” 124 And the DOE has leased to the same ExxonMobil affiliate two

government-owned pipelines that are part of the SPR near Freeport, Texas. 125

         113.    The SPR subjects Defendants to the federal government’s supervision and control

in the event of the President’s call for an emergency drawdown. 126 The United States has exercised

this control, including in response to President Bush’s executive order to draw down the reserve in

response to Hurricane Katrina in 2005 and President Obama’s executive order to draw down the

reserve in response to disruptions to oil supply in Libya in 2011. 127 Thus, the hundreds of millions

of barrels of oil flowing through these facilities—the sale and combustion of which are part of the




122
      See SPR 2010 Report at 16.
123
      See U.S. Dep’t of Energy, Department of Energy Awards Strategic Petroleum Reserve Lease to
      ExxonMobil (Oct. 28, 2019), https://www.energy.gov/articles/department-energy-awards-
      strategic-petroleum-reserve-lease-exxonmobil.
124
      U.S. Dep’t of Energy, Strategic Petroleum Reserve Annual Report for Calendar Year 2018, at
      15                                           (Jan.                                       2020),
      https://www.energy.gov/sites/prod/files/2020/01/f70/2018%20SPR%20Report%20to%20Con
      gress.pdf (emphasis added).
125
      See SPR 2010 Report at 25, 49; U.S. Dep’t of Energy, DOE Signs Major Agreement with Exxon
      Pipeline to Lease Idle Pipelines at Strategic Reserve (Jan. 14, 1999),
      https://fossil.energy.gov/techline/techlines/1999/tl_bmlse.html.
126
      See 42 U.S.C. § 6241(d)(1) (“Drawdown and sale of petroleum products from the Strategic
      Petroleum Reserve may not be made unless the President has found drawdown and sale are
      required by a severe energy supply interruption or by obligations of the United States under the
      international energy program.”).
127
      See        U.S.       Dep’t       of      Energy,     History       of      SPR        Releases,
      https://www.energy.gov/fe/services/petroleum-reserves/strategic-petroleum-reserve/releasing-
      oil-spr (last visited Oct. 7, 2020).



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causal chain leading to Plaintiff’s alleged injuries—were subject to federal government control and

supervision. 128

                   3.    Defendants Acted Under Federal Officers By Supplying Highly Specialized
                         Fuels For Military Use

         114.      Many of the Defendants have produced and supplied to the U.S. military highly

specialized petroleum products required for national defense and wartime efforts. Federal officer

removal precisely “covers situations, like this one, where the federal government uses a private

corporation to achieve an end it would have otherwise used its own agents to complete.” Ruppel v.

CBS Corp., 701 F.3d 1176, 1181 (7th Cir. 2012); see also Papp, 842 F.3d at 812.

         115.      During World War II, the federal government asserted substantial control over

Defendants, directing the development and production of high-octane aviation fuels (“avgas”). 129

Because avgas was “the most critically needed refinery product during World War II and was

essential to the United States’ war effort,” 130 the United States government exercised significant

control over the means of its production during World War II. In 1942, President Roosevelt

established several agencies to oversee war-time production. Among those with authority over

petroleum production were the War Production Board (“WPB”) and the Petroleum Administration

for War (“PAW”). The WPB established a nationwide priority ranking system to identify scarce

goods, prioritize their use, and facilitate their production; it also limited the production of

nonessential goods. The PAW centralized the government’s petroleum-related activities. It made


128
      See         U.S.           Dep’t          of        Energy,            Strategic          Vision,
      https://www.energy.gov/sites/prod/files/2019/12/f69/FE Strategic Vision.pdf (last visited Oct.
      23, 2020).
129
      During the war, more than 80 percent of the seven billion barrels of crude oil needed to support
      the U.S. war effort was produced in this country. Dick Decl., Ex. 31 (John W. Frey & H.
      Chandler Ide, A History of the Petroleum Administration for War, 1941-1945, at 1, 169 (1946)).
130
      Shell Oil Co. v. United States, 751 F.3d 1282, 1285 (Fed. Cir. 2014) (“Shell II”).



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policy determinations regarding the construction of new facilities and allocation of raw materials,

had the authority to issue production orders to refineries and contracts that gave extraordinary

control to federal officers, and “programmed operations to meet new demands, changed conditions,

and emergencies.” 131 The “PAW told the refiners what to make, how much of it to make, and what

quality.” 132 See Statement of Ralph K. Davies, Deputy Petroleum Administrator of War, S. Res.

96 at 11 (Nov. 28, 1945) (“The supply of crude to each refinery, the finished and intermediate

products to be made in each plant, and the disposition of the products were all closely scheduled,

by daily telegraphic directives when necessary.”); Dick Decl., Ex. 74 (Statement of George A.

Wilson, Director of Supply and Transportation Division, Wartime Petroleum Supply and

Transportation, Petroleum Administration for War, Special Committee Investigating Petroleum

Resources, S. Res. 36 at 212 (Nov. 28, 1945)) (“PAW was further expected to designate for the

military forces the companies in a given area from which the product could be secured, as well as

the amount to be produced by each company and the time when the product would be available.”).

The Office of the Petroleum Coordinator for National Defense stated that “It is essential, in the

national interest that the supplies of all grades of aviation gasoline for military, defense and essential

civilian uses be increased immediately to the maximum.” 133

         116.    The PAW’s directives to Defendants were often coercive. The PAW’s message to

the oil and gas industry was clear: it would “get the results” it desired, and if “we can’t get them by




131
      See generally Shell I, 294 F.3d at 1049 (discussing federal control).
132
      Shell II, 751 F.3d at 1286 (quoting John W. Frey & H. Chandler Ide, A History of the Petroleum
      Administration for War, 1941-1945, at 219 (1946)).
133
      Shell II, 751 F.3d at 1286 (quoting Office of Petroleum Coordinator for National Defense
      Recommendation No. 16).



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cooperation, then we will get them some other way.” 134 The PAW also maintained “disciplinary

measures” for non-compliance, including “restricting transportation, reducing crude oil supplies,

and withholding priority assistance.” 135 In sum, the federal government deployed an array of threats

and sanctions to ensure Defendants assented to PAW’s production directives.

         117.    In addition, the government’s need for highly specified fuels necessitated changes

to Defendants’ refining equipment and operations. 136 And the impacts of the government’s

particular fuel specifications on Defendants’ operations were typically long lasting. 137           For

example, JP-4 was developed in 1951 and was the most heavily used Air Force fuel until it was

phased out around 1998. 138

         118.    The federal government entered into contracts with predecessors or affiliates of

Defendants Chevron and Shell Oil Company, as well as ExxonMobil, to obtain “vast quantities of

avgas.” 139 These contracts provided federal officers with the power to direct the operations of

Defendants. For example, the government’s contract with Shell Oil Company’s predecessor or

affiliate specified that it “shall use its best efforts” and work “day and night” to expand facilities




134
      Dick Decl., Ex. 59 (Secretary Harold Ickes, Conference of Petroleum Industry Chairmen, 8
      (Aug. 11, 1941)).
135
      Dick Decl., Ex. 55 (Telegram from P.M. Robinson, PAW Assistant Director of Refining, to
      Ralph K. Davies, PAW Deputy Administrator, Refiners Who Did Not Reply to the Gasoline
      Yield Reduction Telegrams (Aug. 12, 1942)).
136
      See Dick Decl., Ex. 56 (W. J. Sweeney, Aircraft Fuels and Propellants, Report for the Army Air
      Force Scientific Advisory Group (1946)).
137
      Dick Decl., Ex. 57 (I. Waitz, S. Lukachko, & J. Lee, Military Aviation and the Environment:
      Historical Trends and Comparison to Civil Aviation, 42 J. of Aircraft 2 (2005)).
138
      Dick Decl., Ex. 58 (Coordinating Research Council, Handbook of Aviation Fuel Properties,
      CRC Report No. 635 (2004)).
139
      Several prior decisions discuss these contracts, and the power that the federal government held
      over Defendants to control production of oil and gas. See, e.g., Shell II, 751 F.3d at 1286; Exxon
      Mobil, 2020 WL 5573048, at *31.



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producing avgas “as soon as possible and not later than August 1, 1943.” 140 And to maximize

production of this critical product, “[t]he Government directed [those companies] to undertake

extraordinary modes of operation which were often uneconomical and unanticipated at the time of

the refiners’ entry into their [avgas] contracts.” Shell II, 751 F.3d at 1287. At the direction of the

federal government, the oil companies, which include certain Defendants here, increased avgas

production “over twelve-fold from approximately 40,000 barrels per day in December 1941 to

514,000 barrels per day in 1945, [which] was crucial to Allied success in the war.” 141

         119.     With respect to Exxon Mobil’s affiliates, the government exerted substantial control

over the refineries’ actions, including decisions on how to use raw materials and labor, including

demands that the plants operate 24 hours a day, 7 days a week, year round. 142 Courts have

concluded that “[b]y controlling the nation’s crude oil supply, the federal government controlled

the nation’s petroleum industry,” and that it “exerted significant control over the operations of

refinery owners or operators that contracted to manufacture avgas, synthetic rubber, and other war

materials.” 143

         120.     Defendants also acted under the federal government as agents in constructing and

operating pipelines transporting oil for war. During World War II, oil transportation by tankers

“experienced major disruption as a result of attacks by German submarines.” 144




140
      JA002, JA027, Shell Oil Co. v. United States, No. 1:06-cv-00141-SGB (Nov. 20, 2012), ECF
      No. 106-1 (emphases added).
141
      Shell II, 751 F.3d at 1287.
142
      Exxon Mobil, 2020 WL 5573048, at *1, *8.
143
      Id. at *8, *14.
144
      Dick Decl., Ex. 32 (National Park Service, Historic American Engineering Record No. TX-76,
      War Emergency Pipeline (Inch Lines) Inch Lines Historic District (1968), at 3).



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         121.    “To [e]nsure adequate supplies of petroleum through the east during the late World

War II, the Government caused to be constructed, between the Texas oilfield and the Atlantic

seaboard, two large pipelines, commonly known as the ‘Big Inch’ and the ‘Little Big Inch,’

respectively” (together, the “Inch Lines”). 145     War Emergency Pipelines, Inc. (“WEP”), “a

Delaware corporation created by eleven of the major oil companies,” including predecessors or

affiliates of Defendants, 146 constructed and operated the Inch Lines “under contracts” and “as

agent” for the federal government. 147

         122.    Federal officers exerted operational control over the Inch Pipelines and Defendants’

affiliates. WEP operated wholly on capital from the government, and “received no fee or profit.” 148

The government also required approval and set the salaries of all personnel that WEP employed. 149

“After completion of the pipe lines, [WEP], in the name of, and acting as agent for [the

government], purchased petroleum or petroleum products at the origins of the respective pipe lines,

at OPA prices, and as such agent delivered and sold the through-put at the respective termini. The

sales price was cost plus a sum specified by Defense Supplies Corporation. The Petroleum



145
      Schmitt v. War Emergency Pipelines, Inc., 175 F.2d 335, 335 (8th Cir. 1949) (“WEP II”).
146
      The eleven companies that constituted WEP were Shell Oil Company, Inc., Standard Oil
      Company (New Jersey), The Texas Company, Gulf Refining Company, Pan American
      Petroleum & Transport Company, Cities Service Company, Atlantic Pipe Line Company,
      Sinclair Oil Corporation, Sun Pipe Line Company (Texas), Socony-Vacuum Oil Company, Inc,
      and Tidal Pipe Line Company. Several of these companies are predecessors or affiliates of
      current Defendants. See Dick Decl., Ex. 33 (Certificate of Dissolution of War Emergency
      Pipelines, Inc. 1-2 (Aug. 28, 1947)); id. Ex. 31 (John W. Frey & H. Chandler Ide, A History of
      the Petroleum Administration for War: 1941-1945 at 108 (1946)).
147
      WEP II, 175 F. 2d at 335; Schmitt v. War Emergency Pipelines, Inc., 72 F. Supp. 156, 157 (E.D.
      Ark. 1947) (“WEP I”). These decisions provide details of the construction contracts under
      which the government “delegat[ed] operating function to [WEP]” “by a document called
      ‘Agency Agreement.’” Id.
148
      See, e.g., WEP I, 72 F. Supp. at 157; WEP II, 175 F.2d at 336.
149
      See WEP II, 175 F.2d at 336.



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Administration for War issued directives to . . . [WEP], which, among other things, designated from

whom products should be purchased and to whom they should be sold.” 150

         123.   Petroleum Directives 63 and 73 governed the Big Inch and Little Big Inch pipelines,

respectively, and exerted substantial control over WEP, and thus Defendants. The government

required WEP to prepare and file “daily reports” and a monthly “forecast” regarding its operation

of the Inch Lines. The government had power to “direct such affirmative action as may be necessary

to accomplish the purposes” of the Inch Lines—namely, “relieving shortages” and “augmenting

supplies for offshore shipments” while replacing “tankers normally engaged in the transportation

of petroleum products from the United States Gulf Coast to the Atlantic ports” that were “los[t]

through enemy action.” The goal was to ensure “maximum operating capacity for the prosecution

of the war and most effective utilization of petroleum.” 151 See Dick Decl., Ex. 72 (Statement of W.

Alton Jones, Chairman, Committee on Postwar Disposal of Pipe Lines, Refineries, and Tankers,

Hearings before the Special Committee Investigating Petroleum Resources at 25–26 (Nov. 15,

1945)) (“Under wartime operation, the oil business operated under directives of the Petroleum

Administration for War. . . . [Oil companies] w[ere] ordered to divert oil and deliver at the receiving

terminals of the big lines sometimes by expensive means to keep these lines running to capacity,

and that was done in the interest of the war effort because we needed every barrel of oil we could

deliver to the East.”).




150
      WEP I, 72 F. Supp. at 158.
151
      Utilization of War Emergency Pipeline, 8 Fed. Reg. 1068-69 (Jan. 20, 1943) (Petroleum
      Directive 63); War Emergency Petroleum Products Pipeline, 8 Fed. Reg. 13343 (Sept. 30, 1943)
      (Petroleum Directive 73).



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         124.    The government controlled all oil WEP moved through the pipelines on its behalf. 152

During their operation by WEP, the Inch Lines provided “life lines to the east,” delivering

“379,207,208 barrels of crude oil and refined products” and serving “military necessity” for “the

cross-Atlantic fronts.” 153 The Inch Lines “were built for a single purpose, to meet a great war

emergency. . . . [T]hey helped to win a war that would have taken much longer to win without

them.” Statement of Ralph K. Davies, Deputy Petroleum Administrator of War, S. Res. 96 at 11

(Nov. 28, 1945). Without Defendants as contractors and agents (via WEP), “the Government itself

would have had to perform” these essential wartime activities. Watson, 551 U.S. at 154.

         125.    At the advent of the Korean War in 1950, President Truman established the

Petroleum Administration for Defense (“PAD”) under authority of the Defense Production Act of

1950, Pub. L. No. 81–774 (“DPA”). The PAD issued production orders to Defendants and other

oil and gas companies, including to ensure adequate quantities of avgas for military use. 154

         126.    The government also invoked the DPA immediately after the 1973 Oil Embargo to

address “immediate and critical” petroleum shortages by the military. 155           Interior Priority

Regulation 2 authorized “directives” to ensure “normal supply of petroleum products required by

the Department of Defense” and provided companies that complied with immunity from “damages




152
      8 Fed. Reg. at 1069, § (e)(4) (“No petroleum or petroleum products shall be transported through
      the facilities of the War Emergency Pipeline System except in pursuance of this Directive or
      amendments and supplements thereto.”); id. at 13343, § (d)(3) (same).
153
      Dick Decl., Ex. 31 at 104-05, 108.
154
      See Dick Decl., Ex. 34 (Fourth Annual Report of the Activities of the Joint Committee on
      Defense Production, H. Rep. No. 84-1, at 122 (Jan. 5, 1955, 1st Sess.)). See also Exxon Mobil,
      2020 WL 5573048, at *15 (detailing the government’s use of the DPA “to force” the petroleum
      industry to “increase their production of wartime . . . petroleum products”).
155
      See Dick Decl., Ex. 35 (Twenty-Fourth Annual Report of the Activities of the Joint Committee
      on Defense Production, S. Rep. No. 94-1, Pt. 1, at 442 (Jan. 17, 1975, 1st Sess.)).



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or penalties.” 156    The Interior Department subsequently “issued directives to 22 companies

[including Defendants or their predecessors or subsidiaries 157] to supply a total of 19.7 million

barrels of petroleum during the two-month period from November 1, 1973, through December 31,

1973, for use by the DOD.” 158

         127.    During the Cold War, Shell Oil Company developed and produced for the federal

government specialized jet fuel to meet the unique performance requirements of the U-2 spy plane

and later the OXCART and SR-71 Blackbird programs. 159 Shell Oil Company produced millions

of gallons of “Processing Fluid (PF-1)” under government contracts with specific testing and

inspection requirements, as well as packaging that mandated “no other identification.” 160 Shell Oil



156
      Petroleum Products Under Military Supply Contracts, 38 Fed. Reg. 30572 §§ 1, 3 (Nov. 6,
      1973).
157
      The companies included Amoco Oil Co., Exxon Co., U.S.A., Mobil Oil Corp., Standard Oil Co.
      of California, and Shell Oil Co. Dick Decl., Ex. 36 (Naval Petroleum Reserve Numbered 1, Elk
      Hills, Calif.: Hearing Before the Subcommittee On National Stockpile and Naval Petroleum
      Reserve of the Committee on Armed Services on S.J. Res. 176, 93d Cong. 73-74 (1st Sess. 1973))
      (reprinting Department of Interior, Office of Oil and Gas, News Release: Companies Directed
      to Supply the Needs of Defense Department (Nov. 28, 1973) (listing companies and quantities)).
      Ex. 37 (John W. Finney, Fuel is Diverted for the Military, N.Y. Times (Nov. 28, 1973)
      (reporting on directives)).
158
      See Dick Decl., Ex. 37.
159
      See Dick Decl., Ex. 38, Gregory W. Pedlow & Donald E. Welzenbach, The Central Intelligence
      Agency and Overhead Reconnaissance: The U-2 and OXCART Programs, 1954-1974 61-62
      (1992), https://www.archives.gov/files/declassification/iscap/pdf/2014-004-doc01.pdf (“Gen.
      James H. Doolittle (USAF, Ret.) . . . arranged for Shell to develop a special low-volatility, low-
      vapor-pressure kerosene fuel for the craft. The result was a dense mixture, known as LF-1A,
      JP-TS (thermally stable), or JP-7, with a boiling point of 300oF at sea level. Manufacturing this
      special fuel required petroleum byproducts . . . .”); id. Ex. 39, CIA Doc. No. CIA-
      RDP90B00170R000100080001-5, Clarence L. Johnson, Development of the Lockheed SR-71
      Blackbird (Aug. 3, 1981) (“The Government stated that the need for the ‘Blackbird’ was so
      great that the program had to be conducted despite the risks and the technological challenge.
      . . . The extreme environment presented a severe cooling problem. . . . A new fuel and a
      chemical lubricant had to be developed to meet the temperature requirements. . . . Shell, and
      [other] [c]ompanies[,] took on the task of developing these fluids.”); see also id. Ex. 40 (Ben
      Rich & Leo Janis, Skunk Works 127, 205 (1994)).
160
      Dick Decl., Ex. 41, CIA Doc No. CIA-RDP67B00074R000500400016-2, Contract No.
      AF33(657)-8577 (SH-511) (Aug. 14, 1962); see id. Ex. 42, CIA Doc. No. CIA-



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Company also constructed “special fuel facilities” to handle and store PF-1, including a hangar,

pipelines, and storage tanks at air force bases at home and abroad, and “agreed to do this work

without profit” under special security restrictions per detailed government contracts for the

OXCART program. 161 Under the OXCART program, Shell Oil Company also “tested” “refinery

procedures” to ensure fuels were “up to standard.” 162 In providing specialized fuel and facilities

under contracts for the federal government’s overhead reconnaissance programs, Shell Oil

Company was helping the government to produce an item that it needed for national defense

purposes. See Watson, 551 U.S. at 153.

         128.   To this day, Defendants supply the DOD with highly specialized fuels to meet its

need to power planes, ships, and other vehicles, and to satisfy other national defense requirements.

Defendants Shell Oil Company, BP, and ExxonMobil (or their predecessors, subsidiaries, or

affiliates), for example, have been three of the top four suppliers of fossil fuel products to the United

States military, whose energy needs are coordinated through the Defense Energy Support Center

(“DESC”). 163    DESC procures a range of military-unique petroleum-based products from



      RDP67B00074R000500400012-6, Amendment No. 2 to Contract No. AF33(657)-5577 (SH-
      511) (Aug. 26, 1963).
161
      Dick Decl., Ex. 43, CIA Doc. No. CIA-RDP67B00074R000500440005-0, Concurrence in
      Contract No. SH-515 with Shell Oil Company, Project OXCART (Sept. 20, 1963); see id. Ex.
      44, CIA Doc. No. CIA-RDP67B00074R000500450004-0, Contract No. AF33(657)-13272
      (SH-516) (June 30, 1964); id. Ex. 45, CIA Doc. No. CIA-RDP67B00074R000500440006-9,
      Contract No. AF33(657)-12525 (SH-515) (Sept. 20, 1963); id. Ex. 46, CIA Doc. No. CIA-
      RDP67B00074R000500430003-3, Concurrence in Contract No. SH-514 with Shell Oil
      Company, New York, N.Y. (June 28, 1963); id. Ex. 47, CIA Doc. No. CIA-
      RDP67B00074R000500420006-1, Contract No. AF33(657)10449 (SH-513) (Feb. 25, 1963);
      id. Ex. 48, CIA Doc. No. CIA-RDP67B00074R000500410006-2, Contract No. AF33(657)-
      8582 (SH-512) (Sept. 13, 1962).
162
      Dick Decl., Ex. 49, CIA Doc. No. CIA-RDP63-00313A000500130031-9, Summary of OSA
      Activities for Week Ending 21 August 1963 (Aug. 23, 1963).
163
      See Anthony Andrews, Cong. Rsch. Serv., R40459, Department of Defense Fuel Spending,
      Supply, Acquisition, and Policy 10 (2009), https://fas.org/sgp/crs/natsec/R40459.pdf.



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Defendants, including JP-8 fuel (MIL-DTL-83133) for the U.S. Air Force and Army, JP-5 fuel

(MIL-DTL-5624 U) for the U.S. Navy, and a variety of other alternative fuels. Several other

Defendants have also produced these critical products for the U.S. military.

         129.    For example, Marathon Petroleum subsidiary Tesoro Corporation entered into at

least fifteen contracts with the Department of Defense’s Defense Logistics Agency between 1983

and 2011 to supply highly-specialized military jet fuels, such as JP-4, JP-5, and JP-8.164 The

Department of Defense exerted significant control over Tesoro’s actions in fulfilling the contracts

with the Department of Defense seeking to ensure that the unique jet fuels ignite, but do not freeze,

at low temperatures from high altitudes, rapidly dissipate accumulated static charge so as not to

produce sparks or fires during rapid refueling (such as on an aircraft carrier where such a fire would

be devastating), efficiently combust to allow for longer flights on less fuel, and maintain the

integrity of the fuel handling systems over a long period of time. 165

         130.    To meet its unique operational needs, the Department of Defense required that

Tesoro supply each fuel in accordance with highly specialized, Department of Defense-specific

specifications. As one would expect when dealing with highly specialized military equipment,

these fuel contracts are far more specialized and prescriptive than for fuel intended for consumer-

type vehicles.




164
      The contracts were executed by various Tesoro subsidiaries, such as Tesoro Refining and
      Marketing Company and Tesoro Alaska Petroleum Company. For a list of the Tesoro contract
      numbers and dates, see Dick Decl., Ex. 60.
165
      Dick Decl., Ex. 65 (Dep’t of Defense Handbook Aerospace Fuels Certification, MIL-HDBK-
      510A § 1.2.2 (Aug. 2014)); Air Force Wight Aeronautical Lab., Military Jet Fuels, 1944-1987,
      AFWAL-TR-87-2062, Table 1, 2-9 (Dec. 1987) [hereinafter “Air Force Lab, Military Jet
      Fuels”]; NREL, Investigations of Byproduct Application to Jet Fuel, NREL/SR-510-30611, at
      4-6 (Oct. 2001).



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         131.   In particular, the specifications require explicit amounts of “military unique

additives that are required by military weapon systems,” such as static dissipator additive (“SDA”),

fuel system icing inhibitor (“FSII”), and corrosion inhibitor/lubricity improver (“CI/LI”). Dick

Decl., Ex. 50 (DLA, Detail Specifications, Turbine Fuels, Aviation Kerosene Types, NATO F-

34(JP-8), NATO F-35, AND JP-8+100, MIL-DTL-83133E at 5, 7, 10 (April 1, 1999)). 166 “[T]his

[additive] requirement is unique to military aircraft and engine designs,” id. at 10, and each additive

served a vital role in allowing the Department of Defense to fulfill its mission safely and efficiently.

         132.   The Department of Defense required Tesoro to use SDA, a conductivity improver

additive, to dissipate static charge created during military jet distribution and refueling. If the

charge is not dissipated, refueling could result (and has resulted) in a spark or fire, especially when

rapid refueling is necessary during combat with hot military engines. MIL-HDBK-510A § 1.4.1.2;

Air Force Lab, Military Jet Fuels at 28, 35; Air Force Wright Aeronautical Laboratories, Effect of

Corrosion Inhibitors on Conductivity of Avian Turbine Fuel, ARWAL-TR-85-2076, at 1 (“The Air

Force and Navy have reported numerous incidents in the [1980s] solely related to electrostatic

discharge.”).

         133.   The Department of Defense required Tesoro to use FSII to depress the freezing point

of military jet fuels. FSII ensures that the fuels’ natural water content does not freeze at low

temperatures encountered by military jets at high altitudes, which would result in slush or ice crystal

formation causing blockages of fuel filters, pumps, or lines and could ultimately cause engine

flameout. Dep’t of Defense, FSII Specifications, MIL-DTL-85470B (June 1999); MIL-HDBK-

510A § 1.4.1.1; Air Force Lab, Military Jet Fuels at 30, 41–44; Dick Decl., Ex. 73 (Department of



166
      Tesoro Alaska Petroleum Company’s September 5, 2007 contract with DLA Defense Energy
      Supply Center to supply JP-8 required that Tesoro meet the specifications of MIL-DTL-
      83133E. See Dick Decl., Ex. 60.


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Army Technical Manual, Petroleum Handling Operations for Aviation Fuel, TM 10-1107 at 6 (Feb.

1960)) (“The jet aircraft is subject to wider and more rapid changes of temperature. . . .

Consequently, any water present may freeze before it can reach the sumps of jet aircraft. When this

happens, ice particles may clog the fuel screen and cause fuel starvation.”).

       134.       The Department of Defense required Tesoro to use CI/LI to (1) improve lubricity,

which reduces friction and ensures that the military engines do not seize during operation; and (2)

prevents corrosion in military fuel handling, transportation, and storage equipment, primarily

constructed of uncoated steel. Dep’t of Defense, Performance Specification, Inhibitor, Corrosion /

Lubricity Improver Fuel Soluble, MIL-PRF-25017H (Aug. 2011); MIL-HDBK-510A § 1.4.1.3; Air

Force Lab, Military Jet Fuels at 28, 30, 38–39.

       135.       In addition, the Department of Defense specifications required Tesoro to conform

the fuels to specific chemical and physical requirements, such as enumerated ranges for

conductivity, heat of combustion, thermal stability, and freezing point, specifications which are

essential to performance of the military function. MIL-DTL-83133E at 6; Air Force Lab, Military

Jet Fuels at 17–35 (describing the necessity for specific physical and chemical requirements in

military jet fuels). The specifications also required adherence to specific testing methods for the

various additives and chemical and physical requirements in accordance with enumerated American

Society for Testing and Materials (“ASTM”) standards, such as ASTM D2624 for conductivity and

ASTM D3241 for thermal stability. MIL-DTL-83133E at 6.

       136.       If the fuels did not conform to the exact specifications, the Department of Defense

exerted control over Tesoro by requiring it to either repair or replace the products at no increase in

contract price.




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       137.    The Department of Defense’s detailed specifications for the makeup of the military

jet fuels and “the compulsion to provide the product to the government’s specifications”

demonstrate the necessary “acted under” special relationship between Tesoro and the government.

See Baker, 962 F.3d at 943 (holding that the government’s detailed specifications for the makeup

of materials and the compulsion to provide the product to the government’s specifications

demonstrated the necessary “acted under” relationship to support federal officer removal).

       D.      Defendants’ Activities Are Related to Plaintiff’s Claims and Defendants Have
               Colorable Federal Defenses

       138.    These and other federal activities are encompassed in Plaintiff’s Complaint and

relate to Plaintiff’s causes of action. Plaintiff alleges that Defendants’ drilling operations and other

activities led to the combustion of oil and gas—including by the federal government—which led to

the release of greenhouse gases by end-users—also including the federal government. Furthermore,

the oil and gas upon which Plaintiff bases its claims is the very same oil and gas that Defendants

extracted and produced under the control and supervision of the federal government and which the

federal government, in furtherance of federal policy: (i) reserved the right to buy in total in the

event of a time of war or whenever the President so prescribed; (ii) directed the development of

unique products for military operations and purchased those products; and (iii) has promoted

through its leasing and other subsidy programs. Plaintiff seeks to hold Defendants liable for the

very activities Defendants performed in the implementation of federal policy initiatives under

federal direction and control. This is more than enough to satisfy the nexus element of the Federal

Officer Removal Statute, which requires only “a connection or association between the act in

question and the federal office.” Sawyer, 860 F.3d at 258; Def. Ass’n of Philadelphia, 790 F.3d at

474 (holding same). At a minimum, under Defendants’ reasonable theory of the case, which the

Court must credit in assessing whether the nexus element is satisfied, Acker, 527 U.S. at 432; Def.



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Ass’n of Philadelphia, 790 F.3d at 474; Baker, 962 F.3d at 947, a clear connection or association

exists between Defendants’ “acting under” federal officers by extracting and producing oil and gas

pursuant to federal contracts and specifications, and Plaintiff’s attempt to impose liability on

Defendants for that very same conduct. See also Leite, 759 F.3d at 1124 (“In assessing whether a

causal nexus exists, we credit the defendant’s theory of the case.”).

       139.    Finally, Defendants intend to raise numerous meritorious federal defenses, including

the government-contractor defense, see Boyle v. United Techs. Corp., 487 U.S. 500 (1988);

Maguire v. Hughes Aircraft Corp., 912 F.2d 67, 70 (3d Cir. 1990), preemption, see Farina v. Nokia

Inc., 625 F.3d 97, 115 (3d Cir. 2010), federal immunity, see Campbell-Ewald v. Gomez, 136 S. Ct.

663 (2016), and others. In addition, Plaintiff’s claims are barred by the United States Constitution,

including the Interstate and Foreign Commerce Clauses and Due Process clauses, as well as the

First Amendment and the foreign affairs doctrine. These and other federal defenses are more than

colorable, and thus satisfy the test for federal officer removal under the statute. See Willingham v.

Morgan, 395 U.S. 402, 407 (1969) (defendant invoking section 1442(a)(1) “need not win his case

before he can have it removed”). Accordingly, removal under Section 1442 is proper.

       140.    Plaintiff attempts to disclaim “injuries arising on federal property and those that

arose from Defendants’ provision of fossil fuel products to the federal government.” Compl. ¶ 14.

This disclaimer is a transparent—and ineffective—attempt to artfully plead around removal. Courts

consistently reject plaintiffs’ attempts to frustrate federal removal with carefully worded

disclaimers where, as in this case, Defendants’ federal officer defenses are still clearly applicable

to one or more of Plaintiff’s claims. See Rhodes v. MCIC, Inc., 210 F. Supp. 3d 778, 786 (D. Md.

2016) (“[Plaintiffs] have cited no authority that allows such language to bar the assertion of the

federal officer defense where it is otherwise applicable. . . . [T]hey are clearly keeping in play a




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claim against Defendants who could legitimately assert the federal officer defense.”); see also, e.g.,

Ballenger v. Agco Corp., 2007 WL 1813821, at *1 n.2, *4 (N.D. Cal. June 22, 2007) (finding

disclaimer ineffective where the plaintiff waived claims for exposure committed at the direction of

a federal officer but nonetheless sought relief for exposure aboard Navy vessels). Moreover, the

disclaimer is absurd in the present case, because, as the Supreme Court has recognized, greenhouse

gases cannot be traced to one particular source in one particular jurisdiction. AEP, 564 U.S. at 422

(“Greenhouse gases once emitted become well mixed in the atmosphere.”). Plaintiff’s claims thus

are based on global emissions that are impossible to trace to any particular source. Accordingly,

Plaintiff has no basis on which to carve out fuel extraction and production on federal lands and at

the direction of the federal government, or anywhere else for that matter.

       141.    Nor can Plaintiff’s allegations regarding Defendants’ purported “deceptive”

marketing change any of the above facts showing the federal government’s substantial control over

an enormous amount of Defendants’ production and sale of petroleum products. Plaintiff’s claims,

as pleaded, depend on the premise that Defendants’ production of fossil fuels caused Plaintiff’s

alleged injuries. See, e.g., Compl. ¶ 2. This case is therefore removable to federal court because

Defendants acted under federal officers in producing fossil fuels. Moreover, Defendants deny that

they misrepresented their knowledge of the science or effects of climate change. In any event, as

discussed above, any public statements by Defendants with respect to climate change had no

material effect on consumer demand for petroleum products, due to, among other things, the

widespread public knowledge about climate change and the many other factors that have caused

the consistent worldwide growth of oil and gas consumption over the course of many decades.




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VII.     THE ACTION IS REMOVABLE BECAUSE IT NECESSARILY RAISES
         DISPUTED AND SUBSTANTIAL FEDERAL ISSUES

         142.    Federal district courts “have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States.” 167 28 U.S.C. § 1331. The Supreme Court has

held that suits alleging, on their face, only state law causes of action nevertheless “arise under”

federal law, even if not exclusively governed by federal law, if the “state-law claim[s] necessarily

raise a stated federal issue, actually disputed and substantial, which a federal forum may entertain

without disturbing any congressionally approved balance of federal and state judicial

responsibilities.”    Grable, 545 U.S. at 314.        Applying this test “calls for a common-sense

accommodation of judgment to [the] kaleidoscopic situations that present a federal issue.” Id. at

313 (internal quotation marks omitted) (alteration in original).

         143.    Plaintiff’s Complaint attempts to undermine and supplant federal regulation of

greenhouse gas emissions and hold an international industry responsible for the alleged

consequences of rising ocean levels and hydrologic cycle disruptions such as drought, extreme

precipitation, heat waves, and wildfires that are allegedly caused by global climate change. There

is no question that Plaintiff’s claims raise “federal issue[s], actually disputed and substantial,” for

which federal jurisdiction would not upset “any congressionally approved balance of federal and

state judicial responsibilities.” Id.

         144.    The issues of greenhouse gas emissions, global climate change, hydrologic cycle

disruption, and sea level rise are not unique to the State of Delaware, or even the United States. Yet

the Complaint attempts to supplant decades of national energy, economic, and environmental



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      “Except as otherwise expressly provided by Act of Congress, any civil action brought in a State
      court of which the district courts of the United States have original jurisdiction, may be removed
      . . . to the district court of the United States for the district and division embracing the place
      where such action is pending.” 28 U.S.C. § 1441(a).


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policies by prompting a Delaware state court to take control over an entire industry and its interstate

commercial activities, and impose massive damages and injunctive relief contrary to long-standing

federal regulatory schemes and systems.

       145.    First, Congress has struck a careful balance between energy production and

environmental protection by enacting federal statutes such as the Clean Air Act, 42 U.S.C.

§ 7401(c), and by directing the EPA to regulate Defendants’ conduct and perform its own

cost-benefit analyses, see AEP, 564 U.S. at 426–47. Second, Plaintiff’s claims impede the foreign-

affairs power by seeking to regulate global climate change, which has been and continues to be the

subject of major international treaties. Third, Plaintiff alleges a causation theory that depends on

proof that federal policymakers would have adopted different energy and climate policies absent

the alleged conduct. Fourth, the State’s trespass claim raises the issue whether a state may, by

lawsuit, assert control over the navigable waters of the United States. Fifth, the State’s claims

require interpretation of international climate treaties, which is the exclusive province of the federal

courts. Sixth, the Complaint’s reliance on injuries allegedly suffered by way of navigable waters

provides an additional basis for the exercise of federal jurisdiction under Grable. Seventh, as

explained above, federal common law exclusively governs Plaintiff’s claims because they implicate

three areas which our constitutional design does not allow state or municipal law to control:

transboundary pollution, navigable waters, and foreign relations.          Eighth, this action raises

important constitutional issues regarding the relationship between states and the division of

authority between the federal government and the states.

       146.    Plaintiff’s purported state-law claims seek to upend the careful balance Congress

has struck between energy production and environmental protection. Collectively, as well as

individually, Plaintiff’s causes of action depend on the interpretation and application of federal




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statutes, federal regulations, and international treaties.   For example, domestically, the EPA

regulates greenhouse gas emissions under the Clean Air Act by implementing rules governing both

stationary and mobile source emissions. And, on the international front, the United States is party

to the United Nations Framework Convention on Climate Change, May 9, 1992, 1771 U.N.T.S.

107. Any attempt by a state court to balance the costs and benefits of the use of oil and gas under

state nuisance law would constitute a collateral attack on the balance already struck under the laws

and treaties of the United States. It is well-settled that a collateral attack on a federal regulatory

regime—an attempt to substitute state law for existing federal standards—presents a substantial

federal question. See, e.g., Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 347 (2001).

       147.    The Complaint seeks relief for an alleged nuisance.             Plaintiff alleges that

Defendants, through their national and, indeed, global activities, “caus[ed] and accelerat[ed] the

climate crisis.” Compl. ¶ 162. Plaintiff alleges that “sea level rise and attendant flooding, erosion,

and loss of wetlands and beaches in Delaware; increased frequency and intensity of extreme

weather events in Delaware, including coastal storms, flooding, drought, extreme heat, extreme

precipitation events, and others; ocean warming and acidification; and the cascading social,

economic, and other consequences,” are consequences of Defendants’ conduct. Id. ¶ 226.

       148.    Under Delaware law, were it to apply, nuisance claims require a plaintiff to prove

that the defendant’s conduct is “unreasonable,” Patton v. Simone, 626 A.2d 844, 855 n.8 (Del.

Super. Ct. 1992) (quoting Restatement (Second) of Torts § 821B). But under federal law, federal

agencies must “assess both the costs and the benefits of [an] intended regulation and, recognizing

that some costs and benefits are difficult to quantify, propose or adopt a regulation only upon a

reasoned determination that the benefits of the intended regulation justify its costs.” Exec. Order

No. 12,866, 58 Fed. Reg. 51735 (Sept. 30, 1993).




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       149.    Congress has directed a number of federal agencies to regulate Defendants’ conduct,

and thus to engage in the same analysis of benefits and costs that Plaintiff would have the state

court undertake. Federal agencies have performed, and continue to perform, these cost-benefit

analyses. See, e.g., Final Carbon Pollution Standards for New, Modified and Reconstructed Power

Plants, 80 Fed. Reg. 64510, 64518-21 (Oct. 23, 2015) (EPA considering the impacts of “wildfire”

and “extreme precipitation events,” such as “droughts, floods, hurricanes, and major storms”). The

alleged effects of Defendants’ operations are broadly distributed throughout the nation, to all

residents as well as all state and government entities. Given this diffuse and broad impact, Congress

has acted through a variety of federal statutes—primarily, but not exclusively, the Clean Air Act—

to strike the balance between energy extraction and production and environmental protections. See

Clean Air Act, 42 U.S.C. § 7401(c) (congressional statement that the goal of the Clean Air Act is

“to encourage or otherwise promote reasonable Federal, State, and local governmental actions . . .

for pollution prevention”); see also, e.g., Energy Reorganization Act of 1974, 42 U.S.C. § 5801(a)

(congressional purpose to “develop, and increase the efficiency and reliability of use of, all energy

sources” while “restoring, protecting, and enhancing environmental quality”); Mining and Minerals

Policy Act, 30 U.S.C. § 21a (congressional purpose to encourage “economic development of

domestic mineral resources” balanced with “environmental needs”); Surface Mining Control and

Reclamation Act, 30 U.S.C. § 1201(b), (k) (congressional findings that coal mining operations are

“essential to the national interest” but must be balanced by “cooperative effort[s] . . . to prevent or

mitigate adverse environmental effects”).

       150.    Whether the federal agencies charged by Congress to balance energy and

environmental needs for the entire nation have struck an appropriate balance is a question that is

“inherently federal in character” and gives rise to federal question jurisdiction. Buckman Co., 531




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U.S. at 347; see also Pet Quarters, Inc. v. Depository Trust & Clearing Corp., 559 F.3d 772, 779

(8th Cir. 2009) (affirming federal question jurisdiction where claims implicated federal agency’s

acts implementing federal law); Bennett v. Southwest Airlines Co., 484 F.3d 907, 909 (7th Cir.

2007) (finding federal removal under Grable appropriate where claims were “a collateral attack on”

agency action under a highly reticulated regulatory scheme). Adjudicating these claims in federal

court is appropriate because the relief sought by Plaintiff would necessarily alter the regulatory

regime Congress designed, affecting residents of the nation far outside the state court’s jurisdiction.

See, e.g., Grable, 545 U.S. at 312 (stating that claims that turn on substantial federal questions

“justify resort to the experience, solicitude, and hope of uniformity that a federal forum offers on

federal issues”); West Virginia ex rel. McGraw v. Eli Lilly & Co., 476 F. Supp. 2d 230, 234

(E.D.N.Y. 2007) (stating that removal under Grable is appropriate where state common law claims

implicate “an intricate federal regulatory scheme . . . requiring some degree of national uniformity

in interpretation”).

        151.    Regulation of greenhouse gas emissions, including carbon dioxide, is governed by

the Clean Air Act, see Massachusetts, 549 U.S. at 528–29, and EPA has regulated these emissions

under the Act, see, e.g., 40 C.F.R. §§ 51.166(b)(1)(i), 52.21(b)(1)(i) (regulation of greenhouse gases

through the Act’s prevention of significant deterioration of air quality permitting program); 2017

and Later Model Year Light-Duty Vehicle Greenhouse Gas Emissions and Corporate Average Fuel

Economy Standards, 77 Fed. Reg. 62,624 (Oct. 15, 2012) (regulation of greenhouse gas emissions

from light-duty motor vehicles); Greenhouse Gas Emissions and Fuel Efficiency Standards for

Medium- and Heavy-Duty Engines and Vehicles—Phase 2, 81 Fed. Reg. 73,478 (Oct. 25, 2016)

(regulation of greenhouse gas emissions from medium- and heavy-duty engines and vehicles). Put




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simply, “emissions have been extensively regulated nationwide” by the federal government under

the Clean Air Act. TVA, 615 F.3d at 298.

       152.    The Complaint also calls into question federal government decisions to contract with

Defendants for the extraction, development, and sale of oil and gas resources on federal lands. Such

national policy decisions have expanded fossil fuel production and use, and produced billions of

dollars in revenue to the federal Treasury. Reliable, affordable energy is fundamental to economic

growth and prosperity generally, as well as to national security and other issues that have long been

the domain of the federal government. See, e.g., 83 Fed. Reg. 23295, 23296 (Final List of Critical

Minerals 2018) (describing “fossil fuels” as “indispensable to a modern society for the purposes of

national security, technology, infrastructure, and energy production”). Yet, Plaintiff’s purported

state-law claims require a determination that the complained-of conduct—the lawful activity of

placing oil and gas into the stream of interstate and foreign commerce—is unreasonable, and that

determination raises a policy question that, under the U.S. Constitution and applicable federal

statutes, treaties, and regulations, is a federal question. See M.K. by & through Barlowe K. v.

Prestige Acad. Charter Sch., 302 F. Supp. 3d 626, 637 (D. Del. 2018) (finding federal question

jurisdiction under Grable because the case presented “a substantial question of federal law”).

       153.    The cost-benefit analysis required by Plaintiff’s claims would necessarily disrupt the

federal regulatory structure of an essential, national industry. “The validity of [Plaintiff’s] claims

would require that conduct subject to an extensive federal permitting scheme is in fact subject to

implicit restraints that are created by state law.” Bd. of Comm’rs v. Tenn. Gas Pipeline Co., 850

F.3d 714, 724 (5th Cir. 2017) (“Levee Board”); see also Bader Farms, Inc. v. Monsanto Co., 2017

WL 633815, at *3 (E.D. Mo. Feb. 16, 2017) (“Count VII is in a way a collateral attack on the

validity of APHIS’s decision to deregulate the new seeds.”); Bennett, 484 F.3d at 909 (holding that




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federal removal is proper under Grable “when the state proceeding amounted to a collateral attack

on a federal agency’s action”). Indeed, the “inevitable result of such suits,” if successful, is that

Defendants “would have to change” their federally regulated “methods of doing business and

controlling pollution to avoid the threat of ongoing liability.” Ouellette, 479 U.S. at 495.

       154.    Plaintiff’s claims also necessarily implicate substantial federal questions by seeking

to obtain compensatory and punitive damages, as well as equitable relief, based on allegations that

Defendants waged a “campaign to obscure the science of climate change” and thereby “[d]elayed

efforts to curb anthropogenic greenhouse gas emissions.” Compl. ¶¶ 149–50. In other words,

Plaintiff claims that Defendants engaged in fraud on a federal agency by hiding or misrepresenting

the science of climate change from the EPA, Department of Transportation, and other federal

agencies. Setting aside the sheer implausibility of Plaintiff’s theory that Defendants misled federal

agencies about core scientific facts addressed by the IPCC and publicly known for decades, it is

well-settled that claims that a defendant has engaged in fraud on a federal agency arise under federal

law. “Claims of fraud on a federal agency arise exclusively under federal law.” Buckman Co., 531

U.S. at 347 (“[T]he relationship between a federal agency and the entity it regulates is inherently

federal in character because the relationship originates from, is governed by, and terminates

according to federal law.”); Kemp v. Medtronic, Inc., 231 F.3d 216, 235 (6th Cir. 2000) (“[C]laims

alleging fraud on federal agencies have never come within the ‘historic police powers of the

States.’”) (quoting Medtronic, Inc. v. Lohr, 518 U.S. 470, 495 (1996)).

       155.    Plaintiff’s causation theory also depends on proof that federal policymakers were

misled and would have adopted different energy and climate policies absent the alleged

misrepresentations. Such a liability determination would require a court to construe federal

decision-making standards and determine how federal policymakers would have applied those




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standards under counterfactual circumstances. See, e.g., Compl. ¶ 129 (alleging that Global Climate

Science Communications Team plan sought to discredit the Kyoto Protocol). As an example, under

its theory, Plaintiff would need to show that the unanimously passed (95-0) Byrd-Hagel Resolution

in the Senate, which put limitations on entering into international treaties aimed at reducing

greenhouse gas emissions, would have been rejected but for the alleged actions of Defendants.

        156.    Plaintiff’s Complaint also necessarily implicates numerous other disputed and

substantial federal issues. Beyond the strictly jurisdictional character of the points addressed above

and herein, it is notable that this litigation places at issue multiple significant federal issues, any

one of which allows removal under Grable, including but not limited to: (1) whether Defendants

can be held liable consistent with the First Amendment for alleged “roles in denialist campaigns to

misinform and confuse consumers and the public,” id. ¶ 9; (2) whether a state court purporting to

apply state law may hold Defendants liable for conduct that was global in scale (production and

sale of oil and gas), which allegedly produced effects that are global in scale (increased CO2 levels

and rising sea levels), and, on that basis, order Defendants to modify their conduct on a global scale

(abating the alleged effects of rising sea levels), consistent with the constitutional principles limiting

the jurisdictional and geographic reach of state law and guaranteeing due process; (3) whether oil

and gas producers may be held liable, consistent with the Due Process Clause, for climate change

when it is the combustion of oil and gas—including by Plaintiff and the people of Delaware

themselves, who decide what types of fuel to use and how much—that leads to the release of

greenhouse gases into the atmosphere; (4) whether liability may be imposed under state common

law when the Supreme Court has held that the very same federal common law claims for domestic

interstate greenhouse gas emissions are displaced by federal statute, and when “federal common




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law exists” then state law “cannot be used,” Milwaukee II, 451 U.S. at 313 n.7; 168 (5) whether,

consistent with the United States Constitution’s Commerce Clause and foreign affairs doctrine, as

well as other constitutional principles, a state court purporting to apply state law may regulate and

burden on a global scale the sale and use of what has been deemed an essential resource at the

federal level; (6) whether a state court purporting to apply state law may review and assess the

validity of acts of foreign states in enacting and enforcing their own regulatory frameworks; and

(7) whether a state court purporting to apply state law may determine the ability to sue based on

alleged damages to land, such as coastal property, see Compl. ¶ 228(a), which depends on the

interpretation of federal laws relating to the ownership and control of property.

         157.    Plaintiff’s trespass claim raises substantial constitutional and statutory federal

questions that must be decided in order to adjudicate that claim. See U.S. Bank Nat’l Ass’n v. Gunn,

23 F. Supp. 3d 426, 434 (D. Del. 2014) (“Under Delaware law, an intentional trespass occurs when

three elements are proven: (1) the plaintiff has lawful possession of the land; (2) the defendant has

entered onto the plaintiff’s land without consent or privilege; and (3) the Plaintiff shows

damages.”); see also Restatement (Second) of Torts § 158 (Am. Law Inst. 1965) (“One is subject

to liability to another for trespass, irrespective of whether he thereby causes harm to any legally

protected interest of the other, if he intentionally (a) enters land in the possession of the other, or

causes a thing or a third person to do so, or (b) remains on the land, or (c) fails to remove from the

land a thing which he is under a duty to remove.”).

         158.    A necessary element of trespass is the invasion of real property. Here, the State

claims that invasion is caused by the rise of United States’ and international waters. But the federal




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      That Plaintiff’s claims arise under federal common law constitutes both an independent ground
      for removal, as well as a basis for removal under Grable. See supra ¶ 145.


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government has exclusive jurisdiction over these waters and Congress has by statute empowered

several federal agencies to address the issue of coastal sea level rise. While Delaware has authority

over its own shores and infrastructure and can take measures to mitigate the impacts of sea level

rise, it does not have authority over the navigable waters themselves and any actions the state would

take in navigable waters to address sea level rise are subject to federal authorities and approvals.

Thus, under Grable, the State’s trespass claim presents substantial federal questions regarding

federal control over U.S. and international waters and the functioning of federal agencies like the

U.S. Army Corps of Engineers and the National Oceanic and Atmospheric Agency, which have

been assigned by Congress to address the issue of sea level rise. Navigable waters are thus a

necessary part of the State’s trespass claim and whether a state lawsuit can assert control over the

navigable waters is a question of federal law.

        159.    The State’s complaint makes clear that the navigable waters of the United States are

an integral part of its trespass claim and that one purpose of the lawsuit is to reduce sea level rise

by reducing the production, sale and use of fossil fuels. See Compl. ¶ 2 (alleging that greenhouse

gases have “substantially contributed to . . . ocean warming, ocean acidification, melting polar ice

caps and glaciers . . . and sea level rise”); ¶ 10 (alleging “the average sea level has already risen and

will continue to rise substantially along Delaware’s coast, causing flooding, inundation, saltwater

intrusion, erosion, dial wetland losses, and beach loss”); ¶ 250 (alleging Defendants trespassed on

the State by, inter alia, causing “floodwaters . . . [and] saltwater encroachment” in Delaware).

Plaintiff attributes this flooding to Defendants’ oil and gas production activities, and to remedy their

trespass claim, Plaintiff asks the Court for damages and to enjoin Defendants from contributing to

sea level rise and otherwise “trespassing” on the State. See Compl. ¶¶ 251–52; id. at p. 217 (Prayer

for Relief).




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       160.    It has been settled law for nearly two hundred years that the federal government has

exclusive jurisdiction over the navigable waters of the United States. In 1845, Congress expanded

federal maritime jurisdiction beyond the traditional understanding of waters within “the ebb and

flow of the tide” to include “certain cases upon the lakes and navigable waters connecting the

same.” Act of February 26, 1845, ch. 20, 5 Stat. 726. The Supreme Court affirmed the statute’s

constitutionality, overruling earlier decisions restricting federal maritime jurisdiction to tide waters.

The Propeller Genesee Chief v. Fitzhugh, 53 U.S. (12 How.) 443, 457 (1852) (finding that “the

ground that the lakes and navigable waters connecting them are within the scope of admiralty and

maritime jurisdiction, as known and understood in the United States when the Constitution was

adopted”). Since Genesee Chief, the Court has repeatedly recognized the federal government’s

“exclusive jurisdiction over the navigable waters of the United States.” Davenport & N.W. Ry. Co.

v. Renwick, 102 U.S. 180 (1880); see also Gibbons v. Ogden, 22 U.S. (9 Wheat.) 1, 22 (1824)

(finding Congress has authority to regulate navigation under Commerce Clause and explaining “It

is a common principle, that arms of the sea, including navigable rivers, belong to the sovereign, so

far as navigation is concerned. . . . The United States possess the general power over navigation,

and, of course, ought to control, in general, the use of navigable waters.”). The constitutional

question whether the navigable waters of the United States can be employed as the instrument of

incursion in a state trespass action is a substantial question of federal law. See Grable, 548 U.S. at

312–13; Smith v. Kansas City Title & Tr. Co., 255 U.S. 180, 199 (1921) (finding federal jurisdiction

where state law claim had embedded constitutional question).

       161.    The statutory scheme surrounding the navigable waters of the United States also

indicates exclusive federal jurisdiction. Under the Clean Water Act, Congress granted the U.S.

Army Corps of Engineers (“Corps”) exclusive authority to issue permits for filling or dredging and




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the U.S. Environmental Protection Agency with authority to issue permits for ocean discharge (or

to delegate discharge permit authority to the states subject to EPA oversight). 33 U.S.C. §§ 1342,

1343, 1344. Likewise, Congress granted expansive control to the Corps in the Rivers and Harbors

Act, authorizing the Corps to control the construction of any obstructions in navigable waters. 33

U.S.C. § 403 et seq. The U.S. Coast Guard has broad legal authorities associated with maritime

transportation, hazardous material shipping, bridge administration, oil spill response, vessel

construction and operation, and safeguarding fisheries and marine protected resources. See, e.g.,

14 U.S.C. §§ 101, 522; 33 U.S.C. § 1321. The National Oceanic Atmospheric Administration has

authority to manage the nation’s coastal resources and administer the Coastal Zone Management

Act of 1972. 16 U.S.C. § 1451 et seq. Congress has clearly given federal agencies exclusive

authority over management of the navigable waters.

       162.     Congress has also specifically tasked the Corps with studying and addressing issues

of sea level rise within the navigable waters. For example, the Corps is given authority to

“investigate, study, plan, and implement structural and nonstructural measures for the prevention

or mitigation of shore damages attributable to Federal navigation works.” Id. § 426i(a). Subject to

this authority, the Corps has developed its own programs for responding to rising navigable waters.

U.S.     Army       Corps      of     Eng’rs,      Climate      Preparedness      and      Resilience,

https://www.usace.army.mil/corpsclimate/; see also Dick Decl., Ex. 51 (U.S. Army Corps of

Eng’rs, Eng’g Circular 1105-2-186, Planning Guidance on the Incorporation of Sea Level Rise

Possibilities in Feasibility Studies (Apr. 21, 1989)) (providing “guidance for incorporating the

effects of possible changes in relative sea level in Corps of Engineers feasibility studies”).

Plaintiff’s trespass claim and its allegations that rising sea levels have not been sufficiently abated




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are thus a challenge to the reasonableness and efficacy of the Corps’ decisions in developing its

programs.

       163.    As in Grable itself and similar cases, the sufficiency of the Corps’ response to sea

level rise must be evaluated in federal court. Before a court can adjudicate the merits of the

Plaintiff’s trespass claim, it must decide whether a state tort claim for invasion of real property by

the navigable waters interferes with the statutory authority and programs of the Army Corps and

other federal agencies. Given the federal government’s exclusive constitutional authority over the

navigable waters, can a state court adjudicate a trespass claim based upon the incursion of those

waters and enjoin the incursion? This is a question that precedes merits adjudication of Plaintiff’s

trespass claim and one that should be decided in federal court. That question is a substantial one,

it is “actually disputed” in this case, and adjudicating an issue regarding the navigable waters of the

United States in federal court obviously will not upset the balance between the state and federal

courts. Grable, 545 U.S. at 314.

       164.    Claims that turn on the interpretation of federal treaties are removable under Grable.

The scope of a treaty “is a matter of federal law and federal treaty interpretation, and must be

determined from an examination of the four corners of the treaty.” Maugnie v. Compagnie

Nationale Air France, 549 F.2d 1256, 1258 (9th Cir. 1977); see also Horton v. Toyota Tech. Ctr.,

U.S.A., Inc., 1991 WL 333722, at *2 (C.D. Cal. Dec. 2, 1991) (claims raised “substantial questions

of federal law” because the “allegations necessarily require interpretation of the FCN Treaty”).

       165.    Plaintiff’s claims necessarily involve the interpretation of treaties that address the

global emission of greenhouse gases. The Complaint repeatedly ties the claims to climate change

and its alleged consequences. The Complaint recites reports and analyses that discussed the

potential link between climate change and rising sea levels. E.g., Compl. ¶¶ 62–102. And the




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Complaint’s theory of causation for all its claims is clear: use of Defendants’ products causes CO2

emissions and those emissions cause climate change, which in turn cause sea level rise. See id. ¶¶

4–5, 141.

       166.    The Complaint advances claims based on the contention that greenhouse gas

emissions are a public nuisance. A public nuisance is defined as an “activity which produces some

tangible injury to neighboring property or persons coming into contact with it and which a court

considers to be objectionable under the circumstances.” State ex rel. Jennings v. Purdue Pharma

L.P., 2019 WL 446382, at *11 (Del. Super. Feb. 4, 2019). As noted above, under Delaware law,

public nuisance claims require a plaintiff to prove that the defendant’s conduct is “unreasonable.”

Patton, 626 A.2d at 855 n.8. “‘[R]easonableness’ is determined by balancing the seriousness of the

inconvenience, annoyance or harm produced by the complained of use against the fitness or ‘utility

of the use causing the harm.” Fenton v. Longwill, 1987 WL 19559, at *3 (Del. Ch. Nov. 5, 1987).

Resolving whether Defendants’ conduct is “unreasonable” or “objectionable” will require a court

to impermissibly second guess the balancing the federal government has or will undertake in

entering international treaties and agreements with respect to greenhouse gas emissions and global

climate change.

       167.    Multiple federal treaties directly address the global emission of greenhouse gases.

A 1989 United Nations resolution called for coordinated action because climate change would

contribute to “the potential global problem of sea-level rise.” See G.A. Res. 44/206 ¶ 1 (Dec. 22,

1989). In 1992, many countries (including the United States) signed the United Nations Framework

Convention on Climate Change. That treaty required each signatory to, among other things, “adopt

national policies and take corresponding measures on the mitigation of climate change, by limiting

its anthropogenic emissions of greenhouse gases.” See UNFCCC Art. IV(2)(a) (May 9, 1992). The




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Paris Accord recently imposed similar obligations. After recognizing the “importance of ensuring

the integrity of all ecosystems, including oceans,” the treaty required signatories to commit to

“[h]old[] the increase in the global average temperature to well below 2°C above pre-industrial

levels.” Paris Accord, T.I.A.S. No. 16-1104 Art. II(1)(a) (Nov. 4, 2016). Notably, the Paris Accord

explicitly balanced concerns about public health against continued economic growth—the same

kind of balancing called for by Delaware nuisance law. See id. Art. IV(19) (not requiring

developing countries to reduce emissions as quickly because the emission standards must “tak[e]

into account their common but differentiated responsibilities and respective capabilities, in the light

of different national circumstances”); id. Art. IX(4) (provision about financial resources “should

aim to achieve a balance between adaptation and mitigation, taking into account country-driven

strategies, and the priorities and needs of developing country Parties” (emphasis added)).

       168.    After first signing the Paris Accord, the United States opted out because of the

domestic costs of implementing the treaty’s obligations. See Statement by President Trump on the

Paris Climate Accord (June 1, 2017), https://bit.ly/3nmgh29. The United States decided to leave

the Paris Accord in part because it believed that the treaty wrongly balanced economic growth

against environmental conservation: “[W]e as a nation do it better than anyone in the world in

striking the balance between growing our economy, growing jobs while also being a good steward

of our environment.” Id. Plaintiff’s nuisance claims effectively seek to undo the United States’

balancing of interests that led it to leave the Paris Accord.

       169.    Adjudicating Delaware’s public nuisance claim may require the state court to re-

evaluate the policy considerations that motivated the federal government’s withdrawal from the

Paris Accord, including the proper balance to be struck between the objectives of limiting




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greenhouse gas emissions, reducing sea level rise, and growing the economy. This is a federal issue

that is disputed and substantial.

        170.    Plaintiff’s Complaint also raises substantial federal issues because the asserted

claims necessarily encompass issues of foreign policy and carefully balanced regulatory

considerations at the international level, including the foreign affairs doctrine. Plaintiff’s claims

expressly challenge and seek to govern extraterritorial conduct, thereby implicating the foreign-

policy prerogatives of the federal government’s executive branch as to climate change and energy

security treaties. Such claims are inherently federal in nature: “an issue concerned with . . . ordering

our relationships with other members of the international community must be treated exclusively

as an aspect of federal law.” Sabbatino, 376 U.S. at 425 (1964); see also United States v.

Belmont, 301 U.S. 324, 331 (1937) (“[T]he external powers of the United States are to be exercised

without regard to state laws or policies. . . . [I]n respect of our foreign relations generally, state lines

disappear.”); Hines v. Davidowitz, 312 U.S. 52, 63 (1941) (“Our system of government . . . requires

that federal power in the field affecting foreign relations be left entirely free from local

interference.”).

        171.    Accordingly, Plaintiff’s claims necessarily raise a substantial federal question that

is appropriate for federal court resolution because they implicate issues of foreign relations that are

committed to the federal government and exclusively governed by federal law. See, e.g., Republic

of Philippines, 806 F.2d at 346, 352–54 (nominally state-law claim “arises under federal law” when

it “necessarily require[s] determinations that will directly and significantly affect American foreign

relations”); Torres v. S. Peru Copper Corp., 113 F.3d 540, 542–43 (5th Cir. 1997) (“[S]tate-law

tort claims” arose under federal law because they “raise[d] substantial questions of federal common

law by implicating important foreign policy concerns.”).




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       172.    Through this action, Plaintiff seeks to regulate greenhouse gas emissions worldwide,

far beyond the borders of Delaware or even the United States. The remedies Plaintiff seeks—an

injunction, paired with other equitable relief and massive damages that would halt or drastically

reduce fossil fuel production, see Compl. ¶ 263; id. at p. 217 (Prayer for Relief)—contravenes and

threatens to undermine U.S. energy security policy, including through international trade policy and

treaties. For example, in 1959, President Dwight D. Eisenhower invoked statutory authority to

proclaim quotas on imports of petroleum and petroleum-based products into the United States “to

avoid discouragement of and decrease in domestic oil production, exploration and development to

the detriment of national security.” Proclamation No. 3279, 24 Fed. Reg. 1781 (Mar. 12, 1959);

see Act of July 1, 1954, 68 Stat. 360, ch. 445, § 2, as amended by Pub. L. No. 85-686 § 8(a), 72

Stat. 678 (1958). The import system was “mandatory” and “necessary” to “preserve to the greatest

extent possible a vigorous, healthy petroleum industry in the United States” and to regulate

“patterns of international trade.” Statement by the President Upon Signing Proclamation Governing

Petroleum       Imports,       1      Pub.       Papers       240       (Mar.       10,      1959),

https://quod.lib.umich.edu/p/ppotpus/4728423.1959.001/286?rgn=full+text;view=image;q1=great

est+extent+possible. President Eisenhower further explained United States foreign and domestic

policy: “Petroleum, wherever it may be produced in the free world, is important to the security, not

only of ourselves, but also of the free people of the world everywhere.” Id. After the 1973 oil

embargo, the United States signed a treaty that requires member countries of the International

Energy Agency to hold emergency oil stocks—through government stocks or industry-obligated

stocks—equivalent to at least ninety days of net oil imports. See Agreement on an International

Energy Program art. 2, Nov. 18, 1974, 1040 U.N.T.S. 271. The United States meets part of its

obligation through government-owned stocks held in the U.S. Strategic Petroleum Reserve. See,




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e.g., 42 U.S.C. § 6231(b); Nat’l Energy Policy Dev. Grp., National Energy Policy 8-17, (2001),

https://www.nrc.gov/docs/ML0428/ML042800056.pdf. Plaintiff’s claims infringe on the federal

government’s environmental, trade, and energy policies that require the United States to speak with

one voice in coordinating with other nations.

       173.    Plaintiff also seeks to second-guess diplomatic efforts to address climate change.

For example, Plaintiff contends that Defendants engaged in a campaign to undermine national and

international efforts, like the Kyoto Protocol and Paris Accord, to rein in greenhouse gas emissions.

Compl. ¶¶ 125(a), 129. Plaintiff apparently believes that the United States should have adopted a

different foreign policy, and that it would have done so had Defendants acted differently. But “[n]o

State can rewrite our foreign policy to conform to its own domestic policies. Power over external

affairs is not shared by the States; it is vested in the national government exclusively. It need not

be so exercised as to conform to state laws or state policies whether they be expressed in

constitutions, statutes, or judicial decrees.” Pink, 315 U.S. at 233. States have no authority to

impose remedial schemes or regulations to address what are matters of foreign affairs. Americans

United for Separation of Church & State v. Reagan, 786 F.2d 194, 199 (3d Cir. 1986) (“The power

in question—the conduct of foreign affairs—is not only vested in the Government of the United

States, but is vested exclusively so.”). Yet Plaintiff seeks to replace international negotiations and

congressional and executive decisions with its own preferred foreign policy, using the ill-suited

tools of equitable relief under Delaware common law and private litigation in a state court. When

states have enacted laws seeking to supplant or supplement foreign policy, the Supreme Court has

held that state law can play no such role. See Crosby v. Nat’l Foreign Trade Council, 530 U.S.

363, 375–81 (2000); Am. Ins. Ass’n v. Garamendi, 539 U.S. 396, 420–24 (2003).




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       174.    To adjudicate these purported state-law claims, a court must answer the antecedent

federal constitutional issue whether such claims can exist under our constitutional structure. Of

course, substantial constitutional issues embedded in a state-law claim justify removal under

Grable. Indeed, the Grable Court cited Smith v. Kansas City Title & Trust Co., 255 U.S. 180

(1921), as the “classic example” of substantial-question removal. Grable, 545 U.S. at 312. The

Grable Court noted that in Smith, “[a]lthough Missouri law provided the cause of action, the Court

recognized federal-question jurisdiction because the principal issue in the case was the federal

constitutionality of the bond issue.” Id. Here, the issue of whether a state-law claim for worldwide

greenhouse gas emissions and the global effects of climate change exists at all is a substantial

federal question that must be decided by a federal court. Relatedly, because the Complaint relies

upon and challenges Defendants’ ability to petition the government—much of which occurs on

federal enclaves in the District of Columbia—it necessarily raises substantial federal and

constitutional issues that must be decided in resolving Plaintiff’s claims.

       175.    A court would also need to evaluate whether the federal government exercised its

authority over navigable waters reasonably over the past several decades. For example, the Army

Corps of Engineers has considered potential impacts of sea-level change in its planning activities

since 1989. See, e.g., Dick Decl., Ex. 51 (Engineering Circular 1105-2-186); id. Ex. 52 (U.S. Army

Corps of Engineers, Technical Letter 1100-2-1, Procedures to Evaluate Sea Level Change: Impacts,

Responses and Adaptation (June 30, 2014)).

       176.    Plaintiff’s nuisance claims are grounded on alleged past and future “sea level rise,”

which Plaintiff alleges endangers its property and infrastructure, causing coastal flooding of low-

lying areas, damage or destruction of assets and roads located within the coastal high hazard area,

erosion, and storm surges. Compl. ¶ 228(a)–(b). Because Plaintiff alleges that the comprehensive




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regulatory scheme Congress established to address these very issues failed to prevent its injuries,

its Complaint challenges—and necessarily requires evaluation of—a federal regulatory scheme and

the adequacy of past federal decision-making under that scheme. This gives rise to federal question

jurisdiction. Levee Board, 850 F.3d at 724 (finding that, in the context of a comprehensive

regulatory scheme, nuisance claims amount to “a collateral attack . . . premised on the notion that

the scheme provides inadequate protection” (alteration omitted)); Pet Quarters, Inc., 559 F.3d at

779 (holding complaint “presents a substantial federal question because it directly implicates

actions taken by” a federal agency); McKay v. City and Cnty. of San Francisco, 2016 WL 7425927,

at *4 (N.D. Cal. Dec. 23, 2016) (denying remand and ruling that federal jurisdiction lies under

Grable because state-law claims were “tantamount to asking the Court to second guess the validity

of the FAA’s decision”); Bader Farms, 2017 WL 633815, at *3 (denying remand and ruling that

federal jurisdiction lies under Grable because “the outcome . . . necessarily depends on the

interpretation and application of the federal regulatory process”).

VIII. THE ACTION IS REMOVABLE BECAUSE IT IS COMPLETELY PREEMPTED
      BY FEDERAL LAW

       177.    Separate and distinct from the bases for removal addressed above, this Court also

has original jurisdiction over this lawsuit for the independent and separate reason that Plaintiff

requests relief that would alter or amend the rules regarding interstate—and even international—

regulation of greenhouse gas emissions. Accordingly, this action is completely preempted by

federal law.

       178.    The Supreme Court has held that a federal court will have jurisdiction over an action

alleging only state-law claims where the “extraordinary pre-emptive power [of federal law]

converts an ordinary state common law complaint into one stating a federal claim for purposes of

the well-pleaded complaint rule.” Metro. Life Ins. Co. v. Taylor, 481 U.S. 58, 65 (1987). A state-



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law cause of action is preempted by a federal statute when the “pre-emptive force of the statute is

so ‘extraordinary’ that it ‘converts an ordinary state common-law complaint into one stating a

federal claim for purposes of the well-pleaded complaint rule.’” Caterpillar Inc. v. Williams, 482

U.S. 386, 393 (1987); see also Franchise Tax Bd. of State of Cal. v. Constr. Laborers Vacation Tr.

for S. California, 463 U.S. 1, 23 (1983) (“[P]reemptive force . . . is so powerful as to displace

entirely any state cause of action.”).

       179.    Applying state law to the inherently transnational activity challenged by the

Complaint would inevitably intrude on the foreign affairs and foreign commerce powers of the

federal government and is completely preempted. See Garamendi, 539 U.S. at 418 (“[S]tate action

with more than incidental effect on foreign affairs is preempted, even absent any affirmative federal

activity in the subject area of the state [action], and hence without any showing of conflict.”); see

also California v. Gen. Motors Corp., 2007 WL 2726871, at *14 (N.D. Cal. Sept. 17, 2007)

(dismissing claims against automakers because the federal government “ha[s] made foreign policy

determinations regarding the United States’ role in the international concern about global

warming,” and a “global warming nuisance tort would have an inextricable effect on . . . foreign

policy”).

       180.    In addition, Plaintiff’s claims are completely preempted by the Clean Air Act. For

instance, a state-law cause of action may be completely preempted where a federal statutory scheme

“provide[s] the exclusive cause of action for the claim asserted and also set[s] forth procedures and

remedies,” Beneficial Nat’l Bank v. Anderson, 539 U.S. 1, 8 (2003), and the state-law cause of

action falls within the scope of the federal cause of action, including where it “duplicates,




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supplements, or supplants” that cause of action, Aetna Health Inc. v. Davila, 542 U.S. 200, 209

(2004). 169

         181.    Both requirements for complete preemption are present here. Among other things,

Plaintiff’s Complaint seeks “abatement” of a nuisance it alleges Defendants have caused—namely,

global climate change resulting in a rise in sea levels, an increase in the frequency and intensity of

drought, an increase in the frequency and intensity of precipitation events, an increase in the

frequency and intensity of heat waves and extreme temperatures, and the associated consequences

of those physical and environmental changes. See, e.g., Compl. ¶¶ 228, 263. It is indisputable that

Plaintiff’s Complaint does not seek relief only as to Defendants’ intrastate activities in Delaware,

but also Defendants’ activities far beyond the borders of Delaware and even the borders of the

United States. Under Plaintiff’s theory, its alleged injuries could have been avoided, and could be

abated, only by a nationwide and global reduction in the emission of greenhouse gases. Even

assuming that relief could be ordered against Defendants for the production, marketing, and sale of

oil and gas, which are then combusted by others at a rate Plaintiff claims causes the alleged injuries,

Defendants are entitled to have this claim decided in federal court, because Congress has created a

right of action by which a party can seek the creation or modification of nationwide emission

standards by petitioning the EPA. That federal right of action was designed to provide the exclusive

means for a party to seek nationwide emissions regulations. Any state-law claims to regulate

emissions must be brought under the laws of the source state—and limited to emissions emanating

from that state—which is not the case here. See Ouellette, 479 U.S. at 497. State common law

causes of action based on the interstate emission of greenhouse gases are completely preempted by




169
      As discussed below, a state cause of action may also be completely preempted if it arises under
      federal law. See, e.g., Vaden, 556 U.S. 49.


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the Clean Air Act, which provides the exclusive remedy for regulation of nationwide emissions.

Because Plaintiff’s state-law causes of action would “duplicate[], supplement[], or supplant[]” that

exclusive federal cause of action, they are completely preempted.

       182.    The Clean Air Act provides the exclusive means for regulation of interstate

emissions. The Act establishes a system that deploys federal and state resources to “protect and

enhance the quality of the Nation’s air resources so as to promote the public health and welfare and

the productive capacity of its population.” 42 U.S.C. § 7401(b)(1). At the heart of this system are

the emission standards set by the EPA. Specific Clean Air Act provisions authorize or require

emission standards to be set if certain findings are made, and such standards must comport with the

statutory criteria set by Congress, consistent with the dual goals of the Act. Under the Clean Air

Act, “emissions have been extensively regulated nationwide.” TVA, 615 F.3d at 298; see also

United States v. EME Homer City, 823 F. Supp. 2d 274, 297 (W.D. Pa. 2011) (finding that the CAA

and the Pennsylvania Air Pollution Control Act preempted state common law nuisance claims,

citing TVA: “where Congress has chosen to grant states an extensive role in the Clean Air Act’s

regulatory regime through the SIP and permitting process, field and conflict preemption principles

caution at a minimum against according states a wholly different role and allowing state nuisance

law to contradict joint federal-state rules so meticulously drafted”). Regulation of greenhouse gas

emissions, including carbon dioxide, is governed by the Clean Air Act, see Massachusetts, 549 U.S.

at 528–29, and the EPA has regulated these emissions under the Act, see, e.g., 40 C.F.R.

§§ 51.166(b)(48), 52.21(b)(48) (regulation of greenhouse gases through the Act’s prevention of

significant deterioration of air quality permitting program); 77 Fed. Reg. 62,624 (Oct. 15, 2012)

(regulation of greenhouse gas emissions from light-duty motor vehicles); 81 Fed. Reg. 73,478 (Oct.

25, 2016) (regulation of greenhouse gas emissions from medium- and heavy-duty engines and




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motor vehicles). The State of Delaware could certainly petition the EPA for a rulemaking, and, if

that petition were denied, bring a claim similar to that in Massachusetts; but it cannot circumvent

the exclusive federal regulatory regime by bringing the claims it asserts here, which effectively seek

to regulate national greenhouse gas emissions. See Massachusetts, 549 U.S. at 510; see also e.g.,

Flyers Rights Educ. Fund, Inc. v. Fed. Aviation Admin., 864 F.3d 738, 743 (D.C. Cir. 2017).

       183.    Plaintiff’s claims also seek to review the actions of the EPA outside of the judicial

review provisions of the Clean Air Act and the Administrative Procedure Act, which place judicial

review of EPA actions exclusively in the federal courts. Under Plaintiff’s nuisance theories, a state

court would, in essence, sit in review of the EPA’s regulatory decisions on both stationary and

mobile sources of greenhouse gas emissions.

       184.    Congress manifested a clear intent that judicial review of Clean Air Act matters must

take place in federal court. 42 U.S.C. § 7607(b). Thus, the federal courts review EPA regulation

of greenhouse gases under the Administrative Procedure Act. That jurisdiction is exclusive, and a

state court cannot sit in judgment of EPA policy decisions. 42 U.S.C. § 7607(e); Commonwealth

of Virginia v. United States, 74 F.3d 517, 523 (4th Cir. 1996) (The CAA “channels review of final

EPA action exclusively to the courts of appeals, regardless of how the grounds for review are

framed.”); New Eng. Legal Found. v. Costle, 666 F.2d 30, 31, 33 (2d Cir. 1981) (“All claims against

the validity of performance standards approved by final decision of the [EPA] must be addressed

to the courts of appeals on direct appeal.”).

       185.    Thus, irrespective of the savings clauses applicable to some other types of claims,

the congressionally mandated statutory and regulatory scheme is the “exclusive” means by which

a party can seek to impose nationwide greenhouse gas emissions standards, and “set[s] forth

procedures and remedies” for parties seeking such relief. Beneficial Nat’l Bank, 539 U.S. at 8.




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Plaintiff’s claims go far beyond what is reserved to the states by the savings clause in the CAA,

which merely permits states to regulate certain emissions within their own borders.

       186.    As noted above, Plaintiff asks the Court to order Defendants to abate nuisances they

are alleged to have caused—namely, global climate change resulting in a rise in sea levels, an

increase in the frequency and intensity of drought, an increase in the frequency and intensity of

precipitation events, an increase in the frequency and intensity of heat waves and extreme

temperatures, and the associated consequences of those physical and environmental changes. See,

e.g., Compl. ¶¶ 5, 228; see also id. ¶ 263 (requesting “abatement of the public nuisance . . .

Defendants have created”).

       187.    According to Plaintiff’s own allegations, the alleged nuisances can be abated only

by an interstate—in fact international—reduction in greenhouse gas emissions. See Compl. ¶ 2

(attributing share of “global” emissions to Defendants); id. ¶ 4 (“Th[e] dramatic increase in

atmospheric CO2 and other greenhouse gases is the main driver of the gravely dangerous changes

occurring to the global climate.”). Indeed, Plaintiff’s allegations purport to show that Defendants

sought to avoid even international regulations of emissions. See id. ¶¶ 125(a), 129 (describing

alleged efforts to encourage the United States to reject the international Kyoto Protocol).

       188.    Plaintiff’s putative state-law tort claims are an end-run around a petition for a

rulemaking regarding greenhouse gas emissions because they seek to regulate nationwide emissions

that Plaintiff does not dispute conform to EPA’s emission standards. See, e.g., San Diego Bldg.

Trades Council v. Garmon, 359 U.S. 236, 247 (1959) (“Even the State’s salutary effort to redress

private wrongs or grant compensation for past harm cannot be exerted to regulate activities that are

potentially subject to the exclusive federal regulatory scheme.”). The claims would require

precisely the cost-benefit analysis of emissions that the EPA is charged with undertaking and would




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directly interfere with the EPA’s determinations. Because Congress has established a clear and

detailed process by which a party can petition the EPA to establish stricter nationwide emissions

standards, Plaintiff’s claims are completely preempted by the Clean Air Act.

       189.    Plaintiff’s claims are also completely preempted because, as explained in Section

IV, they arise under federal law. See Vaden v. Discover Bank, 556 U.S. 49 (2009) (“A complaint

purporting to rest on state law, we have recognized, can be recharacterized as one ‘arising under’

federal law if the law governing the complaint is exclusively federal . . . . Under this so-called

complete preemption doctrine, a plaintiff’s state cause of action may be recast as a federal claim

for relief, making its removal by the defendant proper on the basis of federal question jurisdiction.”

(citation and internal quotation marks omitted)); Beneficial Nat’l Bank, 539 U.S. at 8 n.4 and

accompanying text (recognizing that Oneida Indian Nation v. County of Oneida, 414 U.S. 661, 675

(1974), reflects a non-statutory form of complete preemption based on “the uniquely federal ‘nature

and source of the possessory rights of Indian tribes’”); Caterpillar, 482 U.S. at 393 n.8 (same);

Massachusetts v. Exxon Mobil Corp., 2020 WL 2769681, at *8 (D. Mass. May 28, 2020) (“Just as

a congressional policy may sometimes require the federal cause of action to be exclusive and thus

completely preempt state law, so too the ‘basic scheme of the Constitution’ may sometimes require

an exclusively federal cause of action.”).

IX.    THIS ACTION IS REMOVABLE BECAUSE IT ARISES FROM ACTS ON
       MULTIPLE FEDERAL ENCLAVES

       190.    This Court also has original jurisdiction under the federal-enclave doctrine. The

Constitution authorizes Congress to “exercise exclusive legislation in all cases whatsoever” over

all places purchased with the consent of a state “for the erection of forts, magazines, arsenals, dock-

yards, and other needful buildings.” U.S. Const., art. I, § 8, cl. 17. “A suit based on events occurring




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in a federal enclave . . . must necessarily arise under federal law and implicates federal question

jurisdiction under § 1331.” Jones, 2012 WL 1197391, at *1.

       191.    The “key factor” in determining whether federal enclave jurisdiction exists “is the

location of the plaintiff’s injury or where the specific cause of action arose.” Sparling v. Doyle,

2014 WL 2448926, at *3 (W.D. Tex. May 30, 2014). The “[f]ailure to indicate the federal enclave

status and location of the exposure will not shield plaintiffs from the consequences” of “federal

enclave status.” Fung v. Abex Corp., 816 F. Supp. 569, 571 (N.D. Cal. 1992). Federal jurisdiction

is available if some of the events or damages alleged in the complaint occurred on a federal enclave.

See, e.g., Durham v. Lockheed Martin Corp., 445 F.3d 1247, 1250 (9th Cir. 2006) (finding

defendant was permitted “to remove to federal court” because “some of [plaintiff’s] claims arose

on federal enclaves”); Corley v. Long-Lewis, Inc., 688 F. Supp. 2d 1315, 1336 (N.D. Ala. 2010)

(holding jurisdiction will lie where at least “some of the events alleged . . . occurred on a federal

enclave”).

       192.    In targeting Defendants’ oil and gas operations, Plaintiff necessarily sweeps in those

activities that occur on military bases and other federal enclaves. See, e.g., Humble Pipe Line Co.

v. Waggonner, 376 U.S. 369, 372–74 (1964) (noting that the United States exercises exclusive

jurisdiction over certain oil and gas rights within Barksdale Air Force Base in Louisiana); see also

Miss. River Fuel Corp. v. Cocreham, 390 F.2d 34, 35 (5th Cir. 1968) (on Barksdale Air Force Base,

“the reduction of fugitive oil and gas to possession and ownership[] takes place within the exclusive

jurisdiction of the United States”). Indeed, as of 2000, approximately 14% of the National Wildlife

Refuge System “had oil or gas activities on their land,” and these activities were spread across 22

different states. U.S. Gov’t Accountability Off., GAO-02-64R, U.S. Fish & Wildlife Service:

Information on Oil and Gas Activities in the National Wildlife Refuge System 1 (Oct. 31, 2001),




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http://www.gao.gov/new.items/d0264r.pdf. Furthermore, Chevron and its predecessor companies

for many years engaged in production activities on the Elk Hills Reserve—a strategic oil reserve

maintained by the Naval Department—pursuant to a joint operating agreement with the Navy. See

supra ¶¶ 93–103; Chevron U.S.A., 116 Fed. Cl. at 205.

       193.    In addition, the Complaint relies upon conduct occurring in the District of Columbia,

which is itself a federal enclave. See, e.g., Collier v. District of Columbia, 46 F. Supp. 3d 6, 20 n.8

(D.D.C. 2014); Hobson v. Hansen, 265 F. Supp. 902, 929 n.42 (D.D.C. 1967). Plaintiff claims that

Defendants, and certain industry trade associations, including Defendant American Petroleum

Institute who Plaintiff alleges is “based in the District of Columbia,” Compl. ¶ 37(a), undertook a

“campaign centered on climate change denialism,” id. ¶ 37(b). This campaign allegedly was meant

to “evade regulation of the emissions resulting from [Defendants’] fossil fuel products[.]” Id. ¶ 134.

The Complaint focuses directly on, and seeks to penalize and deter, Defendants’ constitutionally

protected right to petition the government under the First Amendment within the District, making

federal enclave jurisdiction particularly appropriate. See, e.g., id. ¶ 122 (alleging Defendants

created the Global Climate Science Communications Team with “Exxon’s senior environmental

lobbyist” as a member to mirror a tobacco front group intended to “sow uncertainty” and that certain

Defendants, including API, founded the Global Climate Science Communications Team “to sow

doubt and confusion about climate change”). This alleged lobbying activity, the misleading of

federal regulators, and the resulting “under-regulation” of fossil fuels could only occur in the

District of Columbia, where the EPA, the Department of the Interior, the Department of Energy,

the Department of Transportation, the Department of State, Congress, and other departments of the

federal government are located. Because Plaintiff claims that Defendants’ speech within the federal

enclave of the District of Columbia was, among other alleged causes, the basis of its injury, and




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because Plaintiff complains of damages allegedly occurring on federal enclaves, this Court is the

appropriate forum to adjudicate the merits of this dispute.

        194.   While Plaintiff attempts to disclaim injury arising from acts occurring on federal

property, see Compl. ¶ 14, emissions from the combustion of oil and gas cannot be traced to their

source, see AEP, 564 U.S. at 422; Kivalina I, 663 F. Supp. 2d at 880, and thus there is no rational

way for Plaintiff to distinguish between the harms allegedly resulting from conduct on federal

enclaves from those allegedly resulting from conduct at any other location. As such, because

Plaintiff’s claims derive from conduct on or in federal enclaves, this Court may review them.

X.      THIS COURT HAS JURISDICTION UNDER THE CLASS ACTION FAIRNESS
        ACT

        195.   In the alternative, even if properly brought under Delaware law, this Court has

original jurisdiction under the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d), because

Plaintiff seeks to represent a class of Delaware consumers and CAFA’s statutory requirements are

satisfied.

        196.   CAFA permits removal of (i) any “class action” (ii) where minimal diversity exists;

(iii) at least 100 class members are represented; and (iv) “the matter in controversy exceeds the sum

or value of $5,000,000, exclusive of interests and costs.” 28 U.S.C. § 1332(d)(1), (2), (5); Kaufman

v. Allstate N.J. Ins. Co., 561 F.3d 144, 151 n.8 (3d Cir. 2009); see also 28 U.S.C.

§ 1453(b). Each criterion is satisfied here.

        197.   CAFA defines a “class action” as “any civil action filed under rule 23 of the Federal

Rules of Civil Procedure or similar State statute or rule of judicial procedure authorizing an action

to be brought by 1 or more representative persons as a class action.” 28 U.S.C. § 1332(d)(1)(B).

CAFA’s legislative history provides that “the definition of ‘class action’ is to be interpreted

liberally. Its application should not be confined solely to lawsuits that are labelled ‘class actions.’



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Generally speaking, lawsuits that resemble a purported class action should be considered class

actions for the purpose of applying these provisions.” S. Rep. No. 109-14, at 35 (2005), as reprinted

in 2005 U.S.C.C.A.N. 3, 34 (formatting altered); see also Roberts v. Tribeca Auto., Inc., 2018 WL

7575102, at *3 (D.N.J. Dec. 28, 2018) (relying on CAFA’s legislative history to interpret its scope

and noting that “the presumption against removal does not apply to class actions invoking

jurisdiction under the Class Action Fairness Act”). In other words, CAFA permits removal of a

suit that is “in substance a class action” notwithstanding a plaintiff’s “attempt to disguise the true

nature of the suit.” Addison Automatics, Inc. v. Hartford Cas. Ins. Co., 731 F.3d 740, 742 (7th Cir.

2013); see, e.g., Williams v. Emps Mut. Cas. Co., 845 F.3d 891, 901–02 (8th Cir. 2017); Song v.

Charter Commc’ns, Inc., 2017 WL 1149286, at *1 n.1 (S.D. Cal. Mar. 28, 2017).

       198.    Notably, Congress did not exempt actions by attorneys general from CAFA. To the

contrary, Congress rejected an amendment proposing such an exemption. See 151 Cong. Rec.

S1,157-65 (daily ed. Feb. 9, 2005) (statement of Sen. Mark Pryor).

       199.    Although Plaintiff’s Complaint did not label it as such, this action meets CAFA’s

broad definition of a class action because it is a “representative suit[] on behalf of [a] group[] of

persons similarly situated”—Delaware consumers. 1 Alba Conte & Herbert B. Newberg, Newberg

on Class Actions § 1.1 (4th ed. 2002). One of Plaintiff’s central theories is that Defendants “ma[de]

misrepresentations and omissions to Delaware consumers and fail[ed] to warn them about the

disastrous effects of fossil fuel use.” Compl. ¶ 46(b) (emphasis added). The Complaint alleges

efforts by Defendants to mislead Delaware consumers, and the injuries suffered by Delaware

consumers. See, e.g., id. ¶ 212 (“By misleading Delaware consumers about the climate impacts of

using fossil fuel products, even to the point of claiming that certain of their products may benefit

the environment, and by failing to disclose to consumers the climate risks associated with their




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purchase and use of those products, Defendants have deprived and are continuing to deprive

consumers of information about the consequences of their purchasing decisions.” (emphasis

added)); ¶ 268 (“Defendants had a duty to disclose . . . information to Delaware consumers in order

to prevent their advertising and marketing statements from being misleading.” (emphasis added));

¶ 269 (same); ¶ 270 (Defendants “widely disseminated marketing materials, refuted the scientific

knowledge generally accepted at the time, advanced and promoted pseudo-scientific theories, and

developed public relations materials that prevented reasonable consumers, including those in

Delaware, from recognizing or discovering the latent risk that . . . Defendants’ fossil fuel products

would cause grave climate changes” (emphasis added)); id. (Defendants’ alleged “practices had a

tendency to deceive consumers and the public, including . . . Delaware residents” (emphasis

added)); ¶ 271 (Defendants “misrepresented material facts to Delaware consumers about the

environmental impacts of their products” (emphasis added)); ¶ 273 (“Delaware consumers have

sustained and will sustain substantial expenses and damages” that “have occurred as the direct and

natural consequence of Delaware consumers’ and other consumers’ reliance upon . . . Defendants’

misleading statements and omissions to continue purchasing and using fossil fuel products.”

(emphasis added)).

       200.    Minimal diversity is present here, too. See 28 U.S.C. § 1332(d)(2)(A) (requiring

that “any member of a class of plaintiffs” be “a citizen of a State different from any defendant”).

This suit seeks to represent Delaware consumers, at least one of which, on information and belief,

is a citizen of Delaware. See, e.g., Compl. ¶ 271. Several Defendants are not citizens of—i.e., are

neither incorporated nor have their principal place of business in—Delaware. See, e.g., Compl.

¶ 21(a) (BP P.L.C. is “registered in England and Wales with its principal place of business in




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London, England”); id. ¶ 22(e) (Chevron U.S.A. is “a Pennsylvania corporation with its principal

place of business located in San Ramon, California”); see also 28 U.S.C. § 1332(c)(1).

         201.    The numerical threshold for CAFA jurisdiction is satisfied here because the number

of Delaware consumers plainly exceeds 100. See 28 U.S.C. § 1332(d)(5)(B); U.S. Census Bureau,

Quick Facts: Delaware (July 1, 2019), https://www.census.gov/quickfacts/Delaware (estimating

the Delaware population at 973,764).

         202.    Although the Complaint does not allege a specific amount in controversy, the

Complaint’s allegations demonstrate that CAFA’s $5,000,000 threshold is satisfied as well. See 28

U.S.C. § 1332(d)(2). In noticing removal, a defendant need only include a “plausible allegation

that the amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee, 574 U.S. at

89. Here, the Complaint alleges that Defendants are liable for a sweeping pattern of deception

through countless communications with consumers for more than 50 years, and seeks relief

including compensatory and punitive damages, as well as penalties in the amount of $10,000 per

alleged willful violation of the DCFA. 170 See Compl. § VI. Plaintiff also seeks the cost of its suit

and attorney’s fees, which are likely to be in the millions of dollars. See Verma v. 3001 Castor,

Inc., 937 F.3d 221, 227–28 (3d Cir. 2019).

         203.    Finally, CAFA’s interests are best served by litigating this case in federal court.

CAFA’s “primary objective” is to “ensure Federal court consideration of interstate cases of national

importance.” Dart Cherokee, 574 U.S. at 89; accord Pub. L. No. 109-02, § 2(b)(2), 119 Stat. 4, 5

(2005). The “Framers were concerned that state courts might discriminate against interstate


170
      Defendants do not concede—and in fact deny—that Plaintiff is entitled to any of the relief it
      seeks. A plaintiff’s claim “fixes the right of the defendant to remove” whether “well or ill-
      founded in fact.” St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 294 (1938); see
      also 14B Wright & Miller, supra § 3702.1 (“[A] defendant who seeks to prove that the amount
      in controversy is greater than the jurisdictional amount does not automatically concede that the
      jurisdictional amount is recoverable.”).


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businesses and commercial activities, and thus viewed diversity jurisdiction as a means of ensuring

the protection of interstate commerce.” S. Rep. No. 109-14, at 8; see generally John P. Frank,

Historical Bases of the Federal Judicial System, 13 Law & Contemp. Probs. 3, 22-28 (1948).

        204.    Prior to CAFA’s enactment, however, plaintiffs were able to “game the procedural

rules and keep nationwide or multi-state class actions in state courts.” S. Rep. No. 109-14, at 4.

The state courts in which these nationwide cases were brought were effectively “invite[d]” to

“dictate to 49 others what their laws should be on a particular issue, thereby undermining basic

federalism principles.” Id. at 24. To Congress, that was untenable. “[A] system that allows state

court judges to dictate national policy” from the “local courthouse steps is contrary to the intent of

the Framers when they crafted our system of federalism.” Id. As Congress “firmly believe[d]” that

such “interstate class actions . . . properly belong in federal court,” it enacted CAFA “to ensure that

qualifying interstate class actions initially brought in state courts may be heard by federal courts if

any of the defendants so desire.” Id. at 5.

        205.    This is exactly the type of case Congress did not want to slip through the cracks—

resulting in an outsized impact on all other states based on the dictates of a single state court. This

suit is a thinly veiled assault on the national (and international) oil and gas industry, and directly

implicates the entire patchwork of relevant federal legislation and regulation. It is merely one of

many coordinated suits brought by attorneys general, municipalities, and climate activists, who

have stated clearly that they intend to use targeted litigation, such as this suit, in a concerted effort

to stymie the operation of the oil and gas industry. Such a backdoor attempt to affect and supplant

federal regulation of the oil and gas industry deserves a federal forum.




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         206.   In sum, CAFA jurisdiction is proper because this suit is in substance a “class action”

on behalf of more than 100 purported class members, for which there is (greater than) minimal

diversity, and an amount in controversy in excess of $5,000,000.

XI.      PLAINTIFF’S CONCEALMENT ALLEGATIONS ARE IRRELEVANT AND
         BASED ON DEMONSTRABLY FALSE PREMISES

         207.   The Complaint necessarily implicates the production, sale and use of oil and gas

and, therefore, this action belongs in federal court for the reasons discussed above. Plaintiff’s

fictionalized account of Defendants’ supposed “concealment” and “misrepresentations” does not

change the jurisdictional analysis, and should be recognized for what it is: a baseless and strained

attempt to evade the jurisdiction of federal courts.

         208.   Faced with insurmountable precedent foreclosing it from pursuing the precise type

of policy-setting relief it seeks in federal court, 171 Plaintiff has labeled its claims as sounding in

state common law under a theory purportedly focused on concealment and misrepresentation. But,

Plaintiff’s claims do not and cannot rest solely on alleged misrepresentations; they instead rise and

fall on a chain of causation linking all of Defendants’ production and sale of oil and gas to global

climate change and the allegedly resulting harms for which Plaintiff seeks relief. Production and

consumption are critical links in Plaintiff’s causal chain: Plaintiff claims that Defendants’ alleged

misrepresentations led to sustained or increased demand, production, and consumption of oil and

gas, which led to increased emissions, which led to global climate change, causing Plaintiff’s

alleged injuries. Plaintiff itself places production of oil and gas in the (tenuous) causal chain

between Defendants’ alleged misrepresentations and Plaintiff’s alleged harm. And, as explained

above, Plaintiff seeks sweeping relief—including compensatory damages, abatement, and



171
      See, e.g., AEP, 564 U.S. at 421–22; Native Village of Kivalina v. ExxonMobil Corp., 696 F.3d
      849, 855–58 (9th Cir. 2012); Standard Oil, 332 U.S. at 305–06.


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injunctive relief—based not only on Defendant’s alleged misrepresentations, but also on global

production and consumption of oil and gas over several decades.

         209.   Moreover, Plaintiff’s concealment and misrepresentation allegations ignore the vast

public record establishing that the risks of climate change, including its potential impacts on

Delaware, have been known and discussed publicly for decades. The reality is that the world has

known for decades that the combustion of fossil fuels releases greenhouse gases into the

atmosphere, which may contribute to global warming and climate change. In fact, scientists have

reported these effects since the nineteenth century. In 1896, Svante Arrenhius reported that “if the

quantity of carbonic acid increases in geometric progression, the augmentation of the temperature

will increase nearly in arithmetic progression.” 172 Similarly, in 1938, G.S. Callendar observed that

“the increase in mean temperature, due to the artificial production of carbon dioxide, is estimated

to be at the rate of 0.003°C per year at the present time.” 173

         210.   By the early 1950s, the potential link between fossil fuel use and climate change had

been reported. For example, in 1953, popular media publications, including the New York Times,

the Washington Post, Time Magazine, and Popular Mechanics, as well as Delaware newspapers,

reported research concluding that “Earth’s ground temperature is rising 1½ degrees a century as a

result of carbon dioxide discharged from the burning of about 2,000,000,000 tons of coal and oil

yearly.” 174 In 1956, Delaware’s The News Journal quoted Dr. Roger R. Revelle, Director of the



172
      Svante Arrhenius, On the Influence of Carbonic Acid in the Air upon the Temperature of the
      Ground, 41 Philosophical Magazine and Journal of Science 237, 267 (1896).
173
      Dick Decl., Ex. 11 (G.S. Callendar, The Artificial Production of Carbon Dioxide and Its
      Influence on Temperature, 64 Q.J. Royal Meteorological Soc’y 199, 223 (1938)).
174
      Dick Decl., Ex. 64 (Popular Mechanics, Growing Blanket of Carbon Dioxide Raises Earth’s
      Temperature (August 1953); see also id. Ex. 12 (W.K., How Industry May Change Climate,
      N.Y. Times (May 24, 1953)); id. Ex. 13 (Time Magazine, Invisible Blanket (May 25, 1953));
      id. Ex. 14 (Wash. Post, Industrial Gases Warming Up Earth, Physicist Notes Here (May 5,



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Scripps Institution of Oceanography at a House of Representatives Appropriations Subcommittee

hearing, saying: “Fuel-burning man is adding ‘tremendous quantities of carbon dioxide in the air,’

he said, and ‘lots of people’ think this may ‘cause a remarkable change in climate’ by raising

atmospheric temperatures.” 175

         211.   National and Delaware newspapers similarly reported the potential risks of sea level

rise from global warming as early as the 1950s and 60s. For example, in 1957, a front-page article

in the Washington Post titled, “Teller Sees World-Flooding Peril Due to Industrial Overheating,”

reported that prominent nuclear physicist Edward Teller (two years before Teller’s speech to API

referenced in the complaint, Compl. ¶ 64) had noted that “increase[s] in carbon dioxide [are] the

result of the ever mounting uses of fuel energy such as coal, oil and derivatives during the industrial

age” and, as a result, “the ice caps on the poles will begin to melt and the amount of water on the

earth will increase . . . [and] ‘[s]uch places as New York and Holland would be inundated.’” 176 In

1968, The News Journal reported that “increasing air pollution . . . could cause a ‘greenhouse effect’

and trap the sun’s radiation inside the atmosphere so the polar ice caps would melt . . . [which]

would raise the sea level 300 feet and ‘make Delaware a one-county state.’” 177

         212.   The potential impact of climate change was a frequent topic in newspaper articles in

the decades that followed. Searches for “greenhouse effect,” “global warming” or “climate change”

in the Newspapers.com archives for only two Delaware papers, The Morning News and The News



      1953)); id. Ex. 61 (The Morning News, Greater Industrial Activity Creating ‘Greenhouse’ in
      Air (May 5, 1953)).
175
      Dick Decl., Ex. 66 (The News Journal, Storms Now Laid to Man (Mar. 15, 1956)) (emphases
      added).
176
      Dick Decl., Ex. 15 (Wash. Post, at A1 (Dec. 8, 1957) (emphases added) (internal quotation
      marks omitted)).
177
      Dick Decl., Ex. 62 (The News Journal, Ocean Study Value is Stressed (Nov. 15, 1969)).



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Journal, between 1957 and 2000 alone identify more than 1,500 results. 178 The same search in all

U.S. newspapers covered by Newspapers.com between 1957 and 2000 yields more than 350,000

matches. 179 Scientific journals also have published an exponentially growing volume of articles

addressing climate change, with one researcher identifying more than 222,000 published scientific

articles about climate change from 1980 to 2014 alone. 180 Accordingly, Plaintiff’s assertions that

Defendants somehow deceived or concealed the relationship between greenhouse gas emissions

and climate change are belied by this exceptionally long, substantial and robust public discussion

for more than sixty years.

         213.   Plaintiff’s allegations are further undermined by the undisputed fact that the U.S.

government was well aware of the potential link between fossil fuel use and global climate since at

least the 1950s and, in fact, actively encouraged and promoted production of domestic oil and gas

despite such knowledge. Testimony before Congress in 1956 revealed that “[b]ased on figures

given out by the United Nations . . . by the year 2010, we will have added something like 70 percent

of the present atmospheric carbon dioxide to the atmosphere. This is an enormous quantity. . . . [I]t

may, in fact, cause a remarkable change in climate.” 181 Also in 1956, a study funded by the Office

of Naval Research found that “[t]he extra CO2 released into the atmosphere by industrial processes




178
      Search last conducted Oct. 14, 2020.
179
      Id.
180
      Robin Haunschild, Lutz Bornmann & Werner Marx, Climate Change Research in View of
      Bibliometrics, PLOS ONE, July 2016.
181
      Dick Decl., Ex. 16 (Second Supplemental Appropriation Bill: Hearing on H. Doc. 330 Before
      the Subcommittees of the Committee on Appropriations, 84th Cong. 472–73 (1956)) (emphasis
      added).



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and other human activities may have caused the temperature rise during the present century” and

predicted “that this warming trend will continue, at least for several centuries.” 182

         214.    In 1965—more than 20 years before Plaintiff alleges Defendants began their

purported campaign of deception—President Lyndon B. Johnson proclaimed to Congress that

“[t]his generation has altered the composition of the atmosphere on a global scale through

radioactive materials and a steady increase in carbon dioxide from the burning of fossil fuels,” 183

and the President’s Science Advisory Committee explained: “By the year 2000 the increase in

atmospheric CO2 will be close to 25%. This may be sufficient to produce measurable and perhaps

marked changes in climate, and will almost certainly cause significant changes in the

temperature and other properties of the stratosphere.” 184

         215.    President Nixon’s administration also recognized and understood the potential

impacts of climate change. As former Harvard professor and future U.S. Senator Daniel Patrick

Moynihan put it at the time: “It is now pretty clearly agreed that the CO2 content will rise 25% by

2000. This could increase the average temperature near the earth’s surface by 7 degrees Fahrenheit.

This in turn could raise the level of the sea by 10 feet. Goodbye New York. Goodbye Washington,

for that matter.” 185



182
      Gilbert N. Plass, The Carbon Dioxide Theory of Climatic Change, 8 Tellus 140 (1956),
      http://nsdl.library.cornell.edu/websites/wiki/index.php/PALE_ClassicArticles/archives/classic
      _articles/issue1_global_warming/n7._Plass__1956corrected.pdf (emphasis added).
183
      Special Message to the Congress Transmitting Report on the National Wilderness Preservation
      System, 1 Pub. Papers 161 (Feb. 8, 1965), http://www.lbjlibrary.net/collections/selected-
      speeches/1965/02-08-1965.html (emphasis added)
184
      Env’t Pollution Panel, President’s Sci. Advisory Comm., Restoring the Quality of Our
      Environment:       Report     of   the    Environmental    Pollution   Panel     9    (1965),
      https://hdl.handle.net/2027/uc1.b4315678 (emphasis added)
185
      Dick Decl., Ex. 17 (Memorandum from Daniel P. Moynihan for John Ehrlichman, (Sept. 17,
      1969)) (emphasis added).



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         216.    So too did the Carter Administration: A report requested by the Director of the

Office of Science and Technology Policy concluded that “[w]e now have incontrovertible evidence

that the atmosphere is indeed changing and that we ourselves contribute to that change.

Atmospheric concentrations of carbon dioxide are steadily increasing, and these changes are linked

with man’s use of fossil fuels and exploitation of the land.” 186 The report also found that as

“[c]arbon dioxide continues to increase, the study group finds no reason to doubt that climate

change will result and no reason to believe that these changes will be negligible.” 187

         217.    The federal government’s understanding of, and warnings about, the potential link

between fossil fuel use and global climate change continued into the Reagan administration and

beyond. For example, a 1983 EPA report concluded that “[e]vidence continues to accumulate that

increases in atmospheric carbon dioxide (CO2) and other ‘greenhouse’ gases will substantially

raise global temperature” and that its findings “support the conclusion that a global greenhouse

warming is neither trivial nor just a long-term problem” and “call for an expeditious response.”188

A 1983 report from the Carbon Dioxide Assessment Committee concluded that the “increase [in




186
      Climate Research Board, Carbon Dioxide and Climate: A Scientific Assessment (July 23–27,
      1979), https://www.bnl.gov/envsci/schwartz/charney_report1979.pdf (emphases added).
187
      U.S. Env’t Prot. Agency, Can We Delay A Greenhouse Warming? (1983),
      https://nepis.epa.gov/EPA/html/DLwait.htm?url=/Exe/ZyPDF.cgi/9101HEAX.PDF?Dockey=
      9101HEAX.PDF (emphasis added).. Additionally, in 1980, The Global 2000 Report was
      published and a Congressional Hearing Before the Congressional Subcommittee on
      International Economics of the Joint Economic Committee was held to discuss the report. The
      Report found that “[r]ising CO2 concentrations are of concern because of their potential for
      causing a warming of the earth. Scientific opinion differs on the possible consequences, but a
      widely held view was that highly disruptive effects on world agriculture could occur before the
      middle of the twenty-first century.” The Global 2000 Report: Hearing Before the Subcommittee
      on International Economics of the Joint Economic Committee, 96th Cong. 36 (1980),
      https://www.jec.senate.gov/reports/96th%20Congress/The%20Global%202000%20Report%2
      0(998).pdf.
188
      Can We Delay A Greenhouse Warming?, supra note 187 (emphases added).



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atmospheric CO2] is primarily attributable to burning of coal, oil, and gas.” 189 And in 1988,

James Hansen of NASA testified before the Senate—which, according to the Complaint, received

“coverage on the front-page of The New York Times” (Compl. ¶ 106(a))—that “[g]lobal warming

has reached a level such that we can ascribe with a high degree of confidence a cause and effect

relationship between the greenhouse effect and the observed warming.” 190

         218.   Nor were these national warnings lost on Delaware’s governmental representatives,

who were also aware of the potential risks of climate change since at least the 1980s. In 1985,

Delaware’s Representative in Congress, Thomas R. Carpenter, co-sponsored the introduction of

Resolution 338 to Congress, which:        “Request[ed] the President to establish a cooperative

international research program concerning the greenhouse effect of increased concentration of

carbon dioxide and greenhouse gases in the Earth’s atmosphere.” 191 In 1986, then-Senator Joe

Biden sponsored the introduction of the Global Climate Protection Act of 1986. 192

         219.   In short, Plaintiff’s claim that Defendants had exclusive, unique, early, or superior

knowledge about the potential link between fossil fuel use, greenhouse gas emissions, and climate

change is demonstrably false. The vast public record of media articles, scientific journals, and

government reports over the course of the past fifty-plus years makes clear that any claim of

“concealment”—actionable or otherwise—is absurd.




189
      Bd. on Atmospheric Scis. And Climate, Comm’n on Physical Scis., Mathematics, and Res.,
      Nat’l        Rsch.         Council,       Changing        Climate        1      (1983),
      https://download.nap.edu/cart/download.cgi?record_id=18714 (emphasis added).
190
      Greenhouse Effect and Global Climate Change: Hearing Before the Committee on Energy and
      Natural Resources, 134th Cong. 39 (1988) (testimony of Dr. James Hansen),
      https://www.sealevel.info/Hansen.0623-1988_oral.pdf (emphasis added).
191
      H.Con.Res. 338, 99th Cong. (1985).
192
      S.2891, 99th Cong. (1986).


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         220.   To be clear, this long history of public knowledge and discussion about the risk of

global warming from carbon dioxide emissions does not mean, as Plaintiff suggests, that there was

no scientific debate about the causes and potential impacts of climate change. For example, the

U.N. Intergovernmental Panel on Climate Change (IPCC), “the United Nations body for assessing

the science related to climate change,” (Compl. ¶ 42) concluded in 1990 that there was insufficient

data to determine that observed warming trends were due to human activities: “Thus, it is not

possible at this time to attribute all or even a large part of the observed global warming to the

enhanced greenhouse effect on the basis of observational data currently available.” 193 The IPCC

further noted that “[t]here are many uncertainties in our predictions particularly with regard to the

timing, magnitude and regional patterns of climate change due to our incomplete understanding”

of various issues, like the sources of greenhouse gases, clouds, oceans and polar ice sheets. 194 By

1995, the IPCC still had not concluded with certainty that there was a human influence on climate:

“Our ability to quantify the human influence on global climate is currently limited because the

expected signal is still emerging from the noise of natural variability, and because there are

uncertainties in key factors . . . .” 195 Ultimately, the IPCC could only conclude that “the balance of

evidence suggests” that there is a human influence on climate. 196

         221.   It was not until 2001 that the IPCC was willing to state that new evidence indicated

that human activity was “likely” (meaning 66–90% probability) responsible for “most” of the

warming observed: “There is new and stronger evidence that most of the warming observed over



193
      Dick Decl., Ex. 18 (IPCC (1990) at 254).
194
      Dick Decl., Ex. 18 (IPCC (1990) at xii).
195
      Dick Decl., Ex. 19 (IPCC (1995) at 22).
196
      Id.



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the last 50 years is attributable to human activities.” 197 Even that caveated conclusion was

questioned by the National Academies of Science, however, which cautioned that the conclusions

in the IPCC’s 2001 report should not be overstated: “Climate projections will always be far from

perfect. Confidence limits and probabilistic information, with their basis, should always be

considered as an integral part of the information that climate scientists provide to policy and

decision makers. Without them, the IPCC [2001 report] could give an impression that the science

of global warming is ‘settled,’ even though many uncertainties still remain.” 198

         222.   In a report to Congress in 1991 titled “U.S. Efforts to Address Global Climate

Change,” the U.S. Department of State and U.S. EPA, like the IPCC, recognized the risk of climate

change but noted that significant scientific uncertainties remained: “The possibility of global

climate change has become an issue of great concern in the international community and within the

United States. Much is unknown, however, about whether or not such changes have been detected,

when and how they might occur, or what can be done about it. . . . [M]any scientific and economic

uncertainties remain about possible climate change, its impacts, and societal responses. Much

remains to be known about the magnitude and extent of a possible climate change.” 199 In 2002,

even after the IPCC’s report noting the “likely” contribution of human activities to climate change,

EPA’s “Guide to Climate Change” noted: “The Earth’s surface is becoming warmer, and evidence

is mounting that human activities are likely contributing to the warming trend. Still, uncertainties



197
      Dick Decl., Ex. 20 (IPCC (2001) at 10).
198
      Comm. on the Sci. of Climate Change, Div. of Earth & Life Studies, Nat’l Rsch. Council,
      Climate Change Science: An Analysis of Some Key Questions 22 (2001),
      https://www.nap.edu/catalog/10139/climate-change-science-an-analysis-of-some-key-
      questions.
199
      U.S. Env’tl Prot. Agency, U.S. Efforts to Address Global Climate Change 1-2 (1991),
      https://nepis.epa.gov/Exe/ZyPDF.cgi/9101OZWK.PDF?Dockey=9101OZWK.PDF.



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exist about exactly how much of the warming is due to human activities, whether recent temperature

trends are truly outside the range of natural climate variability, and the effect that warming could

have on our climate, lives, and habitat.” 200 In short, the scientific and policy debate about the

causes, timing, impacts, and responses to climate change was occurring in thousands of newspaper

articles, scientific publications, and government reports. Plaintiff’s assertions that Defendants

concealed the truth and “embarked on a decades-long campaign” to fabricate uncertainty ignore the

vast public record and are plainly false. Compl. ¶ 108.

         223.    Yet, despite this public knowledge and the extensive public debate about the risks

of climate change, the consumption of oil and gas, including by the federal government and Plaintiff

itself, increased dramatically during this period. From 1960 to 2018, consumption of both oil and

gas in the United States more than doubled. 201 Even from the 1990s, domestic consumption of oil

and gas has increased by 20% and 57%, respectively, through 2018. 202 In 2018, the United States

consumed more energy than ever before, with fossil fuels accounting for 80% of this record-

breaking consumption. 203

         224.    Given that the United States, and the world, has continued to rely on and use oil and

gas at ever-increasing rates, with full knowledge and understanding that such usage may have

adverse climate impacts, there can be no real doubt that increased production and consumption of

oil and gas were not caused by Defendants’ alleged “concealment,” but by the country’s


200
      Dick Decl., Ex. 21 (U.S. Env’tl Prot. Agency, EPA’s Guide to Climate Change 2 (2002)).
201
      U.S. Energy Info. Admin., State Energy Data System (SEDS), All Consumption Estimates –
      US (2018), https://www.eia.gov/state/seds/sep_use/total/pdf/use_US.pdf.
202
      Id.; see also U.S. Energy Info. Admin., Today in Energy: In 2018, the United States consumed
      more          energy       than         ever          before         (Apr.  16,        2019),
      https://www.eia.gov/todayinenergy/detail.php?id=39092.
203
      Hannah Ritchie & Max Roser, Fossil Fuels, Our World in Data,
      https://ourworldindata.org/fossil-fuels (last visited Oct. 7, 2020).



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fundamental and vital need for energy. In fact, the federal government has reported that world

energy consumption is expected to grow by 50% by 2050 and will be focused in regions where

strong economic growth is driving demand. 204

         225.    For this reason, the federal government has continued to actively encourage

domestic production of oil and gas, providing both incentives for and contracts with Defendants to

obtain these products in the national interest. In particular, the federal government has continued

to encourage domestic production on the OCS because, in part, it has concluded that even if this

domestic source of oil and gas were cut off, consumers would simply obtain “oil and gas from other

sources,” including foreign sources, which would put our national security and economy at risk and

“leave a void in planning for national energy needs.” 205 Indeed, the environmental analysis required

to reauthorize the OCS leasing program recognized the existence of climate change but nonetheless

concluded that relying on renewable energy sources at the current time would be neither possible

nor advantageous. 206 Similarly, in 2001 the federal government issued a report emphasizing the

national interest in promoting domestic oil and gas development and explained that “we must


204
      See U.S. Energy Info. Admin., International Energy Outlook 2019 24–26 (2019),
      https://www.eia.gov/outlooks/ieo/pdf/ieo2019.pdf.
205
      U.S. Dep’t of Interior , Bureau of Ocean Energy Mgmt., OCS EIS/EA BOEM 2012-030, OCS
      Oil and Gas Leasing Program: 2012-2017 Final Programmatic Environmental Impact
      Statement,                       4-606,                      4-643                       (2012),
      https://www.boem.gov/sites/default/files/uploadedFiles/BOEM/Oil_and_Gas_Energy_Progra
      m/Leasing/Five_Year_Program/2012-2017_Five_Year_Program/2012-2017_Final_PEIS.pdf
      (projecting changes to domestic oil and gas supplies if OCS leases were halted); U.S. Dep’t of
      Interior, Bureau of Ocean Energy Mgmt., Record of Decision and Approval of the 2017-2022
      Outer Continental Shelf Oil and Gas Leasing Program, 82 Fed. Reg. 6643 (Jan. 17, 2017).
206
      U.S. Dep’t of Interior, Bureau of Ocean Energy Mgmt., OCS EIS/EA BOEM 2016-060, OCS
      Oil and Gas Leasing Program: 2017-2022 Final Programmatic Environmental Impact
      Statement, Vol. 1, at 1-11 (2016), https://www.boem.gov/sites/default/files/oil-and-gas-energy-
      program/Leasing/Five-Year-Program/2012-2017/BOEMOceanInfo/fpeis_volume1.pdf (“The
      development of renewable energy sources is strategically important, but the development of
      these resources in the foreseeable future does not fully or partially satisfy the purpose of and
      need for the Proposed Action [i.e., meeting the nation’s current energy demand].”).



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continue meeting the nation’s energy requirements by the means available to us.” 207 The report’s

findings led to the Energy Policy Act of 2005, which encouraged further exploration of the OCS

and other onshore federal lands through contracts with Defendants. 208 And, as noted above, in 2010

President Obama recognized the need to balance production with alternative sources of energy, and

expanded the offshore leasing program. See supra note 2.

XII.     THIS COURT HAS JURISDICTION AND REMOVAL IS PROPER

         226.    Based on the foregoing allegations from the Complaint, and others not specifically

described herein, this Court has original jurisdiction over this action under 28 U.S.C. §§ 1331, 1442,

1367(a), as well as 43 U.S.C. §1349(b). Accordingly, removal of this action is proper under 28

U.S.C. §§ 1441(a) and 1446.

         227.    The United States District Court for the District of Delaware is the appropriate venue

for removal pursuant to 28 U.S.C. § 1441(a) because it embraces the place where Plaintiff originally

filed this case, in the Superior Court of Delaware. See 28 U.S.C. § 87; 28 U.S.C. § 1441(a). All

defendants that have been properly joined and served have consented to the removal of the action,

see Dick Decl. ¶ 2, and there is no requirement that any party not properly joined and served

consent. See 28 U.S.C. § 1446(b)(2)(A) (requiring consent only from “all defendants who have

been properly joined and served”). 209 Copies of all process, pleadings, and orders from the state-

court action being removed to this Court that are in the possession of the Chevron Parties are

attached hereto as Exhibit 1 to the Dick Declaration. Pursuant to 28 U.S.C. § 1446(a), this


207
      U.S. Nat’l Energy Policy Dev. Grp., Reliable, Affordable, and Environmentally Sound Energy
      for America’s Future, 1–13 (2001), https://www.nrc.gov/docs/ML0428/ML042800056.pdf.
208
      Energy Policy Act of 2005, Pub. L. No. 109-58, § 357(a)(2)(B), 119 Stat. 594 (2005).
209
      In addition, the consent of all defendants is not required for federal officer removal under 28
      U.S.C. § 1442. See Durham, 445 F.3d at 1253 (“Whereas all defendants must consent to
      removal under section 1441, . . . a federal officer or agency defendant can unilaterally remove
      a case under section 1442.”) (citation omitted).


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constitutes “a copy of all process, pleadings, and orders” received by the Chevron Parties in the

action.

          228.   Upon filing this Notice of Removal, Defendants will furnish written notice to

Plaintiff’s counsel, and will file and serve a copy of this Notice with the Superior Court of Delaware,

pursuant to 28 U.S.C. § 1446(d).

          229.   Accordingly, Defendants remove to this Court the above action pending against

them in the Superior Court of Delaware.




                                               Respectfully submitted,

Dated: October 23, 2020                   By: /s/ David E. Wilks
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